Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 1 of 151

                                                                         1

                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,          )
                                    )
           Plaintiff,               )
                                    )            CR No. 22-15-1
                                    )            Washington, D.C.
        vs.                         )            May 25, 2023
                                    )            9:39 a.m.
 ELMER STEWART RHODES III,          )
                                    )
           Defendant.               )
 ___________________________________)

               TRANSCRIPT OF SENTENCING PROCEEDINGS
                BEFORE THE HONORABLE AMIT P. MEHTA
                   UNITED STATES DISTRICT JUDGE




 APPEARANCES:

 For the Government:                Kathryn L. Rakoczy
                                    Jeffrey S. Nestler
                                    Alexandra Hughes
                                    Troy Edwards
                                    Louis Manzo
                                    U.S. ATTORNEY'S OFFICE
                                    601 D Street, NW
                                    Washington, D.C. 20579
                                    (202) 252-7277
                                    Email:
                                    kathryn.rakoczy@usdoj.gov
                                    Email:
                                    jeffrey.nestler@usdoj.gov
Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 2 of 151

                                                                         2

 APPEARANCES CONTINUED:

 For Defendant
 Elmer Stewart Rhodes III:          Phillip A. Linder
                                    BARRETT BRIGHT LASSITER LINDER
                                    3300 Oak Lawn Avenue
                                    Suite 700
                                    Dallas, TX 75219
                                    (214) 252-9900
                                    Email:
                                    phillip@thelinderfirm.com

                                    James Lee Bright
                                    3300 Oak Lawn Avenue
                                    Suite 700
                                    Dallas, TX 75219
                                    (214) 720-7777
                                    Email: jlbrightlaw@gmail.com

                                    Edward L. Tarpley, Jr.
                                    819 Johnston Street
                                    Alexandria, LA 71301
                                    (318) 487-1460
                                    Email: edwardtarpley@att.net

 Probation Officer:                 Crystal Lustig

 Court Reporter:                    William P. Zaremba
                                    Registered Merit Reporter
                                    Certified Realtime Reporter
                                    Official Court Reporter
                                    E. Barrett Prettyman CH
                                    333 Constitution Avenue, NW
                                    Washington, D.C. 20001
                                    (202) 354-3249

 Proceedings recorded by mechanical stenography; transcript
 produced by computer-aided transcription
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 3 of 151

                                                                              3

1                             P R O C E E D I N G S

2                 COURTROOM DEPUTY:     Good morning, Your Honor.

3     This is Criminal Case Number 22-15-1, United States of

4     America versus Elmer Stewart Rhodes III.

5                 Kathryn Rakoczy, Jeffrey Nestler,

6     Alexandra Hughes, Troy Edwards, and Louis Manzo for the

7     government.

8                 Phillip Linder, James Lee Bright, and

9     Edward Tarpley, Jr., for the defense.

10                We also have Crystal Lustig on behalf of the

11    probation office.

12                The defendant is appearing in person for these

13    proceedings.

14                THE COURT:    All right.    Good morning, everyone,

15    and welcome.

16                So we are here for sentencing this morning.

17    I presume everybody is prepared to proceed?

18                Okay.   Let me just begin with a couple of

19    open-ended matters from our hearing yesterday.            I had left

20    open a couple of legal issues concerning the enhancements

21    that have been recommended by Probation, and I'd raise some

22    legal questions about those enhancements.

23                The first concerns the three-level enhancement for

24    substantial interference under 2J1.2(b)(2), and I had raised

25    some questions about what the term "resulted in" means and
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 4 of 151

                                                                              4

1     what that means in terms of the causation analysis.

2                 I had sort of noted that it requires some degree

3     of but-for quality to it, and I sort of left it open at the

4     end of the day and said I would give it some more thought

5     and I have.

6                 I did receive the government's reference to an

7     additional citation, the United States versus George from

8     the Ninth Circuit.      You know, it's actually an interesting

9     case because it actually does confirm the fact that there is

10    a but-for causation and proximate causation built into the

11    resulted-in language that the Ninth Circuit, as it

12    interpreted it.

13                And, frankly, I'm not sure the facts are terribly

14    on point in the sense that there really wasn't any question

15    that the defendant there was a but-for cause for the

16    financial, additional financial hardship that those victims

17    experienced.    So I'm not sure it answers the question.

18                What I think does answer the question, however, is

19    the Supreme Court's decision in Paroline versus

20    United States, 134 -- I'm sorry.        This is 572 U.S. 434.

21    This is a case from 2014 that you all will probably remember

22    that concerns the proximate-cause analysis under -- for the

23    restitution purposes.      And the Supreme Court sort of builds

24    on its analysis from the Burrage case, which I mentioned

25    yesterday.
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 5 of 151

                                                                                5

1                 And what the Court does is it does sort of start

2     from the proposition that built in typically under criminal

3     laws is the concept of proximate cause which includes both

4     but-for cause; that is, factual cause plus some concept of

5     legal limitation, including foreseeability.

6                 What the Court says in Paroline, however, is that

7     but-for cause essentially is the default.           It is not the

8     only potential cause analysis that a court can employ.              And

9     depending upon the circumstances, a less stringent causation

10    analysis can apply.

11                The Court in Burrage had noted, for example, that

12    in some cases, the criminal law recognizes that there can be

13    multiple factors; but so long as a particular factor is a

14    sufficient factor, that that would be enough to establish

15    causation.

16                That's not what would apply here, because I don't

17    think anybody would say that -- well, it's a tougher

18    analysis to suggest that the Oath Keepers, even if I were to

19    consider sort of co-conspirator liability on its own, were a

20    sufficient cause, certainly for the length of time the

21    proceedings were recessed.

22                However, there are, as the Court points out in

23    Paroline, less-demanding causation tests endorsed by

24    authorities on tort law.      One prominent treatise suggests

25    that when the conduct of two or more actors is so related to
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 6 of 151

                                                                                 6

1     an event, that their combined conduct viewed as a whole is a

2     but-for cause of the event, and application of the but-for

3     rule to them individually would absolve all of them.              The

4     conduct of each is a cause in fact of the event.

5                 And, in fact, the re-statement provides this

6     example of three people pushing against a car that tips

7     over.   No one person's force would be sufficient to tip the

8     car over and roll off a cliff, but all three combined do.

9     And the fact that any individual person by themselves

10    couldn't tip the car over and cause it to go over the cliff

11    doesn't absolve each person of causing the harm.

12                And I think that's exactly what we're talking

13    about here.    The Court goes on to say that these alternative

14    causal tests are kind of legal fiction or construct.              If the

15    conduct of a wrongdoer is neither necessary nor sufficient

16    to produce an outcome, that conduct cannot in a strict sense

17    be said to have a causal outcome.

18                Nonetheless, tort law teaches that alternative and

19    less demanding causal standards are necessary in certain

20    circumstances to vindicate the laws' purpose.            And in

21    particular, in Paroline, that's exactly what the Court did,

22    given the circumstances in that case.

23                The Court went on to say later on, "As the

24    authorities the government and the victim cite show, the

25    availability of alternative causal standards where
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 7 of 151

                                                                              7

1     circumstances warrant is, no less than the but-for test

2     itself of a default, part of the background legal tradition

3     against which Congress has legislated.          It would be

4     unacceptable to adopt a causal standard so strict that it

5     would undermine congressional intent where neither the plain

6     text of the statute nor legal tradition demands such an

7     approach."

8                 So I think in light of those principles set forth

9     there in Paroline, I think what the right answer is, is that

10    this is a circumstance where the kind of strict but-for test

11    is not required, and the Court is not required to follow it

12    in order to carry out the purposes of the

13    Sentencing Commission in this particular Guideline.

14                It should not be the case that because any

15    particular person or group of persons' conduct itself is not

16    the but-for cause or is in itself not a sufficient cause,

17    that that person should then somehow be absolved of the

18    additional three-level enhancement that is available under

19    the Guidelines.

20                There's certainly nothing in the text of the

21    Guidelines, and there's certainly nothing about the purpose

22    of the Guidelines that would suggest otherwise.

23                So I think notwithstanding the fact that the term

24    "results in" ordinarily carries a but-for cause meaning, I

25    do not think it is one that needs to be strictly applied
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 8 of 151

                                                                              8

1     here.   And so for that reason, given how the Court has

2     viewed the causation standard and how it can be applied

3     slightly in a more relaxed way, depending upon the

4     circumstances, I will conclude that the causation standard

5     is met in this case in the circumstances that we are talking

6     about; so, therefore, the three-level enhancement will be

7     applicable in this and the other matters.

8                 The other issue that was left open-ended yesterday

9     concerned the participation or role in the offense

10    enhancement.    The government has asked for three or four

11    points be added to various defendants.          And the question as

12    raised is whether, under the Circuit precedent, control is a

13    necessary component of that analysis, and I think it is.

14    Again, I think the Circuit precedent is confusing.

15    Nevertheless, I am bound by it.

16                And even the decision that the government cited

17    yesterday in Clark, which includes the concurring opinion by

18    Judge Randolph, says, citing to a case -- Clark was a

19    2014 case.    It cited to a case a decade earlier,

20    U.S. versus Smith, for the proposition that "All persons

21    receiving an enhancement under Section 3B1.1 must exercise

22    some control over others."

23                And so notwithstanding the fact that the

24    Guidelines identify control as but one element, the Circuit,

25    at least in multiple cases, mostly recently in Johnson, has
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 9 of 151

                                                                              9

1     said that control is a necessary factor.          That may be wrong.

2     It may require an en banc court to say otherwise.

3                 I understand Judge Randolph's view that that

4     language is dicta, but his is a concurring opinion, and I'm

5     bound by what the Circuit has said consistently since 2004.

6     So going forward, I will consider control to be a necessary

7     factor in evaluating whether each particular defendant -- as

8     to each particular defendant, whether the enhancement is

9     warranted.    So that resolves that.

10                And I think the final issue that I left open

11    specific to Mr. Rhodes is with respect to the letter that I

12    received from Professor McCord.        I ultimately have exercised

13    my discretion.     I did review it and I did read it.          And,

14    obviously, it's -- the fact that Mr. Bright said that he

15    would be ready to respond to it today gave me some greater

16    comfort in being able to consider it, given that you've read

17    it and are prepared to respond to it.

18                So that is, I think, all of the open issues from

19    yesterday.    Am I missing anything?

20                Oh, there is one other issue that I did not get to

21    yesterday and I don't think I'm going to get to it today,

22    and that is the issue of restitution.

23                Paroline is the case, and you all should read it,

24    and it has some parallels to this case.          It's a case, as you

25    all may recall, involves a victim of child pornography
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 10 of 151

                                                                               10

1      requesting restitution.      And the Court was confronted with

2      the question of, well, how much is an individual person who

3      has viewed child pornography responsible for the total

4      damage and harm that is caused to a victim of child

5      pornography?

6                 And it's in that context that the Court provided

7      this various -- you know, this various analysis of the

8      different types of causation and applied a lesser standard

9      of causation to effectuate the purposes of the law.

10                That said, what the Court did not do, however, is

11     to relax the standard so much that any particular person

12     would be responsible for the whole of the damage.

13                And so it is not -- so there are some parallels,

14     obvious parallels, to the facts of January 6th and the

15     events of January 6th.      It is different, however, in one

16     important respect, which is that, unlike a situation

17     involving a victim of pornography, child pornography, we can

18     actually, in theory, specifically identify people who are

19     responsible for injury and damage to property, which at

20     least is the large -- is the portion of the restitution

21     award, at least as I understand the government has been

22     asking for.    It's the $2 million-plus damage to the Capitol

23     for repairs, et cetera.

24                And so my question is to you all whether any

25     restitution award with respect to the Oath Keepers and those
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 11 of 151

                                                                                11

1      defendants is limited to the damage that potentially could

2      be attributed to them in terms of property damage.             And that

3      would be to the East Capitol doors -- excuse me -- to the

4      Columbus Doors and those other doors, based upon the

5      convictions and perhaps the preponderance-of-the-evidence

6      standard as it relates to those who were acquitted.             If

7      that's the high end, then the question becomes:            What

8      portion are they responsible for?        Because I don't think

9      they can be responsible for all of it because, as we know,

10     there were many people that went through that door that day.

11                And so I can't remember what the total cost of it

12     was.   I think it was north of 40-.       But, you know, just

13     doing simple math and what you all have requested, $2,000

14     per defendant is going to get us well north of 40-.             And so

15     I think we're going to have to use a more-nuanced

16     approach -- maybe I'm wrong about all of this, but this is

17     just my -- I'm just sharing my thoughts with you about what,

18     if any, restitution award is appropriate.

19                We don't need to resolve that today.           Statute

20     permits me 90 days in which to consider a final award of

21     restitution.    So we can put all of that on the back burner

22     for now, although I assume we will actually need to deal

23     with it sooner than later because, essentially, Mr. Rhodes'

24     sentencing starts the clock for everyone else.            So we'll

25     have to get that resolved within the 90 days of, it's either
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 12 of 151

                                                                               12

1      this sentencing or when judgment gets entered.            Either way,

2      you get the point.

3                 All right.    So I think that resolves the

4      outstanding issues from yesterday.        And am I missing

5      anything before we continue?

6                 MS. RAKOCZY:     Not from the government's

7      perspective.

8                 MR. BRIGHT:    Not from the defense's perspective.

9                 THE COURT:    All right.

10                So let me just give you a preview of how we're

11     going to proceed today.

12                I'll go over what I've received and reviewed from

13     the parties.    I'll ask defense counsel to confirm for me

14     that Mr. Rhodes has reviewed the Presentence Investigation

15     Report.

16                I then will turn to the factual disputes that have

17     been raised by the defense with respect to the Presentence

18     Investigation Report and go through some of that.

19                And then I will hear argument from the parties as

20     to two issues, both the question of what the joint -- the

21     scope of the jointly undertaking of criminal activity should

22     be -- that is, the offense conduct that ought to be

23     attributable to Mr. Rhodes -- and any factual arguments

24     concerning applications of the Guidelines that you might

25     wish to make at that point.
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 13 of 151

                                                                               13

1                 I will then rule -- I will provide you with the

2      Guidelines calculation as I see it after I've heard your

3      arguments, and then we will move to the allocutions.

4                 After that, we will conclude with Mr. Rhodes.

5                 And then we'll proceed with my final sentence.

6                 And so that'll be the basic structure for all of

7      these sentencings as we move forward for the government's

8      benefit.

9                 Okay.   So let me just recite for the record what

10     I have read and reviewed with respect to Mr. Rhodes.

11                There is the Presentence Investigation Report at

12     548; the Probation Office's recommendation at 549; the

13     government's memorandum in aid of sentencing, which is --

14     you all would know what number it is -- the defendant's

15     memorandum in aid of sentencing at 570; and the defendant's

16     objections to Presentence Report at 537.

17                I've read the McCord letter, and there was also an

18     additional letter submitted by somebody by the name of

19     Brian Hill, which I've read as well.         That's now been posted

20     to the docket.

21                And I should add that I've also reviewed -- I

22     can't say I've read every word, but I've reviewed most of

23     the exhibits that the government has presented in support of

24     its memorandum.    So with that, am I missing anything?

25                MR. BRIGHT:    I don't believe so, Your Honor.
     Case 1:22-cr-00015-APM   Document 817    Filed 02/27/24   Page 14 of 151

                                                                                14

1      That's pretty thorough.

2                 MS. RAKOCZY:     No, Your Honor, nothing from the

3      government.

4                 THE COURT:    Okay.

5                 All right.    So, Mr. Bright, can you confirm for

6      me, or Mr. Linder, confirm for me that Mr. Rhodes has

7      received and read and had an opportunity to review the

8      Presentence Investigation Report?

9                 MR. BRIGHT:    We have had the opportunity to

10     provide him with a hard copy.         And we have had multiple

11     opportunities, whether it be via Zoom or phone calls, to

12     review the PSR with him, sir.

13                THE COURT:    Okay.   Thank you, Counsel.

14                All right.    So, look, I think this is -- all of

15     these cases are unusual in the following collective sense

16     when it comes to the PSR and the facts.           You know, there are

17     a lot more factual concerns or disputes raised about the

18     facts.

19                Truth be told, I don't know how essential it is

20     for me to go section -- paragraph by paragraph and respond

21     to the defense's objections and either agree with them or

22     overrule them.    I've obviously sat down through three trials

23     and have a pretty good grasp of what the factual landscape

24     looks like.

25                But I do think it's probably important that I at
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 15 of 151

                                                                               15

1      least address the major categories of factual disputes that

2      the defense has raised.      So let me at least just do that for

3      purposes of the record.      And then ultimately whether I ask

4      pretrial to make some changes to the Presentence

5      Investigation Report, I'll just have to reflect on a little

6      bit.

7                  So the first general sort of category of objection

8      from the defense is that the evidence showed that there was

9      no conspiracy to oppose the transfer of power after the

10     election.    That is, of course, inconsistent with what the

11     jury found, and what the evidence, as I have concluded

12     yesterday at the Rule 29 hearing yesterday, showed.

13                 Just by way of example, there are multiple

14     messages from Mr. Rhodes espousing the need to keep

15     President Biden out of office because he believed that there

16     were constitutional improprieties in the election.             For

17     example, on December 13th, Mr. Rhodes expressly disclosed

18     his intent to prevent the President, now President, from

19     taking office.

20                 He was asked by Greg Smith on a text message with

21     Kellye SoRelle and others, "Stewart, just to clarify, any

22     initiative on the Insurrection Act will include steps to

23     prevent Biden or Kamala from taking the oath, right?             My sis

24     says, 'Yes.'"

25                 To which somebody named Dave Roberts adds, "What
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 16 of 151

                                                                               16

1      is Biden's recourse, if any, under that scenario?"

2                 And Mr. Rhodes responds, "Yes, of course, Biden

3      and Kamala would be prevented from being sworn in.             They'd

4      be arrested and should be the first to be indicted.             You

5      can't let traitors and Communist puppets who were never duly

6      elected be sworn in."

7                 December 14th of 2020, Mr. Rhodes says to the

8      "GA OK General Chat", "If he doesn't use the

9      Insurrection Act to keep a Chi-Com puppet out of the

10     White House, then we will have to fight a bloody

11     revolution/Civil War to defeat traitors."

12                The prior text was Government's Exhibit 6701.

13     This one is Government's Exhibit 6803.2.          These are just

14     illustrative.    I do not mean to suggest that these are

15     exhaustive recitations of evidence to support or refute,

16     I should say, the objections that are made about what the

17     evidence at trial showed.

18                There was also the general objection that the QRF

19     was not an offensive force; rather, it was a force that

20     would be called upon in the case of an emergency or

21     invocation of the Insurrection Act.        The defendants have

22     described the invocation of the Insurrection Act as a

23     condition precedent to the use of those weapons.

24                It is certainly true that multiple witnesses

25     testified that the QRF, at least in their view, was meant to
     Case 1:22-cr-00015-APM   Document 817    Filed 02/27/24   Page 17 of 151

                                                                                17

1      be a reactive force.     And that would include John Zimmerman,

2      who had testified that -- his understanding that it would be

3      used if Trump also invoked the Insurrection Act.             But

4      I think there was compelling evidence from which a jury

5      could have concluded otherwise.

6                 December 29th, 2020, Mr. Rhodes says to

7      Kellye SoRelle, "This will be D.C. Rally No. 3.             Getting

8      kind of old.    They don't give a shit how many show up and

9      wave a sign, pray, or yell.      They won't fear us until we

10     come with rifles in hand."

11                That's Government's 6749.

12                January 10th -- this is after the 6th -- there's

13     the recording of Mr. Alpers, which is Government's 1202.5.

14     Mr. Rhodes says, "Maybe, but it has also showed that the

15     people -- it also showed people that we got a spirit of

16     resistance, so him letting you know my only regret is that

17     we should have brought rifles.         I tell you what.      If

18     President Trump is going to do the right thing, then I agree

19     it was the wrong thing to do.         If he's not going to do the

20     right thing and he's just going to let himself be removed

21     illegally, then we should have brought the rifles.              We could

22     have fixed it right then and there.         I'd hang fucking Pelosi

23     from the lamppost."

24                Mr. Alpers simply says, "No."

25                There's also Mr. Dolan's testimony showing a
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 18 of 151

                                                                               18

1      willingness by late December, according to him, to take up

2      arms to fight back and, as he explained it -- as he

3      explained it, to engage in government-on-government

4      fightings, pro-Trump versus pro-Biden factions, from which a

5      jury could have concluded -- and I do conclude -- that the

6      QRF was not simply meant to be a reactive force or one that

7      was going to be called in based upon a conditional --

8      condition precedent of the Invocation Act's --

9      Insurrection Act's invocation.

10                 There's the contention that Mr. Rhodes and others'

11     statements about coming in with rifles in hand,

12     Civil War/revolution was bombast and not evidence of actual

13     intent of the use of force.      The jury concluded otherwise,

14     and so do I.

15                 There was compelling testimony from Mr. Dolan,

16     Mr. Young, and Mr. Berry at the second and third trials, all

17     of whom testified that they shared a common understanding

18     with others that they would be called upon potentially to

19     use force on January 6th up to and including the use of

20     firearms.    There are plenty of chat messages and -- chats

21     and messages that otherwise corroborate those beliefs,

22     particularly Mr. Rhodes' belief that the violence and force

23     would be necessary.

24                 The contention has been made that Mr. Rhodes did

25     not call others to the Capitol and did not direct Mr. Meggs
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 19 of 151

                                                                               19

1      into the Capitol.

2                  I think at least the first part of that is

3      certainly inaccurate.     There are multiple messages from

4      2:24 p.m. to 2:41 p.m. to Mr. Meggs directly or to the

5      "D.C. Op Jan. 6" chat instructing members to come to the

6      south side of the Capitol while people are moving into the

7      Capitol building.

8                  Notably, Mr. Rhodes had said, "Come to the south

9      side of the Capitol on steps, south side of the

10     U.S. Capitol.    Patriots pounding on doors."

11                 It may be that Mr. Rhodes' cardinal directions

12     were off, but I daresay the location that he asked people to

13     come to near steps, on steps, and pounding on doors was

14     exactly where people ended up on the east side.            I don't

15     think it's a coincidence that Line 1 and Line 2 came to and

16     entered through the exact same place 30 minutes apart.

17                 The defendants -- the defendant has pointed to

18     Mr. Greene's testimony as evidence that he did not direct

19     Mr. Rhodes to -- excuse me -- direct Mr. Meggs to enter the

20     building.    I'll address that in short order.

21                 But I'll just note about Mr. Greene's testimony at

22     Mr. Rhodes' trial, his actual testimony is he did not recall

23     a three-way call with Mr. Meggs and Mr. Rhodes.            He did not

24     deny that there was any order given.         He simply said he

25     didn't recall any such phone call.
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 20 of 151

                                                                               20

1                 Defense also points out that the gun purchases

2      were legal.    That is true, but it misses the point.           I think

3      the preponderance of the evidence, and certainly clear and

4      convincing and beyond a reasonable doubt, a jury could find

5      and did find that Mr. Rhodes' purchases of firearms, both on

6      his way to Washington, D.C., and on his way out was to

7      challenge the Government of the United States and to create

8      an arsenal in order to do so.

9                 Mr. Rhodes' own words have established as much.

10     I've already recited some of them.        And I will also note

11     that on the way back, Mr. Rhodes gave a cache of weapons and

12     equipment to Josh James, which he told Mr. James to

13     distribute upon his instruction and to be prepared for

14     violence in the event of Civil War.

15                Mr. James admitted to that in his factual proffer

16     when he plead.    It is something I can consider.          He said

17     that happened under oath; and, therefore, I credit his

18     statement that Mr. Rhodes said that to him when he

19     distributed weapons to him after January 6th.

20                There's the contention that Mr. Rhodes' text

21     message or his Signal messages to others in the

22     "Old Leadership" chat to tell others to delete their

23     messages was simply reciting or passing on the advice that

24     Kellye SoRelle was providing.

25                Let me just say I find that to be -- it really
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 21 of 151

                                                                               21

1      doesn't pass the laugh test.      Mr. Rhodes is a Yale graduate,

2      who for years, as we all know, practiced criminal defense

3      work.   And I find it hard to believe that Mr. Rhodes thought

4      he would need to accept legal advice from Ms. SoRelle about

5      how to behave in the aftermath of January 6th and in terms

6      of what advice he was giving to others about the deletion of

7      messages that could implicate him and other Oath Keepers.

8                 Just a few other notes that are raised that

9      Mr. Rhodes' conduct was all protected speech and that his

10     speech did not incite violence or emit violence.

11                The latter half is certainly true under the

12     Brandenburg standard.      The former is not.      Mr. Rhodes'

13     speech in furtherance of a seditious conspiracy is not

14     protected speech.      That is well settled.      His speech in

15     furtherance of a criminal conspiracy is not protected

16     speech.   That is well settled.

17                Finally, the contention is made in the memo that

18     much of what Mr. Rhodes said was about resistance after

19     President Biden took office.      I don't know that makes it any

20     better, even if it were true, but it's not.

21                And as I said, some of the earlier examples that I

22     provided make clear that part of Mr. Rhodes' intention, as

23     the jury found, was to prevent President Biden from taking

24     office through violence.      And there was ample evidence from

25     which a jury could so conclude, and there was evidence from
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 22 of 151

                                                                               22

1      which I conclude as well for purposes of making factual

2      determinations.

3                 Okay.   With that, that's out of the way.

4                 All right.    Let me now turn to the next order of

5      business, which is, I'm happy to hear arguments from either

6      side about both scope of related conduct and application of

7      any particular Guidelines if you'd like to be heard.

8                 MS. RAKOCZY:     Yes, Your Honor.      Thank you.

9                 The government would like to begin with, I think,

10     the "scope of related conduct" question.          That makes sense

11     as it applies across the various Guidelines, the specific

12     offense characteristics, and adjustments that we're asking

13     this Court to apply.

14                The Court is well-aware that in the definition of

15     "relevant conduct" under Section 1B1.3(a)(1)(A), relevant

16     conduct encompasses both the defendant's acts and those the

17     defendant aided and abetted, counseled, commanded, induced

18     procured, or wilfully caused.

19                And under Section 1B1.3(a)(1)(B), also in a

20     jointly undertaken criminal activity, such as a conspiracy,

21     a defendant is responsible for all acts of others that were

22     "within the scope of the jointly undertaken criminal

23     activity in furtherance of that activity and reasonably

24     foreseeable in connection with that criminal activity."

25                And, finally, just in considering the definition
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 23 of 151

                                                                               23

1      of "relevant conduct" under Section 1B1.3(a)(3), a

2      defendant's relevant conduct under the Guidelines includes

3      "all harm that resulted" from the defendant's acts or the

4      acts of the others who were engaged in that jointly

5      undertaken criminal activity.

6                 So we don't need to get to this issue completely

7      today.   But just to preview some of the hearings that will

8      follow in the comings days and week, I think it's the

9      government's position that while, as a matter of law, the

10     relevant conduct is not necessarily or the scope of the

11     conduct is not necessarily coterminous with the goals or the

12     scope of the conspiracy, for these nine defendants, it is

13     the government's position, as you saw in our memorandum,

14     that each of these defendants engaged in that jointly

15     undertaken criminal activity and that the acts that form the

16     factual basis for most of these adjustments and specific

17     offense characteristics do constitute reasonably foreseeable

18     actions as part of the conspiracy.

19                And so we do believe that the relevant conduct

20     encompasses for each defendant all of the acts of the

21     co-conspirators in this particular case.          And there may be

22     well conspiracies where it's unfair because somebody purely

23     only joined the day of and really could not have foreseen

24     the full scope of the conspiracy.

25                We have later joiners here.        But it's the
     Case 1:22-cr-00015-APM    Document 817   Filed 02/27/24   Page 24 of 151

                                                                                  24

1      government's position that everything that happened that

2      supports factually the SOCs and the adjustments in this case

3      is something that was reasonably foreseeable as part of this

4      jointly undertaken criminal activity.

5                 But with Mr. Rhodes, it's, of course, a much

6      easier question.       He is the leader of this conspiracy.          And

7      the Court discussed very extensively yesterday how

8      Mr. Rhodes exercised control over this conspiracy; how he

9      instigated the conspiracy; and for particular issues like

10     whether he knew and/or encouraged the ultimate breach and

11     attack on the Capitol, the Oath Keepers' participation in

12     the attack on the Capitol on January 6th.

13                This Court has made strong findings of fact

14     yesterday in the Rule 29 findings that Mr. Rhodes both

15     implicitly and arguably, a jury could have found, explicitly

16     directed both Line 1 and Line 2, Stack 1 and Stack 2, to

17     enter the Capitol that day and to participate in the attack

18     on the Capitol and the obstruction of Congress.

19                So for that with respect to the eight points for

20     the threatening to cause harm to others or damage to

21     property, we think somebody who orchestrates and leads a

22     seditious conspiracy beginning in the weeks -- days or weeks

23     after the election, to use force to stop the lawful transfer

24     of Presidential power, particularly someone who is aware of

25     and facilitates and advocates for a Quick Reaction Force, an
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 25 of 151

                                                                               25

1      armed force to be on the outskirts of D.C. to support that

2      mission, and then the Court has found, implicitly and/or

3      explicitly, directs a group of 14 people in the first group

4      and 5 or 6 in the second group to go up those steps and

5      participate in breaching the building, wearing paramilitary

6      gear, and armed with, some of them, some level of weapons,

7      we think Mr. Rhodes' role in that, clearly, at least

8      threatened harmed to others and property damage, if not

9      directly caused it.

10                So we think that it's not a challenging question

11     for Mr. Rhodes for the plus eight specific offense

12     characteristic under 2J1.2(b)(1)(B).

13                I'm not sure if the Court had any further

14     questions about that point for the government.

15                THE COURT:    No.

16                MS. RAKOCZY:     With respect to the specific offense

17     characteristic of the offense resulting in the substantial

18     interference in the due administration of justice, this

19     Court has articulated essentially where we are on the

20     standard now.

21                We think that that standard has been echoed,

22     incidentally, in slightly different ways by some of the

23     judges in this courthouse.

24                Just for the record, I think

25     then-Chief Judge Howell in the Rubenacker case, the
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 26 of 151

                                                                               26

1      sentencing transcript around page 78 found essentially that

2      acknowledging that there is or may be a but-for causation

3      standard, found essentially that it was impossible to think

4      that somebody who knowingly and actively joined in this riot

5      in an attempt -- the jury found an intent to obstruct the

6      proceeding or in this case perhaps under conspiracy theory,

7      conspired to obstruct the proceeding, it's essentially

8      ludicrous to find that that person would not have been a --

9      contributed in the causal chain in a but-for way to the

10     conduct that ultimately resulted in the substantial

11     administration -- substantial interference in the due

12     administration of justice.

13                And we would remind the Court that that is one of

14     the factual avenues to find that this applies.            There is, of

15     course, the vast expansion of government resources that was

16     necessary to follow in the adjudicatory and investigative

17     efforts that followed.

18                And even if you have to look at Mr. Rhodes'

19     conduct in a vacuum, he led a conspiracy of, we think the

20     facts support, more than 30 individuals, a seditious

21     conspiracy to oppose the lawful transfer of power, roughly

22     at least 20 of whom actually participated on January 6th in

23     the attack of the Capitol.      And that caused the FBI to have

24     to open cases across probably 20-something different field

25     offices throughout the country.       The government had to
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 27 of 151

                                                                               27

1      expend attorney resources, reassigning attorneys from other

2      areas to investigate and prosecute these cases.            This Court

3      and the government have had to expend resources to preside

4      over and prosecute about six months across three trials.

5      The daily transcripts from Mr. Zaremba alone have probably

6      constituted a substantial expenditure on the part of the

7      government.

8                 And I think if you compare this to something like

9      the case of United States versus Ali, which we cite in our,

10     I think, opening memo, possibly our reply, which is a

11     Seventh Circuit case, 864 F.3d 573 at 574, Judge Posner

12     there noted that in that particular instance, the

13     involvement by various agencies who worked through the night

14     amounted to a substantial expenditure, various law

15     enforcement agencies, notwithstanding the government's

16     failure to provide cost estimates in that case.

17                THE COURT:    Can I ask you, though, it seems maybe

18     a little bit too much to say that the expenditure of

19     government resources can be calculated by the cost of the

20     prosecution, as opposed to the cost to rectify the

21     obstructive conduct.

22                Now, that may not make a difference here.            But,

23     I mean, it seems overreach to me to say, "Well, you know, it

24     cost the government X to then prosecute for the obstructive

25     conduct," as opposed to what -- Ali, for example, is a case
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 28 of 151

                                                                               28

1      for which it was the cost to have to rectify the defendant's

2      obstruction that the Court considered, which is different

3      and often will be a far lesser expense.

4                 MS. RAKOCZY:     I suppose my response would be --

5      and this is just a factual, gut response, not one that is

6      necessarily supported by the law, but I don't know how the

7      government, law enforcement agencies, and the courts could

8      not have launched an investigatory and prosecutorial effort

9      after January 6th in light of what was rightfully perceived,

10     I think, as an ongoing threat.

11                THE COURT:    Right.

12                MS. RAKOCZY:     And so I think that it does

13     inherently follow that there will be, that there needs to be

14     rectified by that investigative effort.

15                But I think even putting that aside, we put in our

16     opening memorandum factual dollar amounts from the cost of

17     all the agencies in the cleanup effort.

18                And I think, even putting that aside, the Court

19     has record testimony from Special Agent Hawa of the

20     United States Secret Service and Captain Ortega of the

21     Capitol Police about just the monstrous effort to clear the

22     building on the afternoon of January 6th and how hard that

23     was and how many hours that took.

24                And that alone, there's no factual figure, dollar

25     figure attached to that.      But I think that's a little bit
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 29 of 151

                                                                               29

1      similar in terms of what Judge Posner said, that there may

2      not be a dollar amount here.      But we think that that

3      constitutes -- certainly that, even on its own, could

4      constitute substantial interference.

5                 So moving on then, I think, I mean, for us, the

6      plus three for the extensive scope and planning is pretty

7      clear for somebody like Mr. Rhodes who played the role he

8      did in this offense.      And the defense has not really

9      extensively challenged that.      And so I think moving on to

10     the next issue that the Court may want to hear from us on is

11     the leadership enhancement.

12                So understanding that the Court is looking for

13     some evidence of control here, I think there are some --

14     I think the Guidelines address a little bit what "control"

15     means.   We cited some cases in our -- both our opening

16     memorandum and, I believe, our reply brief on how hierarchy

17     does play a role.      It is not necessarily a dispositive

18     factor, but it does play a role.

19                And it is our position, just sort of giving a

20     preview of going forward, that all nine of these defendants

21     did each play a hierarchical role here that might constitute

22     a level of control that you are looking for here.

23     Obviously, from for Mr. Rhodes at the top, he orchestrated

24     and led the conspiracy.      He also was the founder of the

25     Oath Keepers and the leader or president for life.
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 30 of 151

                                                                               30

1                 You could tell from the way he acted and talked in

2      the messages and evidence before the Court that he certainly

3      perceived he was in charge.

4                 And you also heard from witnesses in this case,

5      particularly the cooperators, that they believed there was a

6      strict hierarchy and sort of chain of command that they were

7      following.

8                 And we have specific citations to the transcript

9      on page 47 of our opening memo; but Mr. Dolan talked about

10     how he was part of a team that kind of reported up through

11     Mr. Harrelson to Mr. Meggs to Mr. Rhodes.

12                Mr. Young testified that he was immediately

13     subordinate to Joseph Hackett, who, in his mind, reported to

14     Kelly Meggs, who reported to Stewart Rhodes.

15                And although not part of this case, in the third

16     trial, in Case No. 21-CR-28, this winter, Bennie Parker

17     testified that he was recruited by Jessica Watkins, who then

18     provided them with instructions and equipment.            And you

19     could see in somebody like Jessica Watkins' messages with

20     Mr. Parker that she's giving directions, for example, on

21     whether guns or firearms can be brought.

22                And so there is very much here a sense of people

23     looking for and listening to direction and command up the

24     hierarchy here.

25                And I think, you know, as we get next week to some
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 31 of 151

                                                                               31

1      of the others defendants, you will see similar things in the

2      way that Mr. Minuta led the second group, in the ways that

3      Mr. Vallejo brought the group from Arizona and took a little

4      bit of a captain role in the QRF team that he led at the

5      hotel, and the way that some other defendants as well were

6      either incredibly active participants and sort of guided

7      others in the conspiracy or, in the case of Mr. Caldwell,

8      played an organizing role and helped people to know which

9      hotel to stay at, where and whether to bring their guns.

10                So from our perspective, this is a leadership

11     structure where some level of enhancement is appropriate

12     across this case.      There's a reason, you know, without

13     getting too much into prosecutorial discretion, why the

14     government put these nine people in this seditious

15     conspiracy case as opposed to the others.

16                And part of that, I think the Court might surmise,

17     has to do with the leadership role that they played, whether

18     in an actual leadership role, being a state chapter leader

19     or the head of the conspiracy, or being a particularly

20     active foot soldier or somebody who commanded an aspect of

21     the conspiracy like the arsenal at the QRF hotel.

22                But, again, for Mr. Rhodes, he is actually the

23     leader.   Witnesses who were lower in the chain described --

24     co-conspirators in the chain described feeling that he was

25     the leader.
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 32 of 151

                                                                               32

1                 And Mr. Rhodes' own words in several of the

2      statements introduced in evidence at Government's

3      Exhibit 6701 explicitly stated Mr. Rhodes' view of

4      the hierarchy chain.     He talked about how the

5      "D.C. Op Jan. 6, '21" chat was the thread for all leadership

6      coming in from multiple states, together with the overall

7      D.C. Op leadership.     So he had this view that he was at the

8      top; there were state or regional leaders; and then the rank

9      and file under that.

10                He talked about designating Mr. Siekerman and

11     Mr. Greene as being in overall command of the operation and

12     then talked about people who would assist with

13     leadership/coordination, such as Josh James and Kelly Meggs.

14                He would refer in another message to Mr. Siekerman

15     and Mr. Greene as being overall Oath Keeper op leads and

16     that anyone bringing a team can keep their team together

17     under their immediate command, but Mr. Greene and

18     Mr. Siekerman would be the overall leaders.

19                So these messages provide factual support for

20     Mr. Rhodes' own view of the hierarchy, with himself at the

21     top and then the op leaders and then the regional team

22     leaders.   And that also will inform, we think, the Court's

23     view of whether some leadership enhancement is appropriate

24     for others who are further down the chain of this

25     conspiracy.
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 33 of 151

                                                                               33

1                  Mr. Rhodes also approved of aspects of the

2      operation beyond just sort of the general goals and

3      approach.    When Mr. Meggs discussed with him plotting --

4      planning a QRF at the hotel, talking about the

5      North Carolina team having his hotel for a

6      Quick Reaction Force, the government introduced a message at

7      Exhibit 6923 where Mr. Rhodes says to Mr. Meggs, "We will

8      have a QRF.    The situation calls for it."

9                  It is clearly Mr. Meggs running an operational

10     approach by Mr. Rhodes and Mr. Rhodes approving it, and

11     that's yet another example of the control that Mr. Rhodes

12     exercised over this conspiracy.

13                 We would also note, Your Honor, just as the Court

14     is thinking about these issues with respect to not only

15     Mr. Rhodes but other defendants, that even if the Court

16     finds that a defendant did not supervise a participant such

17     that that adjustment applies, Note 2 of Section 3B1.1, so

18     the Comment Note 2 of Section 3B1.1 observes that the Court

19     may still want to upwardly depart for a defendant who

20     "exercised management responsibility over the property,

21     assets, or activities of the criminal activity."

22                 And I think for some of the people who did not

23     play a clear op lead role or chapter leader role, people

24     who, for example, were team leaders of the QRF and

25     controlled the firearms or people who exercised some
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 34 of 151

                                                                                34

1      management responsibility over sort of less-experienced

2      co-conspirators, I think those people, the Court might, even

3      if it does not apply the adjustment for leadership because

4      of a lack of actual concrete control, it may still find that

5      it's appropriate to upwardly depart because of the

6      management responsibility that they exercised over property,

7      assets, or activities.

8                 THE COURT:    Can I ask you a question?

9                 Is it the government's position and view that, at

10     least if I'm -- with respect to the Guideline itself and the

11     role enhancement, that in this case the enhancement must be

12     either four points or three points or zero?

13                MS. RAKOCZY:     That was our reading of the

14     Guidelines.    We had not had that understanding initially,

15     but in sitting down to really --

16                THE DEFENDANT:     That was my reading, too.         I just

17     wanted to confirm that.

18                MS. RAKOCZY:     Yeah.

19                I would also just note in terms of giving the

20     Court some support under the case law, the D.C. Circuit has

21     considered, in discussing this issue of control, whether

22     there is "a hierarchically superior relationship with

23     subordinates."

24                And the Court clarified that the concept of

25     control or authority is implicit in the notion of management
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 35 of 151

                                                                               35

1      or supervision and that that connotes some sort of

2      hierarchical relationship in the sense that an employer is

3      hierarchical or superior to his employee; but you might also

4      have situations that are less formal, where somebody is

5      exercising management or supervision, which I think we would

6      say is the case here.      That case law is cited from United

7      States versus Quigley, 373 --

8                  THE COURT:    That's the case that started all the

9      problems.

10                 MS. RAKOCZY:    Yes -- F.3d 133.      It's a

11     D.C. Circuit case from 2004.

12                 So, but, again, that notion of a hierarchy, we

13     think all of these nine defendants kind of fit into that in

14     some different way.      I think that's part of the reason they

15     find themselves in this case as opposed to the other case.

16     And we'll talk more about that, though, at the individual

17     sentencing hearings for others.

18                 Does the Court want to move on?

19                 I think the other main issue to address is the

20     terrorism enhancement.

21                 So I think the Court alluded to yesterday that it

22     is challenging to find that in a case where individuals were

23     convicted of participating in a seditious conspiracy to stop

24     the lawful transfer of power after a United States

25     Presidential election, that they plotted to use force in so
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 36 of 151

                                                                               36

1      doing.   It is very hard to not see that as terrorism within

2      the definition certainly at least Note 4.          That is certainly

3      conduct that is calculated or intended to result in the

4      coercion and intimidation of the government in order to

5      achieve some purpose.

6                 I think in this case, Mr. Rhodes' conduct as

7      someone who, for weeks, if not months, orchestrated and then

8      led this conspiracy, who repeatedly advocated for the use of

9      force -- it was somewhat jarring even to the government to

10     hear yesterday how often Mr. Rhodes used the word "fight" or

11     force" or "bloody" or "Civil War" in that period from

12     November 3rd to January 6th and beyond.          When you read those

13     quotes back to back, it really is quite alarming.

14                And they're just words, right?         This is conduct

15     because it was calculated and organized with actual

16     planning, with the organization of an armed force, with the

17     organization of other paramilitary equipment.           It was

18     calculated to intimidate and coerce at the very least the

19     members of government and, on January 6th, the Members of

20     Congress into stopping the transfer of power.

21                So from the government's perspective, Note 4(A)

22     very squarely fits the conduct of Mr. Rhodes.           It was an

23     offense that was calculated to influence or effect the

24     conduct of government by intimidation or coercion.             Or

25     there's an aspect of this as well -- or to retaliate against
     Case 1:22-cr-00015-APM    Document 817   Filed 02/27/24   Page 37 of 151

                                                                                 37

1      government conduct.

2                  I think, you know, as the weeks and months passed

3      after the election and President Trump and others did not

4      intercede, there is sort of an anger or retaliatory tone

5      that Mr. Rhodes' comments take on.         And I think that is --

6      I think the stronger argument is that the offense of this

7      conspiracy was calculated to influence or effect through

8      intimidation or coercion.       But I think for at least

9      Mr. Rhodes, there is an element of that retaliation that he

10     was going for as well.

11                 We disagree with Mr. Woodward's point yesterday.

12     He's not -- I don't know if he's here today, so I don't mean

13     to -- okay.    He is.    All right.    Great.

14                 So we agree with your point that.

15                 THE COURT:    Mr. Woodward is ubiquitous as far as I

16     can tell.

17                 MS. RAKOCZY:     He does seem to be everywhere.

18                 We disagree that this is a "12 or nothing."            That

19     is, just the plain language of Note A(4) [sic] does not say

20     that.   It seems as though the Court -- or the Guidelines,

21     the Sentencing Commission was acknowledging that there might

22     be conditions where some level of upward departure is

23     appropriate, but this is -- we're not talking about a

24     statutorily defined defense of terrorism.

25                 So I think the Guideline really, by its plain
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 38 of 151

                                                                               38

1      language -- and certainly no courts have supported

2      Mr. Woodward -- or have supported Mr. Woodward's

3      interpretation.    We think that you can apply less than 12

4      levels.   And, frankly, I think there is an argument to have

5      been made that we did not make and we are not asking the

6      Court to make that the full 3A1.4 might have applied.             It

7      doesn't require a conviction for, say, destruction of

8      property.

9                  And we think that, under all the evidence here,

10     this Court might find by a preponderance that Mr. Rhodes'

11     conduct and the relevant conduct of his co-conspirators did

12     constitute a felony that involved or was intended to promote

13     a federal crime of terrorism such as destruction of

14     property.

15                 But from the government's perspective, it's an

16     argument we don't need to have today.         And we're not

17     necessarily thinking that under 3553(a), that a 12-level

18     increase, plus the sort of maxing out of the Criminal

19     History score, is appropriate to get to a sentence that

20     would be appropriate under Section 3553(a).

21                 We have articulated our reasons why, and I'll

22     speak more at the end about why.       We believe the sentence of

23     25 years is appropriate under 3553(a)., and we think here

24     the six-level enhancement is half of the 12 that might have

25     been applied for the terrorism enhancement.
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 39 of 151

                                                                               39

1                  We acknowledge and thought through in articulating

2      six levels as -- we acknowledge that this group did not

3      directly cause the loss of life.       There's sort of a level of

4      participation in the events that did cause the loss of life

5      that day, but this is not blowing up a building.

6                  I think organizing an armed force across the river

7      that was prepared to come in comes pretty close to being

8      pretty much like advocating for actions that could cause the

9      loss of life.    The repeated uses of how we need to have a

10     bloody Civil War comes pretty close.         And it is incredibly

11     hard to forget the chilling words of Mr. Rhodes on

12     January 10th that suggests that on January 6th, he was

13     playing a little bit of the long game, but that were the

14     President not to do something about calling up the

15     Oath Keepers and literally starting a civil war, that his

16     view was, "Actually, I should have called in the QRF on

17     the 6th."

18                 And I think when you're thinking about whether

19     this was terrorism, which we believe it was, all of those

20     factors suggest that something around the level of a

21     six-level adjustment feels right.

22                 This is terrorism.    It's not blowing up a building

23     directly or directing someone else to blow up a building.

24     But certainly in light of the threat of harm and the

25     historic significance of attempting to stop the
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 40 of 151

                                                                               40

1      certification of an election for the first time in U.S.

2      history, those facts together we do think provide a factual

3      basis that supports an increase of roughly six levels.

4                 I would just note in terms of whether levels can

5      apply, we did cite a case in our opening sentencing memo, a

6      District Court case out of Oregon, the Patrick case -- it's

7      on page 67 of our memo -- where a court did something

8      similar to what we're asking the Court to do here.

9      So this is not unprecedented.

10                That case is still on appeal, so it hasn't been

11     affirmed by the Ninth Circuit.        We keep watching to see, but

12     it hasn't been yet.     But I think that provides an example

13     that gives the Court some analogy here in support for doing

14     what we are asking the Court to do.

15                So that's all that I think I have to say about

16     Guidelines.    I mean, I think at the end, depending on how

17     the court goes on the Guidelines, I have some thoughts about

18     why a sentence of 25 years is still both compliant with the

19     Guidelines and appropriate.      We provided some alternate

20     justifications in our memo that I can address at the end,

21     depending on where the Court winds up, but I don't think

22     that's necessary now.

23                THE COURT:    Okay.   Thank you, Ms. Rakoczy.

24                MS. RAKOCZY:     Thank you.

25                THE COURT:    All right.     I'll hear from the
     Case 1:22-cr-00015-APM   Document 817    Filed 02/27/24   Page 41 of 151

                                                                                 41

1      defense.

2                  MR. BRIGHT:    May I ask a clarification question,

3      Your Honor, briefly?

4                  THE COURT:    Of course.

5                  MR. BRIGHT:    When you were going into originally

6      questions regarding the factual disputes that we had

7      proposed and had in our objections and then did you intend

8      for there to be any response to that, or were those your

9      findings and then moving forward?

10                 Because I think, as we -- as a defense team, as we

11     divvy up tasks, if you will, the same as the DOJ does, some

12     of the disputes regarding a couple of the issues that you

13     had addressed have a substantial basis as to role adjustment

14     and then also in terms of the response that we might have

15     regarding the enhancement for Note 4 in that section

16     regarding terrorism.

17                 So what were your intentions, just to clarify, so

18     that I know how we would be best proceeding, Your Honor?

19                 THE COURT:    Well, let's put it this way.          Nothing

20     is ever set in stone.

21                 MR. BRIGHT:    Certainly.

22                 THE COURT:    So if you want to address what I've

23     said thus far and disagree with it, then I'm happy to think

24     about it.    So don't feel like what I've said thus far should

25     preclude you from making any argument or allocution that you
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24    Page 42 of 151

                                                                                 42

1      intended to make.

2                 MR. BRIGHT:    Then with that being said,

3      Your Honor, I'd like to address a couple of -- primarily one

4      substantial objection that we would still have regarding a

5      finding in the PSR.     It is factual-based.       And it has to

6      do -- and would lend itself to whether or not ultimately

7      there was a conspiracy that was fulfilled via Mr. Meggs

8      going up into the building that day.

9                 And it does -- I wanted to clarify our position on

10     this, because I do believe, on behalf of Mr. Rhodes and our

11     defense team, it would still speak to our -- even with due

12     respect to the Court and to the findings of the jury, that

13     there was no conspiracy as has been found.             That's obviously

14     Mr. Rhodes' stance and will be moving forward as well.

15                But I did want to address the issue regarding this

16     phone call that has been made.        And this is something that's

17     been talked about all the way back to, I would say, January,

18     late January, maybe early February when we had our

19     re-hearing on Mr. Rhodes' detention before this Court.               It

20     was done via Zoom.

21                And I remember the Court at the time and your

22     findings, Your Honor.     I believe at the time -- and I don't

23     want to try and quote.      But my recollection regarding the

24     wording that you had used is you found it at that time a bit

25     implausible and troubling that there had not been a
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 43 of 151

                                                                               43

1      communication that had occurred that would have then led

2      Mr. Meggs to have taken that next step or taken into the

3      process of going up to the top of the steps and joining

4      Mr. Dolan and Mr. Harrelson that were already standing up

5      there.

6                  In addressing that, we would still dispute, for

7      the record, that a communication and/or order was made by

8      Mr. Rhodes at that time for Mr. Meggs to take that.             That

9      would, if our argument were to be true, undercut the concept

10     that there was a conspiracy to go in and do the things that

11     were ultimately done.     Yes, I understand the government's

12     clarified that they never intended for there to be a "plan"

13     to storm the Capitol, a "plan" to breach the doors to do

14     that.    It was always clarified later as to the certification

15     of the electors, the delay.

16                 But I would respectfully suggest for the Court

17     that the factual basis of our dispute is clear.            And the

18     testimony of the government, which they elicited also, we

19     would argue, shows that that phone call, whether there was a

20     good connection or not, and we heard -- ever had anything to

21     do with Mr. Meggs ultimately going into the building, up the

22     steps, and then going into the actions that ultimately

23     happened.

24                 I would point to the testimony of Jason Dolan.

25     We've talked a lot about Mr. Dolan within the government's
     Case 1:22-cr-00015-APM   Document 817    Filed 02/27/24   Page 44 of 151

                                                                                44

1      183-page sentencing memo, which is very thorough.             Multiple

2      times they quote Mr. Dolan and cite Mr. Dolan as an honest

3      man that, under oath, testified and used his testimony to

4      make many points.

5                 Well, Your Honor, if Mr. Dolan is to be believed,

6      if his testimony is accurate, well, then he, along with

7      Mr. Harrelson, having met Mr. Rhodes for the first time

8      ever, communicated with Mr. Rhodes for the first time ever

9      leaving the Capitol that day.         He overheard, according to

10     the government's elicited testimony, nothing that I got on

11     cross, but what Mr. Nestler got on redirect.            When he

12     overheard Mr. Meggs tell Mr. Rhodes that he went into the

13     building, it was Mr. Dolan's sworn testimony that Mr. Rhodes

14     immediately looked at him and said, "That's pretty stupid."

15     If we did not have any evidence or any testimony regarding

16     that call other than that, then I would say this is still --

17     this is still an issue that's somewhat opened and disputed.

18                But what we do have is we have two other

19     individuals that were part of the three-person call, so

20     two-thirds of the participants, if it was one that was

21     heard, if it was one that took place and connected.

22     Mr. Michael Greene waived his Fifth even though he was under

23     indictment; and he came in and testified for the defense,

24     having not been here to here Mr. Dolan's testimony, having

25     not been here to hear Mr. Rhodes' day-and-a-half direct,
     Case 1:22-cr-00015-APM    Document 817   Filed 02/27/24    Page 45 of 151

                                                                                      45

1      cross, redirect.       He wasn't here to hear what was said.

2                 And Mr. Rhodes also said, admittedly after hearing

3      Mr. Dolan testify, but his testimony was more explicit.                   He

4      said -- and, again, I know we've had salty language in this

5      court, but I do want to make things clear.              Mr. Rhodes'

6      testimony was:    "That was pretty fucking stupid," having not

7      heard Mr. Dolan's testimony, having not heard --

8      Mr. Greene --

9                 THE COURT:      Mr. Greene --

10                MR. BRIGHT:      I apologize.

11                THE COURT:      Mr. Greene said that.

12                MR. BRIGHT:      Mr. Greene, having not heard

13     Mr. Dolan's testimony, having not heard Mr. Rhodes'

14     testimony -- and as the Court will recall, I turned over all

15     of my notes from my witness prep for him.           So had that been

16     something I elicited from him, the Court would have been

17     aware that that's something that I had discussed with him.

18     That's something I would have turned over to the government,

19     and that's why I did that out of an abundance of caution.

20                So the Court will also then remember that

21     Mr. Greene independently testified he was standing next to

22     Mr. Rhodes; and he also heard Mr. Rhodes, when informed by

23     Mr. Meggs he went into the Capitol, "That's pretty fucking

24     stupid."

25                None of us know.      We can speculate.        I get it.
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24    Page 46 of 151

                                                                                 46

1      The jury heard that.     The jury made their decision.           I will

2      respect the jury decision but still disagree.

3                  I think that the fact that independent witnesses

4      have all said under oath that Mr. Rhodes' reaction to

5      finding out Mr. Meggs went in directly contradicts the

6      government's continued assertion that during that phone

7      call, there was an order, a suggestion, or anything given to

8      Mr. Meggs to go into that building, to interfere, and stop

9      with the certification of electors.

10                 Obviously, Mr. Meggs chose not to testify, as is

11     his constitutional right.      I respect that.         But the actions

12     and words of others, I would suggest, still dispute that

13     that was part of what later became known, per the 28th

14     witness of Graydon Young, that there was no plan; there were

15     no words; there were no meeting of the minds.            This was

16     implicit.

17                 And so I would respectfully suggest the basis of

18     that because that does get into what Mr. Linder will talk

19     about regarding role adjustment, is that it's our continued

20     assertion, specifically regarding that factual issue, that

21     we would dispute that that part of the conspiracy ever

22     existed.

23                 THE COURT:   I remember the testimony well.

24                 And I went back and looked at it in advance of the

25     hearing, particularly Mr. Dolan's.        It was a little bit more
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 47 of 151

                                                                               47

1      equivocal than you've described.       But, nevertheless, you

2      have accurately captured what he heard Mr. Rhodes say with

3      respect to the subject of having gone in.

4                 I think the questioning was to the effect of:

5      Did anybody chastise you?

6                 And his response sort of unprompted, was, he said,

7      "That was stupid."

8                 And it wasn't particularly directed at any person,

9      is my recollection of what Mr. Dolan said.

10                But let me ask you this.

11                MR. BRIGHT:    Please.

12                THE COURT:    Do you contend that Mr. Meggs was

13     freelancing; that Mr. Meggs, who, if there's anybody in this

14     saga seemed to adhere to the hierarchical quality of this

15     organization, that Mr. Meggs would have done something as

16     dramatic as lead half a dozen people or more into the

17     Capitol building either without having been told directly by

18     Mr. Rhodes that that's what you need to do, or with a full

19     understanding that that's exactly what he wanted Mr. Rhodes

20     to do; and combine that with the fact that as soon as that

21     call ends, they head to the Capitol?         And we know that both

22     from the timing of the phone call and the video that was on

23     Sandra Parker's phone, which showed a video of the line

24     moving precisely when that phone call ended.           It is -- it's

25     possible that Mr. Rhodes either didn't connect or didn't
     Case 1:22-cr-00015-APM    Document 817   Filed 02/27/24   Page 48 of 151

                                                                                     48

1      direct.    But, man, that's a big coincidence.

2                  MR. BRIGHT:     I don't disagree with the Court.             It

3      is a big coincidence.

4                  I think this is the type of issue that we have

5      been struggling with for millennia:         What perspective do we

6      choose to see?

7                  There are theologians that have talked about this.

8      It's free will.    What are you choosing to see on any given

9      perspective of what you look at.

10                 Christian theologian in the third century,

11     Pelagius, said -- he used the example when he was having a

12     discourse with Saint Augustine.        He said, "We have free

13     will."    He used the eyes as an example.         How do you choose

14     to see things?    That is your free will.         What is your

15     perspective?

16                 Did the jurors have a natural inclination with a

17     corrupted free will from everything that they experienced to

18     look at that moment, choose that perspective and say, "Gosh,

19     that sure is a hell of a coincidence.          It must have

20     happened"?    I accept that can be a reality.           But there's

21     also the reality and what -- is what lead us here.

22                 Matthew Peed, before my closing -- I had a closing

23     written out.    And Matthew Peed in the work room, he looked

24     at me and he said, "You know what's an interesting thing

25     about this case?       99.5 percent of the facts and the argument
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 49 of 151

                                                                                 49

1      that the government is presenting and that we're presenting

2      and that we're all looking at, they're almost similar,

3      they're almost identical.      There's a slight variation.          And

4      it's -- the question is:      How do you interpret that?

5                 If I didn't have any evidentiary basis at all with

6      how to view that phone call like we didn't have last

7      January, I would concur with the Court, that it is

8      troubling.

9                 But when I have two out of the three participants

10     independently testifying that no order, no suggestion was

11     given, and then I have a government witness who his sworn

12     testimony litters their sentencing memo as truthful, honest,

13     and to be relied upon and then I have to sit and listen to

14     him tell a jury that Mr. Rhodes admonished Mr. Meggs for

15     going in, I go back to Occam's razor:         What is more likely?

16                It is not likely.     And if we go back and we watch

17     that video in full, not the small snippets that the

18     government presented, in full, what did Line 1 do?

19                Well, we know that Dolan and Harrelson were

20     already standing up on roughly the 12th to 14th step.             We

21     see them crossing the grass, just wandering.           They go up.

22     There were no communications with other Oath Keepers with

23     Mr. Rhodes for those two.      How did they end up there if this

24     is all based on orders in a phone call to Meggs.

25                Meggs and that group did not go up and then all of
     Case 1:22-cr-00015-APM    Document 817   Filed 02/27/24   Page 50 of 151

                                                                                50

1      a sudden start kicking the doors and go in.             The doors were

2      closed.   They walk up in this, what has been talked about as

3      this vaunted stack line.       Well, my five-year-old does that

4      in kindergarten.       They went up.    The crowd cleared for them.

5      They didn't go up in a hurry, in an aggressive fashion.

6                 Go back to the evidence just on this issue.

7      I'm not trying to re-try this case, but this does speak to

8      the concept of the conspiracy and role adjustment, and it's

9      where we do have a consistent factual dispute.

10                The crowd parts for them.        They calmly walk up.

11     They take a left and they separate from each other.              They're

12     shaking hands with people, they're patting people on the

13     back.

14                And then when you watch the full context of that,

15     they start singing the National Anthem and talking.              There's

16     no aggressive action.

17                And then, unbeknownst to them, unbeknownst to

18     anything that Mr. Rhodes ever could have ordered -- he's

19     smart, but he's not prescient.         Nobody ever could have

20     predicted that that crowd on the east steps would have the

21     Colombia doors open from the inside.

22                And then they start filing in.

23                As Jason Dolan said, it was a wedge and I got

24     pulled through.

25                That's not even something that anyone ever could
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 51 of 151

                                                                               51

1      have predicted.    That's like going back to the election and

2      having somebody predict that on December 19th, Trump would

3      tweet out, "Be there.     It's going to be wild," and all of a

4      sudden Jan. 6th becomes this thing that they're aware of.

5                 I would respectfully suggest and re-urge that the

6      basis of that phone call has been completely misconstrued

7      and misled.

8                 Now, to your question of whether Mr. Meggs just

9      sua sponte decided to go in and do that, I don't know, I'll

10     never know.    I have no idea.    Nor does the Court, nor does

11     the jury, nor does the government.

12                But I do know that whatever he chose to do, when

13     it was reported back in the hierarchical fashion to

14     Mr. Rhodes, that was something outside of the legitimate

15     hierarchy, and he was admonished for it.          And they then left

16     the Hill and went back to Virginia.

17                So to clarify on that, I think that dovetails into

18     what Mr. Linder would talk about in terms of the hierarchy

19     and the control because I do think that actually speaks to,

20     if there had been control, somebody did go, lack of a better

21     term, "rogue."    I think about 5,000 people on that day

22     before Mr. Rhodes ever left the hotel where he was with

23     Ms. SoRelle.    They were going rogue on the west steps where

24     there weren't any Oath Keepers.       So for that point, I just

25     wanted a clarification on the factual basis, Your Honor.
     Case 1:22-cr-00015-APM   Document 817    Filed 02/27/24   Page 52 of 151

                                                                                 52

1                  THE COURT:    All right.    Appreciate that,

2      Mr. Bright.

3                  MR. LINDER:   Good morning, Your Honor.          How are

4      you?

5                  THE COURT:    Good.   How are you, Mr. Linder?

6                  MR. LINDER:   Good.

7                  One thing I want to follow up Mr. Bright, the

8      coincidence you've indicated with the phone call and the

9      actions of Mr. Meggs, one thing that nobody has talked about

10     is:    What did Rhodes do and what did Michael Greene do after

11     the phone call?

12                 If Rhodes -- I'll give you a hypothetical.

13                 Rhodes is a military guy.       Michael Greene is a

14     military guy.    If Rhodes -- there's 10,000 people descending

15     on the Capitol.    They can see it from where they're

16     standing.    If Rhodes told Meggs, "This is our chance.            Go in

17     and take over.    Go stop the certification," don't you think

18     he would have responded to Vallejo, "Bring in the guns.

19     It's on boys.    We're in"?

20                 You've heard testimony.       We heard evidence.       And,

21     again, we don't want to re-try the case.           But we heard

22     evidence that Rhodes was there for legitimate reasons also.

23     I know the Court in its detailed recitation yesterday had

24     some -- may have had some disputes with that.            But there was

25     evidence that he was there to speak and provide security for
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 53 of 151

                                                                               53

1      different speakers.

2                 THE COURT:    Well, to be clear, what I said was

3      that it wasn't the only reason.

4                 MR. LINDER:    Correct.    Correct.     But he was there

5      for some legal reasons also.

6                 And I think the evidence came out that he had

7      about 30 people, 30 Oath Keepers at his disposal.

8                 The evidence also came out that the Oath Keepers

9      at one point had 30- to 40,000 members.          If Rhodes wanted to

10     stop the certification of the election illegally -- now,

11     granted, he wanted to stop the certification by imploring

12     Trump to invoke the Insurrection Act, which he could legally

13     ask him to do.    "Hey, go and do this."

14                But if what if the Court and the government or

15     what the government is surmising is to be taken as truth,

16     Rhodes being a military guy and having the friendship and

17     acquaintance and the employment of Michael Greene, who's a

18     military guy, if he'd really wanted to stop this

19     certification illegally, like the government wants us to

20     believe, why would there be guns outside of the District?

21                "Hey, we're going to go into the Capitol.            We're

22     going to go stop this certification illegally."            They

23     wouldn't have left guns outside the Capitol.

24                Rhodes had 30 people there already.          But if he

25     really wanted to do this, he could have had hundreds of
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 54 of 151

                                                                               54

1      Oath Keepers there.     And he didn't.

2                 And so after this alleged -- or after this phone

3      call with the government's theory taken in its most

4      nefarious context of Rhodes ordering Meggs to go in and stop

5      the certification or go in and disrupt or whatever he

6      ordered him to do, if you take that as truth, the

7      government's idea that that's what happened, don't you think

8      Rhodes would have then followed up with calling other

9      people:    "Hey, group, get in here.      You're off duty.       We

10     need to go to the Capitol.      Vallejo bring in the guns"?

11                None of that happened because he's a military guy.

12     So is Michael Greene.     They would not send Meggs and a

13     ragtag group of six people in to disrupt the certification

14     without reinforcements, without some kind of organization.

15                Now, did Rhodes want the election [sic] to go

16     forward?   No, he didn't.     We've talked about that, and the

17     evidence is clear.     But there were no orders or plans to go

18     into the Capitol by the Oath Keepers that day.

19                And so kind of with that -- and I think if you --

20     so as Mr. Bright said, we have two of the three people on

21     the phone call have denied an order being given.            Dolan and

22     Michael Greene talked about the admonishments they got --

23     that Meggs got from Rhodes when they got off or got out of

24     the Capitol.

25                So the other bit of evidence that no one's talked
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 55 of 151

                                                                               55

1      about until I mentioned it here today is:          What did Rhodes

2      do after this alleged phone call?        Nothing.

3                 He didn't call anybody else.        He didn't go.      He

4      didn't order in the guns.      Nothing.    So that corroborates

5      the fact that he didn't give an order.         Being a military

6      guy, if he had given that order, there would have been some

7      follow-through.

8                 So that goes -- and I'll keep this brief going

9      forward.   I think -- I want to clear this up.          I'm looking,

10     for the purposes of the record, at the presentence report

11     for Rhodes.    I've got that before me.       And I think -- I'm

12     looking at paragraphs 132, 133, and 135.          I believed earlier

13     that you went ahead and gave the three-point enhancement on

14     paragraph 132.    Ms. Rakoczy addressed it, but I believe that

15     you'd said you'd already agreed that there was substantial

16     interference with the administration of justice; is that

17     correct?

18                THE COURT:    Yeah.

19                I mean, I haven't formally said so but...

20                MR. LINDER:    Okay.

21                I would like to kind of reiterate what I said

22     yesterday on that, just kind of make a further record of it,

23     that it all goes back to that phone call.          So if you believe

24     the phone call the way the government puts it, maybe, but

25     there's this corroborating evidence; I don't think you can.
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 56 of 151

                                                                                56

1                  So the Oath Keepers weren't the ones who breached

2      the Capitol.    None of them destroyed any property.           I don't

3      believe any of them were charged with assault.            I don't know

4      about some of the other people.

5                  But they didn't do a lot of stuff that the mob

6      did.    The mob was there first.      Yes, some Oath Keepers went

7      in.    You can argue Stewart ordered it or he didn't.           And the

8      Oath Keepers who were in there were in there for 12 minutes.

9                  So they didn't break doors, didn't break windows,

10     didn't assault police, didn't destroy any property.             So I

11     would suggest that there is no substantial interference with

12     the administration of justice by the Oath Keepers.

13                 Now, mob, yes.    And with other people, yes.         But

14     not the Oath Keepers.     So that addresses 132.        I just wanted

15     to put that on the record.

16                 Now, in regards to paragraph 133, the 2-point

17     enhancement for extensive in scope, this also goes back to

18     how you choose -- how the Court chooses to view the facts of

19     this conspiracy.

20                 The government in its indictment and the probation

21     officer in this PSR allege that this conspiracy started in

22     November.    It was extensive in scope, several months in

23     planning.    But you heard the evidence.       And the evidence,

24     there was no J6 until December 19th.         And it's very clear,

25     undisputed that J6 wasn't even a thing until Trump made his
     Case 1:22-cr-00015-APM   Document 817    Filed 02/27/24   Page 57 of 151

                                                                                57

1      infamous tweet.

2                 So if you limit the conspiracy, then it may not be

3      extensive in scope.      It depends on if -- he had access to

4      hundreds of people.      A dozen people went into the Capitol

5      without his direction.      So it depends on how you choose to

6      look at it as to, is it extensive in scope or not?

7                 The government's closing argument in both our

8      trial and, I think, in trial 3 said that the conspiracy

9      could be formed with a wink and a nod.          Well, if the

10     conspiracy was formed with a wink and a nod, then that's not

11     extensive in scope.

12                So you've really got to parse through all of these

13     things and say, which theory do you choose to believe, the

14     theory that the government indicted our client on or the

15     theory that they ended their case on in closing arguments?

16     They're completely different.         So that addresses 133, so

17     don't think that two-level enhancement ought to apply.

18                135, the four-level enhancement for role in the

19     offense.   Yes, Mr. Rhodes is an organizer and a leader of

20     the Oath Keepers.      But in Line 2 of paragraph 135, you've

21     got the words "criminal activity."         So was Rhodes leading a

22     criminal activity that day?

23                Our suggestion and the facts is that he was not.

24     He was there legally.      Yeah, he wanted the election to stop.

25     He wanted Trump to invoke the Insurrection Act.             But if he
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 58 of 151

                                                                                 58

1      didn't order his people in, if they were just there kind of

2      watching like Rhodes was watching, then there's no real

3      criminal activity there in regards to that.

4                 So, yes, he is an organizer and a leader of the

5      Oath Keepers, but was he engaged in a criminal activity as

6      that applies?    So that's all I'm going to do on that.

7      I think Mr. Bright is going to address the terrorism

8      enhancement with that.

9                 But, Judge, it just goes back, it's a factually

10     specific thing on what you really think of this phone call.

11                Thank you.

12                THE COURT:    Okay.   Thank you, Mr. Linder.

13                MR. BRIGHT:    If I may be very brief, Your Honor.

14     Again, I apologize if this seems a disjointed manner in

15     which we're approaching you, but thank you for your time in

16     hearing us out.

17                Merely on the government's request for the

18     terrorism to apply, we would stand on previous objections.

19     The clarifications in our arguments that we've made in the

20     past ten-or-so minutes regarding the nature of whether there

21     was a conspiracy, I'd correct Mr. Linder in a couple of

22     things per Mr. Rhodes.

23                It was not that he wanted to stop the

24     certification of the electors.        There's clarification.        And

25     I believe later today you will hear from Mr. Rhodes in
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 59 of 151

                                                                               59

1      continued clarification of that.

2                 And it was the troubling closing of the Department

3      of Justice in the Nordean trial whereby they were saying

4      that conspiracy no longer requires the planning or meeting

5      of minds or any of that; it can just be accomplished with an

6      understanding, a wink, and a nod.        I find it deeply

7      troubling that that's where we're getting with this, and

8      I think most Americans should be concerned as well.             But

9      that speaks to, also, the issue regarding the terrorism.

10                We would stand by the objections that we've made

11     regarding that.    We certainly understand the government's

12     articulated argument before the Court on why that should

13     apply.   I would respectfully suggest for the Court to

14     preserve a decision of that because I think there, even if

15     the Court were to believe that Note 4 and the coercive

16     manner that is discussed in that, it does say "may be

17     warranted."    It is certainly nothing that is required of the

18     Court.   It's a consideration the Court may choose to engage

19     and decide.

20                And what I would respectfully say to the Court,

21     aside from our objections as to its application, is that if

22     the Court may be in consideration of that, as you seemed to

23     indicate yesterday clearly, based on the concept of the

24     conviction for seditious conspiracy, that perhaps the "may"

25     is the part we should focus on and instead -- should not
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 60 of 151

                                                                               60

1      focus on in terms of actually doing it, but reserve the

2      punishment more appropriately that the Court will mete out

3      within the proper factors of 3553, because I do believe,

4      one, we'd stand by our objections; but, two, I do believe

5      the Court can address, without the moniker of terrorism that

6      the government wants clearly, but the Court still has the

7      ability to issue a punishment that is going to fulfill all

8      of the 3553 factors and be more than sufficient without a

9      finding on that.

10                So I would ask for the Court, in its discretion,

11     to reserve the punishment outside of that 3553 reasons.

12                THE COURT:    Okay.    Thank you, Mr. Bright.

13                MR. BRIGHT:    Your Honor, if I may, again,

14     I believe this will be the end of it.         Mr. Tarpley had one

15     thing he wanted to add.

16                THE COURT:    All right.    Your client has requested

17     a break, so I don't know how long you're going to be.

18                MR. TARPLEY:     Just a couple of minutes,

19     Your Honor.

20                THE COURT:    Okay.

21                MR. TARPLEY:     Thank you, Your Honor.

22                I just wanted to cover a couple quick points.

23                On the day of January 6th, the House and the

24     Senate were already engaged in a procedure which allows them

25     to object to the election.       And under the Electoral Count
     Case 1:22-cr-00015-APM    Document 817   Filed 02/27/24   Page 61 of 151

                                                                                61

1      Act, the Congress was governed by federal law which set out

2      the procedure for the certification of the election and for

3      the counting of the votes.

4                 At trial, we had testimony from the former

5      Parliamentarian of the House, who went into great detail on

6      that.

7                 And one of the things that he acknowledged in his

8      testimony was that, at the end of the day, there was no way

9      that anyone could have stopped the counting of the electoral

10     votes, that based on the Electoral Count Act, there's a

11     procedure set in place for the votes to be counted.              If

12     there's a break in the counting, they have to start back the

13     next day and the next day and the next day after that until

14     it is completed.       And, Your Honor, I think we pointed that

15     out in trial, and I think that testimony was elicited from

16     the Parliamentarian of the House.

17                I just wanted to also further amplify the fact

18     that there were no text messages, no chat messages, there

19     was absolutely nothing introduced in evidence at trial from

20     Mr. Rhodes indicating that he wanted to stop the counting of

21     the electoral votes.       There was never any evidence

22     introduced about that.

23                And I know that the government's theory of the

24     case is that this was all about stopping the transfer of

25     Presidential power.       And to be quite honest with you,
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 62 of 151

                                                                               62

1      I don't think there was any way that anyone could have

2      stopped the transfer of Presidential power.

3                 The counting of the votes would have taken place

4      under the Electoral Count Act and pursuant to the Electoral

5      Count Act.   And on January 20th, the President would have

6      been sworn in because all of that would have taken place

7      pursuant to the Constitution and to federal law that was

8      already in place.

9                 And there's nothing Mr. Rhodes or anyone else

10     could have done to have stopped that.

11                And furthermore, it was never, ever in his mind to

12     stop the counting of the Electoral votes, and there was no

13     evidence ever introduced at trial to do that.

14                And so, Your Honor, I would just simply submit

15     Mr. Rhodes, he was not a general on the battlefield

16     directing his troops, as the government indicated in their

17     opening argument.      He was a man there committed to what he

18     thought was doing the best thing to preserve liberty in this

19     country, and that's what he was there for.

20                Did he plan for all this to happen?

21                No, he did not.

22                Did Oath Keepers go into the Capitol that day?

23                Yes, they did.

24                And we know from discussion that's already

25     proceeded before Your Honor that he was aghast at what
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 63 of 151

                                                                               63

1      happened, the fact that they entered the Capitol, because

2      that was never a part of his plan either.

3                 So, Your Honor, I would just simply ask the Court

4      to reflect on the absolute impossibility that the transfer

5      of Presidential power could have ever been halted or impeded

6      in any way and that, pursuant to the Electoral Count Act,

7      there was a procedure in place to make sure that the

8      electoral votes would have been counted and they were

9      counted.

10                Thank you, Your Honor.

11                THE COURT:     Thank you, Counsel.

12                All right.     Everyone, let's take 15 minutes.          I'll

13     be back at 11:15.      Thank you very much.

14                COURTROOM DEPUTY:     All rise.     This Court stand in

15     recess.

16                (Recess from 11:01 a.m. to 11:19 a.m.)

17                COURTROOM DEPUTY:     This court is in session; the

18     Honorable Amit P. Mehta presiding.

19                THE COURT:     Please be seated.

20                Thank you, everyone.

21                Let me just do this in two steps.

22                First, I'm going to state for the record what I

23     find to be the jointly undertaken criminal activity for

24     which Mr. Rhodes is responsible for purposes of the

25     then-Guidelines calculations.
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 64 of 151

                                                                               64

1                 Let me say at the outset two important issues or

2      facts as a matter of background.

3                 One, Mr. Rhodes stands convicted of seditious

4      conspiracy, okay?      We know the jury concluded what it

5      concluded.

6                 Two, the facts that I recited yesterday in support

7      of the Rule 29 motion, I'm not going to recite those here

8      again today; however, the record should clearly reflect that

9      all of those facts and the inferences that I drew yesterday

10     from those facts, I am finding by a preponderance of the

11     evidence with one exception, which I will elaborate on

12     momentarily.

13                So everything I said yesterday I'm incorporating

14     into the record, finding those to be by a preponderance of

15     the evidence and the inferences also by a preponderance of

16     the evidence so that there may be no mistake about the

17     details.

18                Now, that said, I'm just going to provide some

19     broad strokes of what I think the evidence shows by a

20     preponderance of the evidence and why I am coming to

21     conclusion I am about the scope of the jointly undertaken

22     criminal activity.

23                Mr. Rhodes was convicted of leading a conspiracy

24     to oppose by force the lawful transfer of power following

25     the 2020 Presidential election.       The objects of that
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 65 of 151

                                                                               65

1      conspiracy were to resist the authority of the United States

2      Government with force, of which he was convicted, and to

3      interfere with the execution of the laws governing the

4      transfer of power, which I also find him to have been --

5      which I also find by a preponderance of the evidence, that

6      is, that second objective that the jury did not reach

7      because they weren't required to, I'm making a finding based

8      upon my evidentiary rulings yesterday -- or the evidentiary

9      summary yesterday and what else I'm about to say.

10                Because Mr. Rhodes' position atop the hierarchy of

11     the Oath Keepers, as well as his conduct and actions and

12     words, I find it appropriate to ascribe the actions of all

13     other co-conspirators that constitute criminal conduct to

14     him as well.

15                Those actions of his co-conspirators were both

16     within the scope of the jointly undertaken criminal

17     activity, they were in furtherance of the conspiracy, and,

18     importantly, they were reasonably foreseeable in connection

19     with the criminal activity.      Specifically, and most

20     critically, the evidence showed that Mr. Rhodes used violent

21     imagery and language and drew comparisons between present

22     day and the American Revolution and the Civil War to inspire

23     the use of violence as a means of resisting the transfer of

24     power to the new administration.

25                Signal messages and other means of communication
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 66 of 151

                                                                               66

1      showed him persuading others and that other members of the

2      conspiracy came to share this view.

3                  Signal messages, other means of communications,

4      and the actions of fellow co-conspirators showed that they

5      had a mutual understanding that violence, including the

6      taking up of arms, might be required to keep the President

7      in office.

8                  The evidence further showed that Mr. Rhodes knew

9      that January 6th was likely their last chance to take a

10     stand, and that, whether or not President Trump invoked the

11     Insurrection Act, he and his co-conspirators had a common

12     understanding that force might be used to oppose the

13     transfer of power on January 6th itself, including directed

14     at Congress.

15                 There was further proof that he and his

16     co-conspirators brought weapons to the area to be used, if

17     needed, to carry out their objectives.         The fact that those

18     weapons were never brought into the city does not defeat the

19     conspiratorial agreement to use those weapons for violence

20     if they were needed or Mr. Rhodes' responsibility for the

21     bringing of those weapons and the consequences that

22     followed.

23                 And, importantly, there was ample evidence of

24     consciousness of guilt to support the fact that Mr. Rhodes

25     was aware, not only of his own actions and was seeking to
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 67 of 151

                                                                               67

1      cover the tracks of his own actions, but those of his

2      co-conspirators as well.      Why else would he have, within 48

3      hours, told everybody on that chat, the "Old Leadership"

4      chat, to delete their messages and told everyone else to

5      "Shut the F up."

6                  There was one and one only reason:         That was to

7      protect him and others from prosecution and indictment,

8      which he clearly understood was going to follow as a result

9      of the acts of that day.      I don't think anybody could draw

10     any other reasonable inference from the fact of that

11     message.

12                 With respect to the question of whether Mr. Rhodes

13     gave an order, which we've talked about, Mr. Bright, let me

14     say at the outset, I think -- and, again, my job here is not

15     to try and reconcile the jury verdicts.          But I suspect the

16     jury did not find you guilty of conspiracy to obstruct --

17     that is, the 1512(k) count -- because they had some

18     uncertainty of what was said on that phone call.            That's my

19     guess.   I mean, they had all this other evidence of what was

20     said, what was done.     They had an incredible paper trail,

21     electronic trail of what was said and what was done.             And

22     this one key fact they didn't actually have the contents of

23     what was said.    And that would include Mr. Greene's

24     testimony, because he couldn't recall whether the phone call

25     happened.
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24    Page 68 of 151

                                                                                 68

1                  But, of course, that's not where we are.            I'm not

2      being asked to make any findings here by beyond a reasonable

3      doubt.   And in an important sense, I don't have to.

4                  And why I say that is the following:           Because I

5      think it was reasonably foreseeable to Mr. Rhodes that

6      people would have gone in and gone in for the reasons that

7      they did; that was to stop the vote count.             He would have

8      foreseen that fact from all of the communications that they

9      had prior to January 6th.      Certainly, he would have known

10     that the objective that day was to resist the transfer of

11     power.   That was one of the reasons he came to Washington,

12     D.C.   It's abundantly clear from the communications.

13                 Two, when things went to hell at the Capitol, he

14     didn't tell his people to stay at bay.         He didn't tell them,

15     "Look, you know, stay with your protectees.            Just keep them

16     safe."   That's not what he said.

17                 "Come to me.    I'm on the south side of the

18     Capitol."

19                 Why would he have done that if he didn't know and

20     didn't understand that they would join the melee, that they

21     would have joined the other hundreds and thousands of people

22     who were there breaking into the Capitol Building?              It

23     defies explanation.     It defies explanation that he would

24     bring and order another 20 or 30 people to come to the

25     Capitol if, in fact, he was of the view that I had no -- I
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 69 of 151

                                                                               69

1      didn't want them to go in.      It's just not plausible.         But

2      that's not what I need to decide right now.            They had, of

3      course, discussed in advance the need to use force.             They

4      discussed in advance the need to prevent the transfer of

5      power.

6                  And so, as I said, it was reasonably foreseeable

7      for him to -- reasonably foreseeable to him that people

8      would have entered the building, that they would have used

9      force once they were in the building, because they had

10     talked about the use of force even if it hadn't been

11     specifically directed at a police officer or any precise

12     plan.    It was clearly foreseeable to Mr. Rhodes that if he

13     brought his people to the Capitol, which he did, that they

14     would have gone in.     There's no doubt in my mind.

15                 The closer question, it seems to me, is whether by

16     a preponderance of the evidence I can conclude that

17     Mr. Rhodes, in fact, knew they went in and that, in fact, he

18     approved their entry to the Capitol.

19                 Mr. Bright, you're right.      There was certainly

20     evidence at trial that I think could cause a reasonable

21     juror to question that or in the absence of evidence.

22     Mr. Dolan's testimony, I think, did come as a surprise to

23     all concerned and I think may have played a role in the

24     jury's consideration of that count.

25                 But here's what the other evidence showed.           First,
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 70 of 151

                                                                               70

1      is that, as I said earlier, this was an extremely

2      hierarchical organization with structure as a hierarchical

3      organization, with Mr. Rhodes at the top.          He was the one

4      giving the orders.     He was the one organizing the teams that

5      day.   He was the reason they were, in fact, in Washington,

6      D.C., on January 6th.     Oath Keepers wouldn't have been there

7      but for Stewart Rhodes.      I don't think anybody contends

8      otherwise.    They were there because of him.          He wanted the

9      Oath Keepers to be there.      And they went.

10                Given that, I find it very hard to believe that

11     Kelly Meggs would have led those folks in there without the

12     green light from Mr. Rhodes.      Maybe that's naive, maybe

13     I'm not giving Kelly Meggs enough credit, but it is hard for

14     me to believe he would not have cleared that with

15     Stewart Rhodes first.

16                Why?    For two reasons.

17                One, because of the hierarchical relationship.

18                Two, we had testimony at trial from two witnesses

19     who said, one, "Mr. Rhodes was trying to get ahold of

20     somebody, and they thought it was Stewart Rhodes."             He was

21     making calls.     Mr. Meggs was trying to get ahold of somebody

22     as they were walking to the Capitol, and they thought it was

23     Mr. Rhodes.

24                And, two, we now know that -- and a second witness

25     said, you know, Mr. Meggs was contemplating whether to go
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 71 of 151

                                                                               71

1      in.   And then a third witness ultimately said -- and that

2      was Mr. Berry -- "Mr. Meggs said, 'We're going in to stop

3      the vote -- stop the count,'" I think, was Mr. Berry's

4      words.   I don't ascribe that level of planning, purpose,

5      authority to Kelly Meggs without Mr. Rhodes authorizing it.

6      I don't.

7                 There is the issue of the timing, which is pretty

8      remarkable, that as soon as that three-way call ends,

9      Kelly Meggs goes.      It's certainly further evidence that

10     supports that Mr. Rhodes not only knew but in some sense

11     authorized it.

12                There's then Mr. Rhodes' actions and words after

13     January 6th.    It is true that there was testimony from

14     Mr. Dolan that he heard Mr. Rhodes use the words, "That was

15     pretty stupid."

16                It was a little equivocal in terms of exactly what

17     was said and in what context.

18                His exact testimony was this.         He was asked, "When

19     you saw Mr. Rhodes after you were inside of the

20     Capitol building, did he scold you for what you had done?"

21                This is page 4409.

22                "I didn't get scolded.       I think I heard him say at

23     one point in time, 'That was pretty stupid,' but I couldn't

24     tell you exactly what he said.        And then I probably wasn't

25     paying too much attention after that."
     Case 1:22-cr-00015-APM   Document 817    Filed 02/27/24   Page 72 of 151

                                                                                72

1                 Later on he was asked, "I think that was in

2      connection" -- he was asked, "Was that comment directed at

3      you, or you heard that in connection with someone else?"

4                 His answer was:     "I think that was in connection

5      to when we went inside.

6                 "No, but who was he talking to?

7                 "I believe he was talking to Kelly at the time,

8      but I'm not 100 percent sure."

9                 Mr. Greene's testimony was also along -- a little

10     less detailed.    He was asked:       "At this time, had you become

11     aware that Oath Keepers had gone into the Rotunda?"

12                Mr. Greene's answer was:        "Well, so when we were

13     standing on the corner of the steps there, somebody

14     mentioned another name.      I mean, somebody mentioned somebody

15     by name and said that they went in.         And Stewart said,

16     'Well, that was effing stupid.'

17                "And then I think as I was driving home, he got a

18     call from Kellye."

19                So there's certainly some evidence to suggest that

20     Mr. Rhodes used those words.      But you compare that against

21     what he said afterwards.      There is not a single message, not

22     one, in all of the messages that were introduced at trial on

23     the eve of January 6th going forward suggesting Mr. Rhodes

24     showed any regret for what happened or that he admonished

25     anyone on those Signal chats for "Why did you go in?"
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 73 of 151

                                                                               73

1      Nothing like that.     "It was stupid of you all to go in," not

2      once, and he's a prolific communicator.          Not once.

3                 He clearly had no regret at all about what

4      happened that day, and I don't think he had any regret about

5      his own people going in.

6                 And, of course, then there is the

7      consciousness-of-guilt evidence.       As I said, I don't

8      think he was simply trying to protect others by telling

9      them to delete messages.      He was trying to protect himself,

10     because he knew exactly what those message contents would be

11     and what they were and what the potential legal consequences

12     were.   Why?   Because Stewart Rhodes is a Yale law grad, and

13     he's a pretty smart guy.

14                So I do find by a preponderance of the evidence

15     that Mr. Rhodes, in fact, knew and approved that there was

16     entry -- that others would enter the Capitol and, therefore,

17     is on that alternative ground, in addition to the fact that

18     the conduct is reasonably foreseeable, but that he also, in

19     fact, knew.    And I'm making that finding by a preponderance

20     of the evidence.

21                With respect to the Guidelines, so as to the due

22     administration of justice, as I ruled yesterday, this does

23     apply as a matter of law.      It also applies as a matter of

24     fact.   The essence of the seditious agreement represented a

25     threat to others, including members of Congress.
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 74 of 151

                                                                               74

1                 Mr. Rhodes and other co-conspirators had

2      established an arsenal of weapons on the other side of the

3      Potomac River that could be brought in on notice if needed

4      to accomplish their ends to disrupt the transfer of power.

5      Such conspiracy, which, by definition, contemplated the use

6      of force against individuals within the United States

7      Government, threatened to cause physical injury to a person.

8      Their presence, combined with other members of the mob in

9      the immediate vicinity, also threatened to cause physical

10     harm to staff members of the Speaker of the House, actually.

11     Sorry.

12                Mr. Rhodes is also responsible for the actual

13     physical injuries to certain officers or threatening to

14     cause injury to those officers, because he's also

15     responsible for the conduct of his co-defendants.            These

16     acts, as I said, were not only taken within the scope of the

17     conspiracy, but they were reasonably foreseeable to

18     Mr. Rhodes and in furtherance of the conspiracy itself.

19     That would be the injuries or the threatened injuries to

20     Officers Salke any Officer Carrion, who were at the

21     Columbus Doors when Oath Keepers came through that door,

22     along with a mob of others.      And, again, it's just their

23     conduct and not the mob I'm talking about, to be clear.

24                Officer Christopher Owens and other Metropolitan

25     Police Department officers who were in the Senate hallway
     Case 1:22-cr-00015-APM   Document 817    Filed 02/27/24   Page 75 of 151

                                                                                75

1      who faced Ms. Watkins and others, along with others who were

2      pushing against that police line trying to gain access to

3      the Senate chamber.     Officers Anthony Jackson and

4      Martha Lazo, who were the object of Mr. James's assault that

5      day.

6                 And then, of course, as I just said, it was the

7      presence of Mr. Meggs and Mr. Harrelson and others right

8      outside the immediate vicinity of the Speaker's suite that

9      threatened physical harm to them and those members of her

10     staff that were inside cowering in fear for the time -- for

11     the period of time that the Oath Keepers were outside that

12     office, set of office suites.         So for those reasons, I do

13     find that the due administration of -- that the eight-point

14     enhancement applies.

15                Three-level enhancement also applies for

16     substantial interference with the administration of justice.

17     As I said yesterday, the delay of the proceedings, the fact

18     that the proceedings had to be adjourned and then were

19     adjourned for a period of time constitutes substantial

20     interference.    I don't find it at all persuasive the fact

21     that perhaps Congress would have continued the vote, no

22     matter what the circumstances would have been, to somehow

23     not apply the enhancement.      The fact of the matter is, it

24     was obstructed, it was obstructed for a long period of time,

25     and it was substantial.
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 76 of 151

                                                                               76

1                 And, of course, there was the additional costs

2      that we heard about, both in terms of cleanup and in terms

3      of additional Secret Service that had to come to the

4      Capitol.   Again, Mr. Rhodes and his group were just but one

5      cause of that.    But the fact that they contributed to that,

6      based upon the standard that I articulated earlier, suffices

7      to establish that their conduct resulted in substantial

8      interference with the administration of justice.

9                 Certainly there was extensive scope and planning.

10     Again, remember, he was convicted of seditious conspiracy,

11     not merely going into the building.

12                Clearly there was extensive scope and planning for

13     the events of January 6th.      Even if we take the time period

14     simply from December 19th forward, there's extensive scope

15     and planning in terms of gathering people, making

16     arrangements for transportation, hotel, bringing of weapons,

17     and creating of groups to operate on that day.

18                And then, of course, planning and preparation in

19     terms of going into the building was exhibited by the way in

20     which people entered in groups, in a line, whether you want

21     to call it a stack or not.      Nevertheless, that is planning

22     and preparation, and shows organization.          So those two

23     levels apply as well.

24                The obstruction two levels apply.           Clearly,

25     Mr. Rhodes was convicted of obstruction under 1512(c)(1).
     Case 1:22-cr-00015-APM   Document 817    Filed 02/27/24   Page 77 of 151

                                                                                77

1      Those two levels apply.

2                 The four levels for organizer and leader apply.

3      As I said earlier, Mr. Rhodes was at the top of the chain.

4      And it's not just the top of -- it's not just that he was

5      the founder and leader of the Oath Keepers.             That's not the

6      only reason.    The Oath Keepers don't come to D.C. on

7      November 14th but for Mr. Rhodes.         They don't come to the

8      Jericho March on December 12th, I believe it was, but for

9      Mr. Rhodes.    And they are not here on January 6th but for

10     Mr. Rhodes.

11                Mr. Rhodes directed his co-conspirators to come to

12     the Capitol, and they abided.         Mr. Meggs came to the

13     Capitol.   Mr. James and his group came to the Capitol.              This

14     was all after he told them to come to the Capitol.

15                And, ultimately, there was testimony about that

16     Mr. Rhodes, at least in the perception of some witnesses,

17     would have been the one who made the decision whether to

18     bring the arms in, and that certainly rings true.

19                There are other pieces of information here and

20     there that also establish the four levels of organizing and

21     control.   He referred to, for example, Roberto Minuta as

22     "one of my most trusted men," suggesting a hierarchical

23     relationship and an ability to control.

24                He designates Mr. Siekerman, Mr. Greene,

25     Mr. James, and Mr. Meggs as leaders for the January 6 op,
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24    Page 78 of 151

                                                                                78

1      again, suggesting a level of hierarchical control and

2      leadership and organization by Mr. Rhodes.             And so I think

3      this is not a close call that the four-level enhancement

4      applies as well as for the government's requested six-level

5      departure, under 3A1.4, Note 4.

6                 As I said yesterday, I think as a matter of law,

7      the conduct of conviction of seditious conspiracy meets the

8      description foursquare of what that element -- excuse me,

9      what that enhancement requires a showing of, which is an

10     offense other than the one that is enumerated in the

11     Guideline, but the motive was to intimidate or coerce a

12     civilian -- I'm sorry, rather than -- sorry.

13                The motive was to -- calculated to influence or

14     affect the conduct of government by intimidation or

15     coercion, which were to retaliate against government

16     conduct.   Certainly that first clause applies squarely to

17     the conduct of conviction.

18                And based upon the facts as I found them yesterday

19     and have incorporated them today, Mr. Rhodes and his

20     compatriots' objective was to affect the conduct of

21     government, specifically Congress, and to do so through

22     intimidation and coercion by means of force, both through

23     the stockpiling of weapons in the event that they needed to

24     be brought across the river -- there was an agreement as to

25     that -- and then, of course, the actual use of force by
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 79 of 151

                                                                               79

1      others who went into the building and applied that force

2      against police officers who were doing their duty that day.

3                 In terms of the levels, I disagree that it is an

4      all-or-nothing proposition.      The Guidelines clearly don't

5      contemplate that.      The only restriction is that the levels

6      can't increase more than a certain number to -- that would

7      require the -- which would have the Guidelines become

8      equivalent to what the actual terrorism enhancement would

9      do.   And so it only establishes a cap on what a court can do

10     and not a floor.

11                I think the six levels is appropriate, and how

12     does one get there?      I think the way I get there is the

13     nature of the conduct, and let me be clear.            This is not --

14     this is a separate -- it's a separate and more serious

15     conduct than what's captured by the Guideline.            And I say

16     that because the Guideline itself does not necessarily

17     require the level of intimidation and calculation and

18     targeting that the terrorism enhancement -- what we will

19     call the terrorism enhancement in the note requires.

20                This is an additional level of calculation.            It is

21     an additional level of planning.       It is an additional level

22     of purpose.    It is an additional level of targeting, in this

23     case, an institution of American democracy at its most

24     important moment, the transfer of power.          That's pretty

25     significant.    That's what the jury found.        And I agree with
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 80 of 151

                                                                               80

1      them.

2                 It seems to me six levels is appropriate.            I think

3      the case the government cited in its brief at page 57,

4      I think it is -- no, page 67, the case in Oregon in which

5      the judge there apportioned enhancement levels according to

6      level of culpability -- in fact, the highest there was 10.

7      We're not even going that far for Mr. Rhodes.           I think a

8      six-level enhancement, in order to sort of assure some

9      degree of proportionality to those who are involved in that

10     case and, ultimately, to ensure appropriate proportionality

11     to other defendants in this case, I think, is appropriate.

12     So what all of that means is -- oh, two other things -- or

13     three other things.

14                The defense has requested a two-level reduction

15     for acceptance of responsibility under 3E1.1.           I decline to

16     do so.   There's no basis for that.       Mr. Rhodes proceeded to

17     trial for reasons unrelated to factual guilt.           And although

18     that is not the sole reason somebody could receive a

19     two-point reduction for acceptance, there are no special

20     circumstances here in which the rare reason or the rare

21     exception -- circumstance would apply for that two-level

22     reduction, despite somebody having gone to trial.            And, in

23     fact, Mr. Rhodes' comments, which we will soon talk about,

24     that he has made consistently since January 6th and since

25     he's been charged and since he's been convicted clearly
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 81 of 151

                                                                               81

1      demonstrate no acceptance of responsibility.

2                  The defense has also requested a downward

3      departure under 5H1.11 for exceptional -- for military

4      service.    However, that departure is appropriately --

5      appropriate only where military service or civic-mindedness

6      is present to an unusual degree.

7                  The Supreme Court has described this in

8      Koon versus United States, 518 U.S. 81, 1996, as one of

9      a handful of discourage factors of departure, and it

10     doesn't apply here.

11                 It is true Mr. Rhodes served his country; however,

12     it was not to an unusual degree.       I believe it was about

13     four years.

14                 I am not here to say that there weren't civic and

15     charitably-minded efforts that the Oath Keepers undertook.

16     They did.    And I suppose there is something to be said about

17     that.   But, again, not to an unusual degree and certainly

18     not to a degree that eclipses the other conduct of the

19     group, not only on January 6th, but in the years prior.

20                 There's also a request for departure under 4K2.0

21     [sic] based on circumstances of a kind not adequately taken

22     into consideration in the Guidelines and based on

23     circumstances that are present to a degree not adequately

24     taken into consideration by the Guidelines.

25                 The defense hasn't really specified what the
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 82 of 151

                                                                               82

1      circumstances either are in kind or degree that would

2      warrant the departure.      If anything, I think the kind or

3      degree of conduct here would and does support an upward

4      departure, although not under 5K2.0.         I've already departed

5      for a different reason.

6                 So the Guidelines calculation, ultimately, is as

7      follows:

8                 For seditious conspiracy, it's 2X5.1.           Treason has

9      been determined to be the appropriate analogue; however,

10     because the conduct is not tantamount to waging war against

11     the United States, we are all in agreement, as am I, that

12     the appropriate Guideline is 2J1.2.        That is also the

13     Guideline for Counts 3 and 7 of conviction for Mr. Rhodes.

14                Counts 1 and 3 group because it involves the same

15     victim -- that is, Congress or the government -- as well as

16     two or more acts connected by a common criminal objective or

17     constituting part of a common scheme or plan.

18                Count 7 also groups with Counts 1 and 3, because

19     the obstruction is considered a specific offense

20     characteristic of the other group.

21                So under 2J1.2 -- and I know I'm supposed to

22     separate these out.     But because we're all using the same

23     Guideline, I think it's appropriate to do it in this for

24     purposes of this sentencing.

25                2J1.2, the Base Offense Level is a 14.
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 83 of 151

                                                                                 83

1                 The eight-level enhancement for causing or

2      threatening physical injury to a person or property damage

3      in order to obstruct the administration of justice,

4      additional eight levels.

5                 Substantial interference with the administration

6      of justice, three levels.

7                 Offense was extensive in scope, planning, or

8      preparation, two levels.

9                 Role in the offense, four levels.

10                Obstruction, an additional two levels.

11                And the terrorism departure, an additional six

12     levels.

13                For a total offense level of 39, Criminal History

14     Category 1, for a Guidelines Range of 262 to 327 months, and

15     a fine range of 50,000 to $500,000.

16                So that's the Court's Guidelines calculation.                Let

17     us now move to hearing the parties' allocutions.

18                We will begin with the government, Ms. Rakoczy.

19                MS. RAKOCZY:     Thank you, Your Honor.

20                The government is asking for a very significant

21     sentence of incarceration for Mr. Rhodes, 25 years of

22     incarceration, although we would note that sentence is

23     squarely within the middle of the applicable

24     Guidelines Range that the Court has just found.

25                We are asking for this sentence because Mr. Rhodes
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 84 of 151

                                                                               84

1      led a conspiracy to use force and violence to intimidate and

2      coerce members of our government into stopping the lawful

3      transfer of power following a Presidential election.             As the

4      Court has just found, that is terrorism, and it is conduct

5      that threatened and continues to threaten the rule of law in

6      the United States.

7                 This Court has previously explained in other

8      sentencing hearings of January 6th defendants that it has

9      been one of the great tragedies of history to see ordinary,

10     hardworking Americans turn into criminals on January 6th.

11                The Court has observed that those who led these

12     defendants down that path have yet to suffer the

13     consequences.    With this sentencing hearing and the

14     sentencing hearings that are to come in this case,

15     we believe that is changing.

16                Defendant Rhodes, along with his eight

17     co-defendants, played a leadership role in a seditious

18     conspiracy to oppose by force the lawful transfer of power

19     in this country.

20                Mr. Rhodes orchestrated this conspiracy, inspiring

21     over 30 American citizens to participate in the conspiracy

22     and to travel across the country with an arsenal of firearms

23     and other weapons in order to try to oppose the election

24     results from becoming final.

25                And who knows how many other January 6 rioters
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 85 of 151

                                                                               85

1      were influenced by Mr. Rhodes?        As the leader of the

2      Oath Keepers, we know he had at least hundreds of active

3      participants and followers in his chats in which the Court

4      saw how he repeatedly advocated for the seditious goals that

5      he has been found guilty of.

6                 There were hundreds of people who followed the

7      Oath Keepers website where he put the open letters in which

8      he openly called for essentially revolution against the

9      United States.

10                Your Honor, we talked a lot in our sentencing

11     memos about Mr. Rhodes' efforts at and his success at

12     manipulating people across his life and across his

13     leadership of the Oath Keepers.        I'd like to focus here on

14     Mr. Rhodes' attempts to radicalize his co-conspirators and

15     other followers in this case.

16                Mr. Rhodes doggedly drilled into the minds of

17     those on his chats and those followers in the Oath Keepers

18     the lie of the election fraud and the false need to act like

19     the Founding Fathers in order to save, in his view, our

20     Constitution and our country.

21                Witness after witness took that stand during this

22     trial and during the trial in the related case to tell this

23     Court about how they were lost in 2020, searching for

24     meaning in life, looking for a way to give back to their

25     country.
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 86 of 151

                                                                               86

1                 All four of the cooperators who testified across

2      these trials and many of the other civilian witnesses were

3      either former or aspiring military members.            And you heard

4      in their own words how Rhodes capitalized on these

5      vulnerabilities and these inclinations in order to encourage

6      them to become, in their own words, traitors.

7                 Rhodes' efforts at this manipulation in no way

8      excuses his co-conspirators' conduct.         Many of them were

9      inclined to go down this road, but he gave their anger a

10     direction.   And he knew that, and he plotted in the best

11     ways to exploit these co-conspirators' weaknesses or

12     inclinations in order to attract the most large following to

13     achieve the goals of his conspiracy.

14                This leadership role in seeking to radicalize and

15     lead others in a seditious conspiracy warrants the

16     significant sentence of incarceration that the government

17     has requested here for general deterrence, to make future

18     instigators of political violence think twice, and,

19     critically, to ensure the respect for the rule of law that

20     is essential to the survival of our democracy.

21                A major theme running through Defendant Rhodes'

22     messages in these trials is the idea that his version of the

23     law and the Constitution is supreme.         It is necessary for

24     this Court, through its sentence, to say, "No."            No American

25     citizen or group of citizens gets to impose by force what
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 87 of 151

                                                                               87

1      they believe is the law.      That is vigilantism.        And in the

2      context of trying to change the results of an election, it

3      is fatal to our system of government.

4                 A significant sentence here is also demanded by

5      the goal of specific deterrence.       One of the hallmarks and

6      most important goals of sentencing is rehabilitation.

7      Unfortunately for Mr. Rhodes, all of the evidence before the

8      Court suggests that January 6th was neither the first time

9      nor the last time that he will seek to organize political

10     violence in this country.

11                From the historical perspective provided by

12     Professor Sam Jackson in the book we submitted as

13     government's sentencing memo, Rhodes 6, to the statements

14     from his ex-wife in Government's Exhibit Rhodes 3, to the

15     letter that was recently submitted by the executive director

16     of the Georgetown University Institute for Constitutional

17     Advocacy and Protection, the Court can find that Mr. Rhodes

18     has been calling for violent opposition to the authority of

19     the government of the United States for well over a decade.

20                He now stands before this Court to be sentenced

21     for leading a seditious conspiracy to stop the transfer of

22     Presidential power, and he continues to advocate for

23     political violence.     We submitted numerous examples of

24     interviews Mr. Rhodes conducted from the jail, by the way,

25     in violation of the policy of those institutions, in which
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24    Page 88 of 151

                                                                                88

1      he continued to advocate for opposition to the government

2      by force.

3                  And just four days ago, the Sunday before the week

4      of his sentencing in this case, Defendant Rhodes addressed

5      by phone a "freedom corner rally" outside the D.C. jail in

6      which he continued to push the lie that the 2020 election

7      was stolen, predict another theft of an election in 2024,

8      and warned those in attendance, "They're going to keep

9      coming after those on the political right.             It's a

10     suppression campaign, a terror campaign against opposition.

11     And," he said, "it's not going to stop until it's stopped.

12     We're going to have to stop it.       The American people are

13     going to have to stop it.      It's going to take regime

14     change."    These are Mr. Rhodes' words four days ago, knowing

15     that he was about to face this Court for sentencing.

16                 Your Honor, most of us across the political

17     spectrum and throughout this great nation desperately want

18     to believe that January 6th was an outlier.            Not

19     Defendant Rhodes.      For his role in leading this historic

20     attack on American democracy and for the threat he continues

21     to pose to our system of government, the Court should and

22     must impose a sentence of 25 years.

23                 Thank you.

24                 THE COURT:    Ms. Rakoczy, thank you.

25                 Mr. Linder.
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 89 of 151

                                                                               89

1                 MR. LINDER:     Thank you, Your Honor.

2                 As I stand here before you thinking about what

3      sentence I should ask for Mr. Rhodes, Mr. Bright and I

4      discussed it.    We discussed lots of things.          We realized

5      we'd been buried in this case for a year and a half.

6      However, we realized this Court has been buried in this case

7      for two and a half years.      We realized that you have sat

8      through three jury trials; that you have read dozens of

9      detention memos, motions; you've probably read all of the

10     PSRs, all of the objections.

11                And based on your very detailed recitation of the

12     facts yesterday, I believe that you have a very good grasp

13     of the evidence as you see it, and you kind of -- you have

14     an idea of what you want to do.       It would be sophomoric of

15     me to believe otherwise.

16                You're human.     You've sat through all of this for

17     two and a half years.      You've read all of the memos on both

18     sides.   It would be unwise for me to believe that you don't

19     have some kind of range you're thinking about.            And I don't

20     believe there's any magic witness I could bring to change

21     your mind.   I don't believe there's any magic statement I

22     could bring to change your mind of kind of what you're

23     playing with.

24                But what I would like to do is, I would like to

25     take a step back.      I think what happened on January 6th is
     Case 1:22-cr-00015-APM   Document 817    Filed 02/27/24   Page 90 of 151

                                                                                 90

1      deplorable.    I didn't live here.       I saw it on TV.      It looked

2      crazy.    Hearing the witnesses talk about it, it looked

3      crazy.    People were hurt.    People died.       People were scared.

4      And I make no bones about it.         It's a serious event.

5                  However, the government wants you to sentence

6      Rhodes out of fear, out of fear that he'll do it again, out

7      of fear of what he did.      They want to make Rhodes the face

8      of J6.    They wanted to make QAnon Shaman the face of J6 for

9      a while.    Now they want to make Rhodes the face of J6, and

10     they want this 25-year sentence.         Nothing has come close

11     sentence-wise to a 25-year sentence.

12                 So we go back to the election in November.            Rhodes

13     is upset, as are millions and millions of Americans.              And as

14     the evidence showed, Rhodes came to D.C. on three different

15     occasions between the election and January 6th.             He came for

16     the Million MAGA Rally, the Jericho March, the

17     Stop the Steal Rally, and again on J6.

18                 However, Rhodes didn't plan those events.            Rhodes

19     was a participant.     He was a speaker at some of them.           He

20     brought Oath Keepers to some of them.          He didn't plan those

21     events.    He didn't plan J6.

22                 You just can't -- it's not as simple as saying --

23     they want the Court to believe and the public to believe

24     that Rhodes caused this.      And I know you're smarter than

25     that.    You know the evidence.       Rhodes did not cause this.
     Case 1:22-cr-00015-APM   Document 817    Filed 02/27/24   Page 91 of 151

                                                                                91

1                  We need to look at what caused this.           The Court

2      needs to look at what caused this.         The public needs to look

3      at what caused this.     Who got the Million MAGA Rally

4      started?    Who got the Jericho March started?          Who got the

5      Stop the Steal Rally started?         Who got J6 started?       It

6      wasn't Rhodes.    He was a participant.        And we may not like

7      what he did, but he didn't create all of that.

8                  Let me give the Court a hypothetical.           Had

9      everything happened just like it did -- the election, the

10     Stop the Steal Rally, the Million MAGA March, the

11     Jericho Rally, all those things had gone on just like they

12     did -- and two days before J6, the Governor of Texas called

13     him and said, "I need you to come to Austin on January 6th.

14     I need you to be down here."      And had Rhodes not shown up in

15     D.C., J6 would have still happened just as it did.

16                 I mean, the evidence showed you he was not leading

17     those rioters or commanding those rioters who breached.

18     Those tens of thousands of people weren't in connection with

19     Rhodes.    As the evidence has shown, maybe he had 30-, 40,000

20     members he could have brought.         He brought 30 people there.

21     So Rhodes did not cause the events of J6.

22                 Now, some of his Oath Keepers participated in the

23     events of J6.    And his rhetoric got people excited, but he

24     was not the one who started that narrative.

25                 If you want to put a face on J6, you can put it on
     Case 1:22-cr-00015-APM    Document 817   Filed 02/27/24   Page 92 of 151

                                                                                92

1      Trump, right-wing media, politicians -- all the people that

2      spun that narrative for two months.         Rhodes was just one of

3      the participants.       He didn't create it.

4                  So I'd like to look at some of the sentences that

5      have been assessed against others.

6                  As of April 9th, the government's chart, there

7      were 450 people who had been sentenced.           So far, there's

8      been a few more.       Of the 450-some-odd people that have been

9      sentenced, only 17 people have gotten 60 months or more.

10                 And I'll just name a few.

11                 Peter Schwartz, who you sentenced in this court a

12     couple weeks ago, 14 years.       You know it.      You know that

13     case.    He had 36 prior arrests.       And he was convicted of

14     assaulting officers and being very violent that day.

15                 Thomas Webster, 120 months.

16                 Mr. Head, 90 months.

17                 McCaughey, 90 months.

18                 Guy Reffitt, 87 months.

19                 And the list goes on and on and on.

20                 Every one of those 17 people who got 60 months or

21     more were convicted of assaulting officers.             Most of them

22     had criminal histories.

23                 Mr. Rhodes has none.       Mr. Rhodes didn't assault an

24     officer that day.       Mr. Rhodes didn't go in the Capitol that

25     day.    There's some evidence he may not have ordered anybody
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 93 of 151

                                                                               93

1      to go in the Capitol, even though they did.            But all of

2      these people had dangerous tendencies, criminal history, and

3      things like that.

4                 What I would like to ask the Court to kind of

5      think about:    Is it more dangerous for someone who plans a

6      bank robbery and then doesn't really execute it, or is the

7      person more dangerous that goes and assaults and beats up

8      the security guard on their own?

9                 I mean, in my opinion, as a citizen, the

10     assaultive person is the dangerous person and should get a

11     higher sentence than someone who talks a lot, runs their

12     mouth, gets people excited.      I don't think that sentencing

13     out of fear is the right thing to do in this case.

14                I think the Court correctly asked the government

15     yesterday what the government plans to do with the

16     cooperating defendants.      I think that's a great question.

17     I think Mr. Nestler answered it about the best way that he

18     could, is that they're still cooperating, so we can't tell

19     you.

20                However, if you give Mr. Rhodes a 25-year

21     sentence, do you box yourself in to giving those guys 15 or

22     18 under 3553(a)(6), which is kind of what I'm addressing

23     here?

24                Does it -- it doesn't limit -- the Court can do

25     what it wants to do.     But does it create, as you expressed
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 94 of 151

                                                                               94

1      yesterday, concern for you that, if I give Rhodes 25, you

2      better not come and ask for four for these guys that are

3      cooperating?    I mean, there's a big range there, and there's

4      nothing comparative about that.

5                 So Mr. Nestler, in his response, in his sentencing

6      memorandum, in his response to the fact that I included the

7      sentencing chart, he mentions three of these people that

8      I just talked about:     McCaughey, Webster, and Head, and

9      that they should get -- none of them were convicted of

10     conspiracy, so Mr. Rhodes is more dangerous, but they

11     were all convicted of these violent assaults that we

12     talked about.

13                In addition, on pages 79 through 81 of

14     Mr. Nestler's memorandum, he talks about previous sedition

15     cases in which multiple defendants were either convicted or

16     pled to seditious conspiracy and sentenced for treason for

17     allegedly waging war against the United States.

18                But what differentiates -- and that's

19     U.S. v. Rahman, U.S. v. Battle, U.S. v. Battiste, and

20     U.S. v. Khan, and U.S. v. Al-Timimi.         All of these cases

21     were cases in which the defendants were plotting to kill

22     Americans, blowing up the World Trade Center, joining the

23     Taliban to fight American soldiers and kill them.

24                Mr. Rhodes plotted no such thing.           His actions

25     aren't anywhere similar to these things that the prosecutors
     Case 1:22-cr-00015-APM    Document 817   Filed 02/27/24   Page 95 of 151

                                                                                95

1      mentioned in its memorandum.

2                 In closing, Your Honor, the evidence was clear

3      that the people who went into the Capitol first were not

4      being controlled by Rhodes and were not communicating with

5      Rhodes.   The people that breached the Capitol first breached

6      it on their own.       And had Rhodes not been there, it would

7      have happened anyway.       Not excusing his activities, but

8      I want to deep it in perspective with everybody.

9                 He's got no criminal history.          20-year record,

10     I think, of notable community service with his military and

11     what he's done with the disaster relief, things that

12     Oath Keepers did for a long time or has done for a

13     long time.

14                So I would ask for a much lower sentence.             I would

15     ask for a sentence of less than 60 months, because the

16     60-month and more had been reserved for the people who were

17     truly violent and had criminal history.

18                In addition, as the Court knows, as the public may

19     not, but as the Court knows, whatever sentence you give him,

20     you've got three years of supervised release to control him

21     after that.    Whether you give him 4 years, 8 years,

22     12 years, you've got another three years after that that you

23     can exercise control over him.

24                So, Your Honor, thank you for this opportunity.

25     Just I would ask that we don't -- and I don't believe you
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 96 of 151

                                                                                   96

1      will because I've gotten to know you, but I would ask that

2      people not want to sentence Rhodes out of fear but to

3      sentence him for how his actions fit in with everybody

4      else's that day and what did he -- we may not like the

5      rhetoric that he did, but he's not the one who started that

6      rhetoric and got the American people ginned up.            That

7      started somewhere else.      He was just a participant.

8                 Thank you, Your Honor.

9                 THE COURT:    Thank you, Mr. Linder.

10                MR. BRIGHT:    Your Honor, despite my desires,

11     I think it's probably best that at this point, I allow

12     Mr. Linder to, on behalf of the defense team, close that

13     out.

14                I think at this point, as anticipated by many, we

15     would give the opportunity to Mr. Rhodes to speak on his own

16     behalf at this time.

17                THE COURT:    Mr. Rhodes.

18                THE DEFENDANT:     I will just start by saying that

19     I'm a political prisoner.      And like President Trump, my only

20     crime is opposing those who are destroying our country.                 I

21     did so using my First Amendment protected free speech, my

22     political speech, while also protecting the right to speech

23     of others, as we had done throughout the Trump

24     administration out of necessity because of the systemic

25     violence from the left to attempt to shut down the free
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 97 of 151

                                                                               97

1      speech by Trump supporters.

2                 This started at Trump's inauguration.           We were

3      there protecting and guiding a group of ladies who

4      wanted to attend the DeploraBall the night before the

5      inauguration but were afraid to go without an escort, and so

6      we protected them.

7                 The very next day, we did the same kind of escorts

8      in the streets of D.C. to protect Trump supporters,

9      vulnerable people, elderly, families with children, lone

10     women who were vulnerable to attack by Antifa.

11                And Antifa, as well as Refuse Fascism, had

12     proclaimed that they were going to prevent President Trump

13     from being inaugurated -- from being sworn in, and to

14     prevent the transfer of power.

15                And yet none of them were -- and this is large

16     blocks of hundreds of people dressed in black bloc, as

17     Antifa does, attempting to block with violence the entry of

18     Trump supporters into the inauguration area, yet none of

19     them was ever prosecuted, to my mind, for seditious

20     conspiracy, even though it was obviously a seditious

21     conspiracy bent on very openly saying they're going to stop

22     the transfer of power.

23                We protected people all throughout the Trump

24     administration all across the country, including outside of

25     Trump rallies where Antifa knows that Trump supporters will
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 98 of 151

                                                                               98

1      be entering the rally through Secret Service and, therefore,

2      would be unarmed when they come back outside.

3                 And Antifa would prefer to attack people -- like

4      in Texas, for example, where folks carry guns all the time,

5      they would like to have unarmed victims.          One veteran in

6      Texas, walking unarmed back to his truck, was hit in the

7      back of the head with a lead pipe and knocked unconscious.

8                 And so that's why we stepped up across the

9      country, and we have armed escorts waiting outside the Trump

10     rallies, retired police officers, military veterans, to

11     escort the unarmed Trump supporters, elderly or lone people,

12     again, back to their vehicles.        You shouldn't have to do

13     that in this country.

14                And, unfortunately, that was the pattern

15     throughout the Trump administration of repeated systemic

16     violence by the left and our need to step up, starting in

17     Berkeley, two rallies.      We just watched a rally on TV be

18     shut down by violence with police standing back and not

19     doing anything about it and Antifa attacking people,

20     including a transgender Trump supporter.          Didn't make a

21     difference.    If you were a Trump supporter, they yelled and

22     screamed they were Nazis and "Punch the Nazis," and they

23     just attacked them.     So we saw that and we stepped in.

24                The very next time we attended a rally, we

25     protected it.    We did so peacefully.       We deterred Antifa.
     Case 1:22-cr-00015-APM    Document 817   Filed 02/27/24   Page 99 of 151

                                                                                99

1      Antifa did not close in on us, did not enter the park, did

2      not touch anyone that we were protecting.           And, of course,

3      the presence of armed, retired police officers and

4      Oath Keepers and some current serving definitely had an

5      effect on them.

6                 But that's been -- our focal point is deterrence,

7      unlike the characterization of all of the Southern Poverty

8      Law Center and all these groups out there, our men are not

9      violent.   There's zero record of any Oath Keeper ever

10     shooting anybody or punching anybody or even spraying pepper

11     spray on anybody across the country at hundreds and hundreds

12     of events that we secured.       Zero record of actual use of

13     force, because we deter.

14                Unlike other groups like the Proud Boys, who seek

15     conflict and seek to street-fight, we don't.            We simply

16     deter.   We don't yell and scream and call them names.

17     They'll throw things at us like firecrackers.            If it's not

18     going to actually hurt us, we just stand our ground and stay

19     quiet.   We don't respond back when they yell at us.             We

20     teach our guys to be quiet professionals.

21                In D.C., we did nine security operations prior to

22     January 6th, all of them without any incidents, all of them

23     without a hitch.       And at all of them, we give our guys the

24     option of wearing body armor and helmets because Antifa will

25     throw bricks and frozen water bottles.          We tell them to wear
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 100 of 151

                                                                                100

1      goggles because Antifa will throw bleach and urine and other

2      substances that you don't want in your eyes.

3                  And, of course, they wear body armor because

4      Antifa stabs people.      They just stabbed people in

5      Washington, D.C., in December when we were there.             So the

6      garb they were wearing that day was to protect them during a

7      security mission against Antifa, the same exact garb we wore

8      across the country.

9                  On J6, just to clarify for everyone, the public

10     included, as my lawyers have already said, I did not go

11     inside, nor did I instruct anybody else to.            I stood

12     outside, used my First Amendment protected right to free

13     speech.

14                 I had just spoken at 11:00 a.m. on January the 6th

15     on the stage at the Latino's for Trump rally about a block

16     north in Area 7, next to the Senate buildings in what's

17     known as Lower Senate Park.       I had given a speech there, and

18     Oath Keepers provided security for that event.            And that

19     security team, the guys from South Carolina stayed there the

20     entire day.

21                 When I was standing in the northeast corner of the

22     Capitol, I was there because Area 8 is also in the northeast

23     section of the lawn of the Capitol, and that's where the

24     next event was going to be for Ali Alexander.

25                 And so just to reply to the Court's comment that
     Case 1:22-cr-00015-APM    Document 817   Filed 02/27/24   Page 101 of 151

                                                                                 101

1      it didn't make sense for me to bring them there, well, they

2      were already going to be going there.           Kelly Meggs' team was

3      transporting people from The Ellipse, escorting them to the

4      Capitol to attend and speak at Ali Alexander's next event in

5      Area 8.

6                  And my concern was, as we couldn't reach him and

7      we couldn't -- I couldn't reach him, and Mr. Greene could

8      reach him.    Our concern was that they would get caught up in

9      the turmoil outside the Capitol.         That's why I was trying to

10     intercept them, trying to stand in between where they were

11     going to be going and where they were coming from along the

12     walkways and trying to find them, because I wanted to make

13     sure that they didn't get caught up.

14                 And that's why I said, in our chats, posted in our

15     chats for myself and Mr. Greene, "If anyone is not on duty,

16     please come to us.        Come where we are."

17                 I didn't want anyone who's not still on task to

18     get caught up, and I was concerned about Mr. Meggs' team

19     because I could not reach them.

20                 As has been stated already in the evidence, when

21     they finally did come to me -- they'd came to me and

22     Mr. Greene.    He was with me at that time -- they said they

23     had gone inside.        And I said, "That was stupid."

24                 Mr. Greene was actually in charge of assigning the

25     teams that day.        Yes, I'm the leader ultimately.        But I put
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 102 of 151

                                                                                  102

1      an operations leader who -- I always put officers in charge,

2      police officers.       Mr. Greene was not only a military

3      veteran; he was also a former police officer.

4                  I always put police officers in leadership.            I

5      never take personal leadership unless I have no choice if I

6      don't have an officer.       So before Mr. Greene, it was going

7      to be Don.    Then Don got sick and Mr. Greene took over.              But

8      Don was also a retired police officer.          So that is how I

9      operate.

10                 And I also operate what they call the leadership

11     by exception where I put good men in charge.            I trust them

12     to do the right thing.       If I see a problem, I step in.

13                 On J6, I did see a problem.        I saw basically a

14     riot happening outside of the Capitol on the west side.                I

15     saw some of the photos and videos in our chats.            I couldn't

16     see over the edge to see what was really going on when I was

17     on the top tier, but I knew there was fighting going on

18     between Trump supporters and the police, and I didn't want

19     our guys to be part of it.

20                 So that was my concern and why I stepped in and

21     said, "Come to me."       And I had Mr. Greene come to me.

22     I wanted him to be with me so that him and us together could

23     do the best we could to keep them from -- any of our guys

24     from getting caught up in that.

25                 Because we knew multiple teams were headed that
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24     Page 103 of 151

                                                                                  103

1      way.   Josh James' team was the PSD for Roger Stone.              And

2      they were supposed to be bringing Roger Stone, who was

3      keynote speaker for that event in Area 8.              I also did not

4      want them to get caught up in that.         Unfortunately, they

5      went ahead and got caught up in it.

6                  That's the backdrop.      I just want to make it very

7      clear to the public that no Oath Keeper, despite all of

8      that, no Oath Keeper took part in any of the fighting.                No

9      Oath Keeper -- consistent with our behavior across the

10     country, no Oath Keeper punched anyone on J6; kicked anyone,

11     and least of all, a police officer; threw anything at them;

12     pepper-sprayed them; hit them with a stun gun, flagpole,

13     baseball bat.     None of that was done by any Oath Keeper at

14     all.   That was all done by other people who were not Oath

15     Keepers.

16                 The worst thing an Oath Keeper did on that day was

17     Jessica Watkins, her own testimony, admitted that she had

18     pushed in the hallway, in the Senate hallway, when she was

19     taking command of her own little militia and doing her own

20     thing.

21                 And the other one was Josh James, who lost his

22     military bearing, lost his temper, and pushed -- or pulled

23     on a police officer after someone had shoved him into the

24     police officer and then yelled.        I don't make any excuses

25     for that.    But even there, he did not strike the officer or
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24    Page 104 of 151

                                                                                 104

1      body-slam him or anything else.        There was no injury

2      whatsoever to that officer.

3                  So while I'm very sympathetic to the testimony

4      yesterday, heart-rending testimony of all the officers who

5      experienced violence that day and still bear the scars from

6      it, emotionally and physical, man, I've got a lot of cops in

7      my organization.       We have a lot of police.        Probably about

8      30 percent of our organization is police officers.              But none

9      of those were caused by any Oath Keepers.

10                 So it was bizarre to hear all of that as though we

11     were in someone else's trial and someone else's sentencing

12     that have all of that attributed to me and my brothers and

13     sisters.    I find it offensive, frankly.

14                 This has been a surreal experience.           I feel like

15     I'm the lead character in a Kafka's "The Trial."              I feel

16     like that it was a preordained guilt from day one way back

17     on February 16th when Bennie Thompson, the Congressman,

18     filed a lawsuit alleging a conspiracy between Trump,

19     Giuliani, Oath Keepers, and Proud Boys, and filed it in the

20     Court; accused us of being white supremacists, which is

21     completely ridiculous.       My vice president was black.          I'm

22     part Mexican.     Again, incredibly offensive.         I should sue

23     him for defamation.

24                 But he hired the NAACP.      The argument was that the

25     Oath Keepers and President Trump and the Proud Boys all
     Case 1:22-cr-00015-APM   Document 817     Filed 02/27/24   Page 105 of 151

                                                                                  105

1      conspired together to disenfranchise black voters.               By

2      challenging the elections and by attacking the

3      certification, they were disenfranchising black voters, and

4      that violated the KKK Act.      Of course, it's all meant to

5      smear the MAGA movement as being somehow racist and trying

6      to tie them to the KKK, which was a Democratic -- founded by

7      the Democratic party -- organization.            From day one, that

8      has been the narrative and that has been the script and that

9      has been the agenda set by the media.

10                 The media first focused on Oath Keepers because

11     what is the difference between the behavior of Kelly Meggs

12     and the other Oath Keepers who just wandered into the

13     Capitol, wandered around, took selfies, wandered back out,

14     and all the other thousands of people that also did the same

15     exact same thing?      Why were they found guilty of trespass,

16     misdemeanor trespass, or parading?           But they did nothing

17     different than the Oath Keepers.          The difference was they

18     weren't Oath Keepers.      So it's really about it's the

19     Oath Keepers.     The New York Times featured them, "Oh, look

20     at this row of Oath Keepers.          The Oath Keepers led the

21     assault."

22                 And then, of course, the Proud Boys, the

23     Oath Keepers and the Proud Boys, the two groups that the

24     left hates the most on the political right, in large part

25     because we stopped their violence in the streets.               And we
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 106 of 151

                                                                                106

1      did it very peacefully and effectively, and they don't like

2      that.

3                  So they have had a target on our backs for the

4      entire time that this organization existed and have

5      demonized us at every turn and taken out of context and

6      smeared us about everything we do.

7                  THE COURT:    Mr. Rhodes, if I could interrupt you.

8                  THE DEFENDANT:    Yes, sir.

9                  THE COURT:    It's been about 20 minutes, so I'm

10     going to ask you to wrap up shortly.

11                 THE DEFENDANT:    Got it.    Thank you.      Yes, Your

12     Honor.

13                 So what I want to say, though, Ms. Rakoczy talked

14     about this phone call the other night.          And this is a really

15     good example of both what the prosecution has done

16     throughout this case and what the media has done, what

17     Congress has done, it's the same kind of narrative.

18                 She quotes me as saying, "It won't stop until it's

19     stopped.    It's going to take regime change."          And she stops

20     right there.    She leaves out that the next thing I say is,

21     "I hope Trump wins in 2024.       That would be regime change."

22     That's what I was talking about.        This is a good example of

23     what they do to manipulate what we say and take it out of

24     context.

25                 I always focused on what President Trump could do
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 107 of 151

                                                                                107

1      as a President, to invoke the Insurrection Act.            And the

2      main thing I talked about doing, which no one mentions at

3      all here, is to do a mass declassification and data dump to

4      expose criminality in our government.          Put sunlight on it.

5      That's the best thing you can do peacefully to have remedy

6      and to fix things.      I believe this country is incredibly

7      divided.    And this prosecution, not just of me, but all the

8      J6ers, is making it even worse.

9                  I have considered every J6er a political prisoner

10     because all of them are being grossly overcharged.             And it's

11     not going to help.      It's not going to deter people.         It's

12     going to make people feel that this government is even more

13     illegitimate than they believed before.

14                 And one last thing I'm going to say is that my

15     focus was on the Constitution, on Article II, and I'm not

16     the only one.     Texas sued Pennsylvania on this issue.

17     Unfortunately, the Supreme Court did not hear the case when

18     they should have on their own original jurisdiction.

19                 20 other states joined in, arguing that because it

20     was not the legislature that had changed the rules for

21     COVID, but it was, in fact, Executive Branch election

22     officials or its state judges, that that violated

23     Article II, which leaves it to "each state shall appoint, in

24     such manner as the legislature thereof may direct, a number

25     of electors."
     Case 1:22-cr-00015-APM   Document 817    Filed 02/27/24   Page 108 of 151

                                                                                 108

1                  It's up the state legislature.          That's what makes

2      it unconstitutional.      It's not simply a conspiracy theory or

3      a false narrative about fraud.        It's about the Constitution

4      itself.    And the Constitution says what it says.            It means

5      what it says.

6                  I'm not going to be able to drop that.            Under my

7      oath, I cannot ignore the text of the Constitution.              And you

8      have created -- not you, Your Honor, but they have created a

9      constitutional crisis that continues on.            Unless that is

10     addressed and is reconciled, this division is not going to

11     stop.

12                 And characterizing all Trump supporters as

13     terrorists and racists and fools and they have been led down

14     the criminal's path by Trump and they're somehow fools does

15     not help either.

16                 I want to say in closing that however long I spend

17     in prison, my goal will to be an American Solzhenitsyn to

18     expose the criminality of this regime.

19                 Thank you, sir.

20                 THE COURT:    All right.     Mr. Rhodes, thank you for

21     your statement.

22                 We will take a break.       Give me a few minutes.

23     I'll be right back.      Thank you, everyone.

24                 COURTROOM DEPUTY:     All rise.

25                 This Court stands in recess.
     Case 1:22-cr-00015-APM   Document 817    Filed 02/27/24   Page 109 of 151

                                                                                 109

1                  (Recess from 12:23 p.m. to 12:36 p.m.)

2                  COURTROOM DEPUTY:     All rise.      This Honorable Court

3      is again in session.

4                  THE COURT:    Thank you.

5                  COURTROOM DEPUTY:     And please be seated, everyone,

6      and come to order.

7                  THE COURT:    Okay, everyone.

8                  So let me just restate what the Guidelines are.

9      They are 262 to 327 months, based upon my calculation.

10                 In addition to the Guidelines, I must consider all

11     the factors that are set forth in 18 United States

12     Code 3553(a) and impose a sentence that is sufficient but

13     not greater than necessary to achieve the objectives of

14     sentencing set forth in the statute.

15                 The factors I must consider are the nature and

16     circumstances of the offense and the history and

17     characteristics of the defendant, the need for the sentence

18     imposed to reflect the seriousness of the offense, to

19     promote respect for the law, and to provide just punishment

20     for the offense, afford adequate deterrence, to protect the

21     public, and to provide the defendant with any need

22     educational or vocational training or medical care.              I also

23     should consider unwarranted disparities.

24                 I'm going to take this in a slightly different

25     order than is set forth in the statute.
     Case 1:22-cr-00015-APM   Document 817     Filed 02/27/24   Page 110 of 151

                                                                                  110

1                  Just beginning with disparities, the defense has

2      rightly brought forward a compilation and summary of other

3      sentences that have been issued in January 6th cases, the

4      most serious of which was 14-plus years, and the next most

5      serious, which was ten years.          Both of those cases involved

6      assaultive conduct of quite a serious level, particularly

7      directed at police officers.          I've certainly taken that into

8      account.    I will say that I don't find -- and I'll explain

9      in a moment why -- those cases to be useful comparators,

10     because none of those defendants were convicted of

11     conspiracy, let alone seditious conspiracy.

12                 I have, however, considered two things, and the

13     sentence will reflect it, in connection with avoiding

14     unwarranted disparities.      One is the sedition sentences in

15     other cases that you have pointed out, Mr. Linder, and the

16     facts and circumstances of those cases.

17                 In particular, as you have pointed out and I have

18     thought about, the seditious conspiracy in these other cases

19     involved, some of them, the actual targeting and killing of

20     Americans or the traveling to foreign lands to combat

21     American soldiers.      This is not that.

22                 I've also considered, and will be considering, the

23     need for proportionality with respect to the other members

24     of this conspiracy and thinking about how Mr. Rhodes fits in

25     and what his sentence means for others.
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 111 of 151

                                                                                111

1                  The need for the sentence imposed to reflect the

2      seriousness of the offense and to promote respect for the

3      law and to provide just punishment, I think, in some sense,

4      those are factors that speak for themselves in light of what

5      the nature and circumstances of the offense are.

6                  Mr. Rhodes, you were convicted of seditious

7      conspiracy.    You are a lawyer.      You understand what that

8      means.   But for those who are not, let me provide the

9      following background.

10                 It is true that neither Mr. Rhodes nor any of one

11     of his conspirators used a weapon against a police officer,

12     maimed a police officer that day, and there were those who

13     did worse in terms of physical assaults.

14                 Here's what the Supreme Court said in 1961 in a

15     case called Callanan, C-a-l-l-a-n-a-n, versus United States,

16     364 U.S. 587:

17                 "Collective criminal agreement, partnership in

18     crime presents a greater potential threat to the public than

19     individual dealings.      Concerted action both increases the

20     likelihood that the criminal object will be successfully

21     attained and decreases the probability that the individuals

22     involved will depart from their path of criminality.

23                 "Group association for criminal purposes, often,

24     if not normally, makes possible the attainment of ends more

25     complex than those which one criminal could accomplish, nor
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 112 of 151

                                                                                112

1      is the danger of a conspiratorial group limited to the

2      particular end toward which it has embarked.            Combination in

3      crime makes more likely the commission of crimes unrelated

4      to the original purpose for which the group was formed.              In

5      sum, the danger which a conspiracy generates is not confined

6      to the substantive offense, which is the immediate aim of

7      the enterprise."

8                  So the notion that this is -- Mr. Rhodes is not

9      engaged in, he didn't go in the building, the police

10     officers weren't harmed quite in the same way as others by

11     his people -- all true.      All true, but not one wit

12     diminishes the seriousness of the offense.

13                 Seditious conspiracy, this is what I wrote:

14                 "At the start of the Civil War, the national

15     government had limited authority under the federal criminal

16     law to detain and punish those who supported the rebellion.

17     The charge of treason, which carried the death penalty, was

18     the primary tool available, but the Constitution defined

19     that offense strictly, and judicial opinions imposed

20     rigorous elements of proof.

21                 "As part of the effort to meet the emergency war

22     posed, Congress enacted statutes to define crimes less than

23     treason.    Congressmen believed these measures were necessary

24     since no statute law on the subject existed and common law

25     was not applicable."
     Case 1:22-cr-00015-APM    Document 817   Filed 02/27/24     Page 113 of 151

                                                                                   113

1                  A seditious conspiracy, when you take those two

2      concepts and put them together, is among the most serious

3      crimes an individual American can commit.               It is an offense

4      against the government to use force.          It is an offense

5      against the people of the country.

6                  It's not an offense, in this case, or any other,

7      frankly, that involves sedition that's confined to one day,

8      the actions of one day, one statement you made, how you

9      might have reacted, or what you didn't do.              It's a series of

10     acts in which you and others committed to use force,

11     including potentially with weapons, against the government

12     of the United States as it transitioned from one President

13     to the other.

14                 And what was the motive?        You didn't like the new

15     guy.   I get it.       You didn't like the new guy.

16                 Let me be clear about one thing to you,

17     Mr. Rhodes, and anybody else that's listening:               In this

18     country, we don't paint with a broad brush, and shame on you

19     if you do.    Just because somebody supported the former

20     President doesn't mean they're a white nationalist, doesn't

21     mean they are a right-wing extremist.           They voted for the

22     other guy.

23                 We can have civic disagreements about relative

24     merits of policies.        We can have discussions about who is

25     the better leader in a particular point in time.                But what
     Case 1:22-cr-00015-APM    Document 817   Filed 02/27/24     Page 114 of 151

                                                                                   114

1      we cannot have, we absolutely cannot have, is a group of

2      citizens who, because they didn't like the outcome of the

3      election and because they think the law was not applied and

4      carried out in the way they believe it should be, who are

5      then prepared to take up arms in order to foment a

6      revolution.    That's what you did.       Those aren't my words.

7      Those are yours.        Those are your actions.         Those are the

8      actions of your conspirators.

9                  You are not a political prisoner, Mr. Rhodes.               You

10     are here for that conduct.        Not because of your beliefs, not

11     because you supported the other guy, and not because

12     Joe Biden is President right now.

13                 That is not why you're sitting here.             That is not

14     why you stand convicted.        You stand convicted because 12

15     jurors in the District of Columbia, who you have said

16     couldn't be fair and impartial, who acquitted you of

17     multiple counts, found you -- convicted you of sedition.

18     That was a jury of your peers, make no mistake about it.

19                 There are, in my mind, two enduring legacies of

20     January 6th.    There is the effect it has had on our

21     democracy and our politics and our elections.               I daresay we

22     all now hold our collective breaths every time an election

23     is approaching.        Will we have another January 6th again?

24     That remains to be seen.

25                 The other enduring legacy that day is what we saw
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24     Page 115 of 151

                                                                                  115

1      on display yesterday.      It is the heroism of police officers

2      and people who were working on Capitol Hill that day to not

3      only protect themselves, to protect members of Congress, but

4      to protect the democracy as we know it.          That's what they

5      were doing.    They laid their bodies on the line.

6                  We talk about keeping oaths.        There's nobody

7      better emblematic of keeping their oaths than those police

8      officers, Mr. Rhodes.      Their heroism, their stamina, their

9      courage, but for their acts, could have been a far uglier

10     day than already one that is the blackest or one of the

11     blackest days in the history of this country.              And people

12     should not forget that.

13                 Let me turn to the history and characteristics of

14     the defendant, and that will bleed into a discussion about

15     general deterrence and specific deterrence.

16                 Mr. Rhodes is now 58 years old.            Challenging

17     childhood, to say the least, itinerant growing up.               He was

18     married for 23 years but now divorced, has six children,

19     some adults, some young.

20                 He's an educated and accomplished man.             Graduated

21     summa cum laude from UNLV.

22                 In between college and undergraduate and law

23     school, enrolled in the military to serve our country.

24     Completed an airborne school, was dishonorably [sic]

25     discharged due to an injury.
     Case 1:22-cr-00015-APM    Document 817   Filed 02/27/24   Page 116 of 151

                                                                                 116

1                  Attended Yale Law School and earned a J.D. in

2      2004.   Clerked for the Arizona Supreme Court and worked as a

3      criminal defense lawyer from 2005 to 2014 and then founded

4      the Oath Keepers in 2009.

5                  The defense rightly emphasizes some of these

6      positive attributes.        His military service, obviously, is a

7      positive attribute.        His education, his accomplishments, a

8      positive attribute.        The founding of the Oath Keepers, it's

9      been argued it shouldn't be considered an organization

10     that's a white nationalist or racist.           I don't.    I've heard

11     the evidence.     I've seen the people that have come in this

12     courtroom.    I don't ascribe any of those pejorative terms to

13     you or your people.

14                 It is true and documented and people should

15     understand that the Oath Keepers have been civic-minded in

16     some instances.        They have helped after hurricanes.        They

17     have helped to protect people.         They've done all that.        None

18     of that's in dispute, and none of that is to be questioned.

19                 It really is not my job, however, to pass judgment

20     on the Oath Keepers organization.         It is my job to pass

21     judgment on Stewart Rhodes, the founder of that

22     organization.     And, regrettably, Mr. Rhodes took many of the

23     positive attributes that I've just described and turned them

24     against his own government:        his education, his military

25     background, and his founding of the Oath Keepers,
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 117 of 151

                                                                                117

1      collectively turned them against the United States

2      Government.

3                  And there's been a history of this.          I don't need

4      to detail it.     But the Oath Keepers have more than once been

5      involved in potentially violent standoffs and using firearms

6      with the Federal Government, most notably in Bundy ranch.

7      I was assured by your speech that was given after that

8      event, just "You need to understand how close you" -- this

9      is referring to the law enforcement on the other side of

10     that engagement -- "was not going to be a Waco.            You trained

11     professionals against untrained women and children.             It was

12     going to be you against other well-trained American

13     fighters.    It was going to be sheep dog versus sheep dog

14     that day, blood bath that day."        That was back in, I think,

15     2015 you said that.

16                 For decades, Mr. Rhodes, it's clear that you have

17     wanted the democracy in this country to devolve into

18     violence, and you have thought that violence is an

19     acceptable means of accomplishing your goals, your ends,

20     putting your views and imposing them upon others, to

21     overcome the Democratic process.        It's reflected in your

22     personal life based upon what your wife has said about your

23     conduct toward her and your children.          It is a pattern.

24                 And I daresay, Mr. Rhodes -- and I have never said

25     this about anyone who I have sentenced -- you, sir, present
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 118 of 151

                                                                                118

1      an ongoing threat and a peril to this country and to the

2      Republic and the very fabric of our democracy.

3                  You're smart, you're charismatic, you are a

4      compelling figure, and, frankly, that's what makes you

5      dangerous.

6                  Dozens of people came to Washington, D.C., because

7      you called upon them to do so.        You asked them to bring

8      weapons.    You asked them to prepare themselves for war.            You

9      asked them to take on their government.

10                 Does anybody think for one moment that

11     Joseph Hackett would have come to Washington, D.C., with a

12     weapon and come to the conclusion that he might need to

13     fight in the streets?      Of course not.      That happens only

14     because of you, Mr. Rhodes.

15                 And in a sense, the irony is, everyone that you

16     conspired with, everyone that you called to Washington,

17     they, of course, bear responsibility for their own conduct.

18     Nobody is suggesting otherwise.        They too are victims,

19     victims of the lies, the propaganda, the rhetoric, and

20     ultimately, the intention that you conveyed and they

21     ultimately agreed to and shared.

22                 It would be one thing, Mr. Rhodes, if, after

23     January 6th, you had looked at what happened that day and

24     said, "You know, that wasn't such a positive development.

25     That was not a good day for our democracy."
     Case 1:22-cr-00015-APM    Document 817   Filed 02/27/24   Page 119 of 151

                                                                                 119

1                  But you celebrated it.       You thought it was a good

2      thing.   And you told Jason Alpers that.          You told

3      Jason Alpers in that recording days after January 6th that

4      your only regret was:        Should have brought the weapons.         And

5      if you had, you would have hung Nancy Pelosi from a

6      lamppost.    Doesn't sound like you were just there for a

7      security detail.

8                  Even as you have been incarcerated, you have

9      continued to allude to violence as an acceptable means to

10     address grievances, which continues to underscore the danger

11     you present.    You recently said in an interview, "2020

12     election was not just stolen but also grossly

13     unconstitutional.        So that was a coupe, so we had a

14     legitimate grievance on January 6th."

15                 Okay.

16                 "You're going to have to stop it, either through

17     finding some way of wrestling control of the executive

18     branch back into sane hands, but how do you do that?" you

19     asked.

20                 "The Founders' answer was that they had no way to

21     fix the system.        They had to separate themselves."        And then

22     perhaps in a moment of clarity and self-reflection, you

23     said, "At the risk of another charge, I'm going to leave it

24     at that."    Nothing has changed, Mr. Rhodes.           Nothing has

25     changed.
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 120 of 151

                                                                                120

1                  And the reality is, as you sit here today and

2      based on the words that we heard you speak, the moment you

3      are released, whenever that may be, you will be prepared to

4      take up arms against your government, because -- not because

5      you think you're an important person, not because you think

6      the wrong President is in office, because you think that is

7      an appropriate way to resolve conflict, and that is an

8      appropriate way to have redress against the government when

9      you think the law has not been applied the way you believe

10     it should be.

11                 And I'm not making this up.        This is what you've

12     said under oath.

13                 You were asked, "Because to you, Mr. Rhodes,

14     January 6th was just a battle in an ongoing war.

15                 "Right.

16                 "That's not correct."

17                 You were asked:    "From November 20th through

18     January 2021, you repeatedly stated that, 'We are finding

19     ourselves in a situation resembling that that the Founders

20     found themselves in 1775, correct?"

21                 "On the eve of conflict, not in conflict," you

22     answered.

23                 You then were asked:      "What does that mean, other

24     than we're about to enter into a war?"

25                 Your answer:    "Right, but in the future not
     Case 1:22-cr-00015-APM    Document 817    Filed 02/27/24     Page 121 of 151

                                                                                    121

1      currently.

2                  "Okay.

3                  "I mean," you answered, "they lingered on the eve

4      of conflict for quite a long time.

5                  "Question:     And you want to be part of" --

6      "You wanted to be part of that conflict, right?

7                  "Answer:     I hope to avoid that.           I never had to

8      ever take anyone's life in my entire life, fortunately.

9      I hope never to have to.

10                 "Question:     And you and the Oath Keepers were

11     prepared to take steps to alter or abolish this government

12     if it didn't comply with what you believed to be

13     constitutionally correct, right?

14                 "Answer:     We were prepared to take steps.            We were

15     prepared to walk the Founders' path, yes.

16                 "Like I said, I hope -- I still hope that conflict

17     can be avoided.        I really do.    When you have a government

18     that steps outside of the Constitution, it puts you in a bad

19     place."

20                 American democracy doesn't work, Mr. Rhodes, if

21     when you think the Constitution has not been complied with,

22     it puts you in a bad place, because from what I'm hearing,

23     when you find yourself in a bad place, the rest of us ought

24     to.   We are all then the objects of your plans to and your

25     willingness to engage in violence.           And we just cannot have
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24     Page 122 of 151

                                                                                  122

1      that in this country, and people need to understand that.

2                  For all those reasons, it is the judgment of the

3      Court that you, Mr. Rhodes, are hereby committed to the

4      custody of the Bureau of Prisons for concurrent terms of

5      216 months -- that is, 18 years -- each on Counts 1, 3,

6      and 7.

7                  You are further sentenced to serve 36 months of

8      supervised release as to Counts 1, 3, and 7, with such terms

9      to run concurrently.      In addition, you are ordered to pay a

10     special assessment of $100 per count, for a total of $300.

11                 While on supervision, you shall abide by the

12     following mandatory conditions, as well as all the

13     discretionary conditions recommended by the probation office

14     in part D of the sentencing options of the presentence

15     report, which are imposed to establish basic expectations

16     for your conduct while on supervision.

17                 The mandatory conditions include not committing

18     any other federal, state, or local crime.              You must not

19     unlawfully possess a controlled substance.             You must refrain

20     from unlawful use of a controlled substance.              You must

21     submit to one drug test within 15 days of placement on

22     supervision and at least two periodic drug tests thereafter

23     as determined by the Court.

24                 You must cooperate in the collection of DNA as

25     directed by the probation officer.         You must make
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 123 of 151

                                                                                123

1      restitution in accordance with 18 U.S.C. 3663(a) and the

2      orders of the Court that will be issued after judgment is

3      entered.

4                  The following special conditions will apply:

5                  You must not associate, communicate, or otherwise

6      interact with any known or unknown member of a terrorist

7      organization or any other known or unknown criminal

8      extremist group or individual.        This includes persons who

9      are or claim to be involved with violent acts or advocating

10     for acts of violence and any persons who are located outside

11     the United States without the approval of the probation

12     officer.

13                 If you inadvertently associate, communicate, or

14     otherwise interact with a known terrorist or extremist group

15     or individual, you must immediately report this to the

16     probation officer.

17                 You must seek the approval of the probation

18     officer if you wish to access, view, or use any online

19     social media.

20                 You must not download any social media apps to

21     your phone or computer.      You must not access social media on

22     any other device not approved by the probation office.

23     Social media includes social media sites, chats services,

24     blogs, instant messages, SMS, MMS, digital photos,

25     et cetera.
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 124 of 151

                                                                                124

1                  You must not access, view, or possess any

2      extremist media.       This includes material such as literature

3      photos, social media from groups or individuals who promote

4      the use of violence to further an ideological or religious

5      cause.    If you inadvertently access, view, or possess such

6      material, you must immediately report this to the probation

7      office.

8                  To ensure compliance with these conditions, I will

9      permit and allow the probation office to monitor your

10     computer.    You must allow the probation office to conduct

11     initial and periodic unannounced searches of any computers

12     subject to computer monitoring.

13                 You must allow the probation officer to install

14     computer-monitoring software on any computer.            This includes

15     desks, laptops, mobile devices, smart watches, et cetera.

16                 These searches shall be conducted to determine

17     whether the computer contains any prohibited data or to --

18     prior to installation of the monitoring software, whether

19     the monitoring software is functioning effectively after its

20     installation, and whether there have been attempts to

21     circumvent the monitoring software after its installation.

22                 You must warn any other people who use these

23     computers that their computers may be subject to searches

24     pursuant to the condition.       The probation officer may

25     conduct a search pursuant to this condition only when
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 125 of 151

                                                                                125

1      reasonable suspicion exists that there is a violation of a

2      condition of supervision, that the computer or device

3      contains evidence of this violation.         Any search will be

4      conducted at a reasonable time and in a reasonable manner.

5                  You must not use any devices -- excuse me.

6                  You must not use any services designed to encrypt,

7      disguise, mask, or anonymize your online activities, such as

8      Tor, I2P, Freenet, and others.        You also shall not use any

9      online gaming services or systems, including mobile device

10     applications.

11                 You shall not use any telecommunications

12     applications, software products, such as Skype, Discord,

13     TeamSpeak, et cetera, that specialize in providing chat and

14     voice calls between computers, tablets, and mobile devices,

15     absent authorization from the probation office.

16                 You must provide the probation officer access to

17     any requested financial information and authorize the

18     release of that financial information.          The probation office

19     may share that with the United States Attorney's Office.

20                 I will authorize that supervision of this matter

21     be transferred to the district of residence; however, I will

22     retain jurisdiction over this matter as I expect to still be

23     here.

24                 The restitution payments shall be made to the

25     Clerk of the Court, and the Court will enter an order for
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 126 of 151

                                                                                126

1      that purpose.     They shall be made to the Architect of the

2      Capitol.    The financial obligations to the Court -- that is,

3      the $300 -- are immediately payable to Clerk of the Court

4      for the U.S. District Court here in Washington, D.C.              Within

5      30 days of any change of address, you shall notify the Clerk

6      of the Court of such change until such time as the financial

7      obligation is paid in full.

8                  The probation office may release the Presentence

9      Investigation Report to all appropriate agencies, which

10     includes the probation office in the approved district of

11     residence in order to execute the sentence.

12                 The treatment agency shall return the presentence

13     report to Probation upon the defendant's completion or

14     termination from treatment.

15                 You do have the right to appeal your conviction,

16     as well as the sentence that's been imposed, Mr. Rhodes.

17     You shall file any notice of appeal within 14 days after the

18     Court enters judgment.      If you're unable to afford the cost

19     of an appeal, you may request permission from the Court to

20     file an appeal without cost to you.         On appeal, you may

21     apply for court-appointed counsel.

22                 You also have the right to challenge your

23     conviction pursuant to 28 U.S.C. 2255 where you can

24     challenge the conviction that's been entered or the sentence

25     imposed subject to the conditions, including time
     Case 1:22-cr-00015-APM   Document 817   Filed 02/27/24   Page 127 of 151

                                                                                127

1      limitations that the statute provides.

2                  So that will be the sentence of the Court.

3                  Are there any objections or anything else anybody

4      would like to raise before we adjourn?

5                  MR. LINDER:    No, sir.

6                  MS. RAKOCZY:    No, Your Honor.      Thank you.

7                  THE COURT:    Thank you, all, very much.

8                  Mr. Rhodes, good luck to you.

9                  COURTROOM DEPUTY:     All rise.

10                 The Court stands in recess.

11                 (Proceedings concluded at 1:05 p.m.)

12

13

14

15

16

17

18

19

20

21

22

23

24

25
Case 1:22-cr-00015-APM   Document 817     Filed 02/27/24   Page 128 of 151




                         C E R T I F I C A T E
                    I, William P. Zaremba, RMR, CRR, certify that
  the foregoing is a correct transcript from the record of
  proceedings in the above-titled matter.




  Date:__May 31, 2023_________ ____________________________
                                        William P. Zaremba, RMR, CRR
                                                                                                                        129

    Case 1:22-cr-00015-APM        Document
                   1202.5 [1] 17/13        817
                                       83/21       Filed 02/27/24
                                             88/22 94/1               Page 129 of18/11
                                                            570 [1] 13/15         151 19/21 21/4 21/6
                        12:23 [1] 109/1            25-year [3] 90/10 90/11 572 U.S. 434 [1] 4/20     21/18 22/6 25/14 27/4
 COURTROOM
                        12:36 [1] 109/1             93/20                   573 [1] 27/11            28/21 30/9 32/4 32/10
 DEPUTY: [7] 3/2 63/14
                        12th [2] 49/20 77/8        252-7277 [1] 1/18        574 [1] 27/11            32/12 33/4 33/14 35/16
 63/17 108/24 109/2
                        132 [3] 55/12 55/14        252-9900 [1] 2/5         58 [1] 115/16            37/23 38/22 39/14
 109/5 127/9
                         56/14                     262 [2] 83/14 109/9      587 [1] 111/16           39/18 40/15 40/17
 MR. BRIGHT: [14]
                        133 [4]   35/10 55/12      28 [1]  30/16            5H1.11   [1]  81/3       41/24 42/17 43/25
 12/8 13/25 14/9 41/2
                         56/16 57/16               28 U.S.C.   2255  [1]    5K2.0   [1]  82/4        46/19 48/7 48/25 50/2
 41/5 41/21 42/2 45/10
                        134 [1]   4/20              126/23                                           51/18 51/21 52/9 53/7
 45/12 47/11 48/2 58/13                                                     6
                        135 [3]   55/12 57/18      28th [1]   46/13                                  54/16 54/22 55/1 56/4
 60/13 96/10
                         57/20                     29 [3]  15/12 24/14 64/7 60 [3] 92/9 92/20 95/15 61/22 61/24 64/16
 MR. LINDER: [6] 52/3
                        13th [1] 15/17             29th [1] 17/6            60-month [1] 95/16       64/21 65/9 67/13 69/10
 52/6 53/4 55/20 89/1
                        14 [4]  25/3 82/25 92/12 2:24 p.m [1] 19/4          601 [1] 1/17             73/3 73/4 74/23 76/2
 127/5
                         126/17                    2:41 p.m [1] 19/4        67 [2] 40/7 80/4         77/15 80/23 81/12
 MR. TARPLEY: [2]
                        14-plus   [1]   110/4      2J1.2  [5]  3/24 25/12   6701 [2] 16/12 32/3      81/16 85/11 85/23
 60/18 60/21
                        1460 [1] 2/12               82/12 82/21 82/25       6749 [1] 17/11           88/15 89/2 89/19 90/2
 MS. RAKOCZY: [13]
                        14th  [3]  16/7 49/20      2X5.1  [1]  82/8         6803.2 [1] 16/13         90/4 93/5 93/17 94/4
 12/6 14/2 22/8 25/16
                         77/7                                               6923 [1] 33/7            94/8 94/12 94/14 98/19
 28/4 28/12 34/13 34/18                            3
                        15 [3]  63/12 93/21                                 6th [42] 10/14 10/15     100/15 101/18 104/7
 35/10 37/17 40/24
                         122/21                    30 [10] 19/16 26/20       17/12 18/19 20/19 21/5 105/18 106/6 106/9
 83/19 127/6
                        1512 [2] 67/17 76/25        53/7 53/7 53/9 53/24     24/12 26/22 28/9 28/22 106/14 106/22 107/2
 THE COURT: [38]                                    68/24 84/21 91/19        36/12 36/19 39/12
                        16th  [1]  104/17                                                            108/3 108/3 110/18
 3/14 12/9 14/4 14/13
                        17 [2]  92/9 92/20          91/20                    39/17 51/4 60/23 66/9 110/24 113/16 113/23
 25/15 27/17 28/11 34/8
                                    120/20         30 days [1] 126/5         66/13 68/9 70/6 71/13 113/24 114/18 115/6
 35/8 37/15 40/23 40/25 1775 [1]
                        18 [2]  93/22 122/5        30 percent [1] 104/8      72/23 76/13 77/9 80/24 115/14 117/22 117/25
 41/4 41/19 41/22 45/9
                        18 U.S.C    [1]  123/1     31 [1] 128/7              81/19 84/8 84/10 87/8 120/24
 45/11 46/23 47/12 52/1
                        18 United     States  [1]  318 [1] 2/12              88/18 89/25 90/15      above [1] 128/4
 52/5 53/2 55/18 58/12
                         109/11                    3249 [1] 2/18             91/13 99/22 100/14     above-titled [1] 128/4
 60/12 60/16 60/20
                        183-page     [1]  44/1     327 [2] 83/14 109/9       110/3 114/20 114/23    absence [1] 69/21
 63/11 63/19 88/24 96/9
                        1961  [1]   111/14         3300 [2] 2/3 2/7          118/23 119/3 119/14    absent [1] 125/15
 96/17 106/7 106/9
                        1996 [1] 81/8              333 [1] 2/17              120/14                 absolute [1] 63/4
 108/20 109/4 109/7
                        19th [3] 51/2 56/24        354-3249 [1] 2/18                                absolutely [2] 61/19
 127/7
                         76/14                     3553 [8] 38/17 38/20     7                        114/1
 THE DEFENDANT: [4]                                 38/23 60/3 60/8 60/11 700 [2] 2/4 2/8
                        1:05 [1] 127/11                                                             absolve [2] 6/3 6/11
 34/16 96/18 106/8                                                          71301 [1] 2/11
                        1B1.3 [3] 22/15 22/19 93/22 109/12                                          absolved [1] 7/17
 106/11                                                                     720-7777 [1] 2/9
                         23/1                      36 [2] 92/13 122/7                               abundance [1] 45/19
$                                                  364 U.S. 587 [1]         7277 [1] 1/18           abundantly [1] 68/12
                        2                           111/16                  75219 [2] 2/4 2/8       accept [2] 21/4 48/20
$100 [1] 122/10
                        2-point   [1]  56/16       3663  [1]  123/1         7777 [1] 2/9            acceptable [2] 117/19
$2 [1] 10/22
                        20 [4] 26/22 68/24         373 [1] 35/7             78 [1] 26/1              119/9
$2 million-plus [1]
                         106/9 107/19              39 [1] 83/13             79 [1] 94/13            acceptance [3] 80/15
 10/22
                        20-something [1]           3A1.4 [2] 38/6 78/5                               80/19 81/1
$2,000 [1] 11/13
                         26/24                     3B1.1  [3]  8/21 33/17   8                       access  [7] 57/3 75/2
$300 [2] 122/10 126/3                                                       8 years [1] 95/21
                        20-year   [1]  95/9         33/18                                            123/18 123/21 124/1
$500,000 [1] 83/15                                                          81 [2] 81/8 94/13
                        20001 [1] 2/17             3E1.1 [1] 80/15                                   124/5 125/16
'                       2004 [3] 9/5 35/11         3rd [1] 36/12            819 [1] 2/11            accomplish [2] 74/4
                         116/2                                              864 F.3d 573 [1] 27/11 111/25
'21 [1] 32/5                                       4
                        2005 [1] 116/3                                      87 [1] 92/18            accomplished [2] 59/5
'That [1] 71/23
                        2009  [1]   116/4          4 years  [1]  95/21                               115/20
'We [1] 120/18
                        2014  [2]   4/21  116/3    40 [2]  11/12 11/14      9
'We're [1] 71/2                                                                                     accomplishing   [1]
           72/16        2014  case    [1]  8/19    40,000 [2] 53/9 91/19 90 [4] 11/20 11/25          117/19
'Well [1]                                                                    92/16 92/17
                        2015 [1] 117/15            434 [1] 4/20                                     accomplishments [1]
'Yes.' [1] 15/24                                                            99.5  [1] 48/25
                        202 [2] 1/18 2/18          4409 [1] 71/21                                    116/7
1                       2020 [6] 16/7 17/6         450 [1] 92/7             9900 [1] 2/5            accordance [1] 123/1
10 [1] 80/6              64/25 85/23 88/6          450-some-odd [1] 92/8 9:39 [1] 1/6               according [3] 18/1
                         119/11                    47 [1] 30/9              9th [1] 92/6             44/9 80/5
10,000 [1] 52/14
                        2021  [1]   120/18         48 [1]  67/2                                     account  [1] 110/8
100 [1] 72/8
                                                   487-1460 [1] 2/12
                                                                            A
10th [2] 17/12 39/12    2023 [2] 1/5 128/7                                                          accurate [1] 44/6
                        2024 [2] 88/7 106/21       4K2.0 [1] 81/20          a.m [4] 1/6 63/16 63/16 accurately [1] 47/2
11:00 a.m [1] 100/14                                                         100/14
11:01 a.m [1] 63/16     20579 [1] 1/17                                                              accused [1] 104/20
                        20th  [2]  62/5   120/17   5                        abetted   [1] 22/17     achieve [3] 36/5 86/13
11:15 [1] 63/13                                                             abide [1] 122/11
                        21-CR-28 [1] 30/16         5,000 [1] 51/21                                   109/13
11:19 a.m [1] 63/16                                                         abided [1] 77/12
                                                   50,000 [1] 83/15
12 [4] 37/18 38/3 38/24 214 [2] 2/5 2/9                                     ability [2] 60/7 77/23
                                                                                                    acknowledge [2] 39/1
 114/14                 216 months [1] 122/5 518 U.S. 81 [1] 81/8                                    39/2
                        22-15-1   [2]  1/4  3/3    537 [1]   13/16          able [2] 9/16 108/6     acknowledged    [1]
12 minutes [1]   56/8                                                       abolish [1] 121/11
                        2255 [1] 126/23            548 [1] 13/12                                     61/7
12 years [1] 95/22                                                          about [97] 3/22 3/25
                        23 [1] 115/18              549 [1] 13/12                                    acknowledging [2]
12-level [1] 38/17                                                           6/13 7/21 8/6 11/16
                        25 [6]  1/5   38/23  40/18 57 [1]  80/3                                      26/2 37/21
120 [1] 92/15                                                                11/17 14/17 16/16
                                                                                                                                 130


A Case 1:22-cr-00015-APM
                 adds [1] 15/25 Document 817
                                     88/10       Filed
                                           92/5 94/17   02/27/24
                                                      100/7          Page
                                                            105/14 107/3    130 of117/12
                                                                         107/7     151 121/20
                        adequate [1] 109/20           111/11 113/4 113/5         107/10 108/12 108/20 Americans [5] 59/8
acquaintance [1]
                        adequately [2] 81/21          113/11 116/24 117/1        108/24 109/2 109/10         84/10 90/13 94/22
 53/17
                         81/23                        117/11 117/12 120/4        112/11 112/11 114/22 110/20
acquitted [2] 11/6
                        adhere [1] 47/14              120/8                      116/17 121/24 122/2        AMIT [2] 1/9 63/18
 114/16
                        adjourn [1] 127/4            agencies [5] 27/13          122/12 126/9 127/7         among [1] 113/2
across [16] 22/11
                        adjourned     [2]   75/18     27/15 28/7 28/17 126/9 127/9                          amount [1] 29/2
 26/24 27/4 31/12 39/6
                         75/19                       agency     [1]  126/12     All right  [3]   12/9 37/13 amounted [1] 27/14
 78/24 84/22 85/12
                                               26/16 agenda [1] 105/9            108/20                     amounts [1] 28/16
 85/12 86/1 88/16 97/24 adjudicatory [1]
                        adjustment      [6]   33/17 Agent [1] 28/19             allege  [1]   56/21         ample [2] 21/24 66/23
 98/8 99/11 100/8 103/9
                         34/3 39/21 41/13 46/19 aggressive [2] 50/5             alleged   [2]  54/2 55/2 amplify [1] 61/17
act [16] 15/22 16/9
                         50/8                         50/16                     allegedly [1] 94/17         analogue [1] 82/9
 16/21 16/22 17/3 53/12
                        adjustments       [3]  22/12 aghast [1] 62/25           alleging   [1]   104/18     analogy [1] 40/13
 57/25 61/1 61/10 62/4
                         23/16 24/2                  ago   [3]  88/3 88/14      allocution    [1]   41/25   analysis [8] 4/1 4/22
 62/5 63/6 66/11 85/18
                        administration       [15]     92/12                     allocutions     [2]  13/3    4/24 5/8 5/10 5/18 8/13
 105/4 107/1
                         25/18 26/11 26/12           agree   [4]  14/21 17/18 83/17                          10/7
Act's [2] 18/8 18/9
                         55/16 56/12 65/24            37/14 79/25               allow  [4]   96/11 124/9 anger [2] 37/4 86/9
acted [1] 30/1
                         73/22 75/13 75/16 76/8 agreed [2] 55/15                 124/10 124/13              anonymize [1] 125/7
action [2] 50/16 111/19
                         83/3 83/5 96/24 97/24 118/21                           allows   [1]  60/24         another [8] 32/14
actions [17] 23/18 39/8
                         98/15                       agreement       [5]  66/19 allude  [1]   119/9          33/11 68/24 72/14 88/7
 43/22 46/11 52/9 65/11
                        admitted    [2]   20/15       73/24 78/24 82/11         alluded   [1]   35/21        95/22 114/23 119/23
 65/12 65/15 66/4 66/25
                         103/17                       111/17                    almost   [2]   49/2 49/3    answer   [8] 4/18 7/9
 67/1 71/12 94/24 96/3
                        admittedly    [1]   45/2     ahead    [2]   55/13 103/5 alone [3] 27/5 28/24         72/4 72/12 119/20
 113/8 114/7 114/8
                        admonished [3] 49/14 ahold [2] 70/19 70/21 110/11                                    120/25 121/7 121/14
active [3] 31/6 31/20
                         51/15 72/24                 aid  [2]  13/13 13/15      along  [6]   44/6 72/9      answered    [3] 93/17
 85/2
                        admonishments          [1]   aided   [2]  2/19 22/17     74/22 75/1 84/16            120/22 121/3
actively [1] 26/4
                         54/22                       aim [1] 112/6               101/11                     answers [1] 4/17
activities [4] 33/21
                        adopt  [1]   7/4             airborne    [1]   115/24   Alpers   [4]  17/13 17/24 Anthem [1] 50/15
 34/7 95/7 125/7
                        adults [1] 115/19            Al [1] 94/20                119/2 119/3                Anthony [1] 75/3
activity [17] 12/21
                        advance    [3]   46/24 69/3 alarming [1] 36/13          already   [13]   20/10 43/4 anticipated [1] 96/14
 22/20 22/23 22/23
                         69/4                        Alexander [1] 100/24        49/20 53/24 55/15          Antifa [12] 97/10 97/11
 22/24 23/5 23/15 24/4
                        advice [3] 20/23 21/4 Alexander's [1] 101/4 60/24 62/8 62/24 82/4 97/17 97/25 98/3 98/19
 33/21 57/21 57/22 58/3
                         21/6                        Alexandra [2] 1/15 3/6 100/10 101/2 101/20              98/25 99/1 99/24 100/1
 58/5 63/23 64/22 65/17
                        Advocacy [1] 87/17           Alexandra Hughes [1] 115/10                             100/4 100/7
 65/19
                        advocate [2] 87/22            3/6                       also [58] 3/10 13/17        any [69] 4/14 6/9 7/14
actors [1] 5/25
                         88/1                        Alexandria [1] 2/11         13/21 16/18 17/3 17/14 10/11 10/24 11/18
acts [13] 22/16 22/21
                        advocated     [2]   36/8     Ali [4]   27/9 27/25        17/15 17/25 20/1 20/10 12/23 15/21 16/1 19/24
 23/3 23/4 23/15 23/20
                         85/4                         100/24 101/4               22/19 29/24 30/4 32/22 19/25 21/19 22/7 25/13
 67/9 74/16 82/16
                        advocates     [1]   24/25    Ali Alexander       [1]     33/1 33/13 34/19 35/3 41/8 41/25 44/15 44/15
 113/10 115/9 123/9
                        advocating      [2]  39/8     100/24                     41/14 43/18 45/2 45/20 47/8 48/8 49/5 51/24
 123/10
                         123/9                       Ali Alexander's       [1]   45/22 48/21 52/22 53/5 56/2 56/3 56/10 59/5
actual [10] 18/12 19/22
                        affect [2]   78/14 78/20 101/4                           53/8 56/17 59/9 61/17 61/21 62/1 63/6 67/10
 31/18 34/4 36/15 74/12
                        affirmed   [1]   40/11       all [118]   3/14 4/21 6/3 64/15 65/4 65/5 72/9          68/2 69/11 72/24 73/4
 78/25 79/8 99/12
                        afford  [2]  109/20           6/8 8/20 9/18 9/23 9/25 73/18 73/23 74/9 74/12 74/20 89/20 89/21 99/9
 110/19
                         126/18                       10/24 11/9 11/13 11/16 74/14 75/15 77/20 81/2 99/22 102/23 103/8
actually [13] 4/8 4/9
                        afraid [1]   97/5             11/21 12/3 12/9 13/6       81/20 82/12 82/18 87/4 103/13 103/24 104/9
 10/18 11/22 26/22
                        after [33]   13/2 13/4        13/14 14/5 14/14 14/14 96/22 100/22 102/3              109/21 111/10 113/6
 31/22 39/16 51/19 60/1
                         15/9 17/12 20/19 21/18 18/16 21/2 21/9 22/4             102/8 102/10 103/3          116/12 122/18 123/6
 67/22 74/10 99/18
                         24/23 28/9 35/24 37/3 22/21 23/3 23/20 28/17 105/14 109/22 110/22 123/7 123/10 123/18
 101/24
                         45/2 52/10 54/2 54/2         29/20 32/5 35/8 35/13 119/12 125/8 126/22              123/20 123/22 124/1
add [2] 13/21 60/15
                         55/2 61/13 71/12 71/19 37/13 38/9 39/19 40/15 alter [1] 121/11                      124/11 124/14 124/17
added [1] 8/11
                         71/25 77/14 85/21 88/9 40/25 42/17 45/14 46/4 alternate [1] 40/19                   124/22 125/3 125/5
addition [5] 73/17
                         95/21 95/22 103/23           49/2 49/5 49/24 49/25 alternative [4] 6/13             125/6 125/8 125/11
 94/13 95/18 109/10
                         116/16 117/7 118/22          51/3 52/1 55/23 57/12 6/18 6/25 73/17                  125/17 126/5 126/17
 122/9
                         119/3 123/2 124/19           58/6 60/7 60/16 61/24 although [5] 11/22               127/3
additional [13] 4/7
                         124/21 126/17                62/6 62/20 63/12 63/14 30/15 80/17 82/4 83/22 anybody [14] 5/17 47/5
 4/16 7/18 13/18 76/1
                                           21/5       64/9 65/12 67/19 68/8 always [4] 43/14 102/1 47/13 55/3 67/9 70/7
 76/3 79/20 79/21 79/21 aftermath [1]
                        afternoon    [1]   28/22      69/23 72/22 73/1 73/3 102/4 106/25                     92/25 99/10 99/10
 79/22 83/4 83/10 83/11
                        afterwards     [1]  72/21     75/20 77/14 79/4 80/12 am [9] 8/15 9/19 12/4           99/11 100/11 113/17
address [12] 15/1
                        again [20] 8/14 31/22         82/11 82/22 86/1 87/7 13/24 64/10 64/20                118/10 127/3
 19/20 29/14 35/19
                         35/12 45/4 52/21 58/14 89/9 89/10 89/16 89/17 64/21 81/14 82/11                    anyone [12] 32/16
 40/20 41/22 42/3 42/15
                         60/13 64/8 67/14 74/22 91/7 91/11 92/1 93/1            Amendment [2] 96/21 50/25 61/9 62/1 62/9
 58/7 60/5 119/10 126/5
                         76/4 76/10 78/1 81/17 94/11 94/20 97/23                 100/12                      72/25 99/2 101/15
addressed [4] 41/13
                         90/6 90/17 98/12             97/24 98/4 99/7 99/8      AMERICA [2] 1/3 3/4          101/17 103/10 103/10
 55/14 88/4 108/10
                         104/22 109/3 114/23          99/22 99/22 99/23         American     [13]    65/22   117/25
addresses [2] 56/14
                        against   [24]   6/6 7/3      103/7 103/11 103/14        79/23 84/21 86/24          anyone's   [1] 121/8
 57/16
                         36/25 72/20 74/6 75/2 103/14 104/4 104/10               88/12 88/20 94/23 96/6 anything [11] 9/19
addressing [2] 43/6
                         78/15 79/2 82/10 85/8 104/12 104/25 105/4               108/17 110/21 113/3         12/5 13/24 43/20 46/7
 93/22
                                                                                                                                   131


A Case 1:22-cr-00015-APM         Document
                  80/9 80/19 81/23          817
                                   82/1 asking      Filed
                                               [7] 10/22   02/27/24
                                                         22/12 authorize Page   131 of73/10
                                                                         [2] 125/17    151 73/12 74/14
                         82/11 83/25 84/14             38/5 40/8 40/14 83/20 125/20                            79/16 82/10 82/14
anything... [6] 50/18
                         88/12 88/14 90/13 94/2 83/25                              authorized [1] 71/11        82/18 82/22 83/25
 82/2 98/19 103/11
                         96/20 99/8 101/16            aspect [2] 31/20 36/25 authorizing [1] 71/5              95/15 96/1 96/24 99/13
 104/1 127/3
                         107/10 109/8 109/9           aspects [1] 33/1             availability [1] 6/25       99/24 100/1 100/3
anyway [1] 95/7
                         109/11 109/15 111/4          aspiring [1] 86/3            available [2] 7/18          100/22 101/12 101/19
anywhere [1] 94/25
                         111/5 111/7 111/8            assault   [5]  56/3 56/10 112/18                         102/25 105/10 105/25
apart [1] 19/16
                         113/21 114/4 114/7            75/4 92/23 105/21           Avenue    [3]  2/3 2/7 2/17 107/10 107/19 110/10
apologize [2] 45/10
                         114/7 114/7 114/9            assaulting [2] 92/14         avenues [1] 26/14           113/19 114/2 114/3
 58/14
                         114/10 114/19 118/3           92/21                       avoid  [1]   121/7          114/10 114/11 114/11
appeal [6] 40/10
                         118/18 120/3 120/18          assaultive    [2]   93/10    avoided    [1]  121/17      114/14 118/6 118/14
 126/15 126/17 126/19
                         121/24 122/3 122/7            110/6                       avoiding    [1]  110/13     120/4 120/4 120/5
 126/20 126/20
                         122/9 122/15 123/9           assaults [3] 93/7 94/11 award [4] 10/21 10/25 120/6 120/13 121/22
APPEARANCES [2]
                         123/10 126/3 127/3            111/13                       11/18 11/20                become [3] 72/10 79/7
 1/13 1/20
                        area  [6]    66/16 97/18      assertion    [2]   46/6      aware   [6]  22/14 24/24 86/6
appearing [1] 3/12
                         100/16 100/22 101/5           46/20                        45/17 51/4 66/25 72/11 becomes [2] 11/7 51/4
applicable [3] 8/7
                         103/3                        assessed     [1]   92/5                                  becoming [1] 84/24
 83/23 112/25
                        Area  7   [1]    100/16       assessment       [1]  122/10 B                           been [67] 3/21 10/21
application [3] 6/2
                        Area  8   [3]    100/22 101/5 assets [2] 33/21 34/7 back [33] 11/21 18/2               12/17 13/19 18/24
 22/6 59/21
                         103/3                        assigning     [1]  101/24     20/11 36/13 36/13          25/21 26/8 38/5 38/25
applications [3] 12/24                                                              42/17 46/24 49/15
                        areas   [1]    27/2           assist [1]   32/12                                       40/10 40/12 42/13
 125/10 125/12
                        aren't  [2]     94/25 114/6 associate [2] 123/5             49/16 50/6 50/13 51/1 42/16 42/17 42/25
applied [8] 7/25 8/2                                                                51/13 51/16 55/23
 10/8 38/6 38/25 79/1   arguably [1] 24/15             123/13                                                  44/24 44/25 45/15
                        argue   [2]     43/19 56/7    association     [1]   111/23 56/17 58/9 61/12 63/13 45/16 47/17 48/5 50/2
 114/3 120/9
                        argued [1] 116/9              assume [1] 11/22              85/24 89/25 90/12 98/2 51/6 51/20 55/6 62/6
applies [9] 22/11 26/14                                                             98/6 98/7 98/12 98/18 63/5 63/8 65/4 69/10
                        arguing      [1]   107/19     assure   [1]   80/8
 33/17 58/6 73/23 75/14
                        argument        [11]   12/19  assured    [1]  117/7         99/19 104/16 105/13        70/6 75/22 77/17 80/25
 75/15 78/4 78/16
                         37/6 38/4 38/16 41/25 atop [1] 65/10                       108/23 117/14 119/18 80/25 82/9 84/9 85/5
apply [19] 5/10 5/16
                         43/9 48/25 57/7 59/12 att.net [1] 2/12                    backdrop [1] 103/6          87/18 89/5 89/6 92/5
 22/13 34/3 38/3 40/5
                         62/17 104/24                 attached    [1]   28/25      background [4] 7/2          92/7 92/8 92/8 95/6
 57/17 58/18 59/13
                        arguments [5] 12/23           attack [7] 24/11 24/12 64/2 111/9 116/25                 95/16 99/6 101/20
 73/23 75/23 76/23
                         13/3 22/5 57/15 58/19 24/17 26/23 88/20                   backs [1] 106/3             104/14 105/8 105/8
 76/24 77/1 77/2 80/21
                        Arizona [2] 31/3 116/2 97/10 98/3                          bad [3] 121/18 121/22 105/9 106/9 108/13
 81/10 123/4 126/21
                        armed [6] 25/1 25/6           attacked [1] 98/23            121/23                     110/3 115/9 116/9
appoint [1] 107/23
                         36/16 39/6 98/9 99/3         attacking [2] 98/19          banc [1] 9/2                116/15 117/3 117/4
appointed [1] 126/21
                        armor    [2]    99/24 100/3 105/2                          bank [1] 93/6               119/8 120/9 121/21
apportioned [1] 80/5
                        arms   [5]     18/2 66/6      attained   [1]  111/21       BARRETT [2] 2/3 2/16 124/20 126/16 126/24
Appreciate [1] 52/1
                         77/18 114/5 120/4            attainment [1] 111/24 Base [1] 82/25                     before [18] 1/9 12/5
approach [4] 7/7 11/16
                        around     [3]    26/1 39/20 attempt [2] 26/5 96/25 baseball [1] 103/13                30/2 42/19 48/22 51/22
 33/3 33/10
                         105/13                       attempting     [2]   39/25 based [15] 11/4 18/7          55/11 59/12 62/25 87/7
approaching [2] 58/15                                                               42/5 49/24 59/23 61/10 87/20 88/3 89/2 91/12
                        arrangements          [1]      97/17
 114/23
                         76/16                        attempts [2] 85/14            65/7 76/6 78/18 81/21 97/4 102/6 107/13
appropriate [21] 11/18                                                              81/22 89/11 109/9
                        arrested      [1]   16/4       124/20                                                  127/4
 31/11 32/23 34/5 37/23
                        arrests    [1]    92/13       attend  [2]   97/4 101/4      117/22 120/2               begin  [3] 3/18 22/9
 38/19 38/20 38/23
                                           20/8 31/21 attendance [1] 88/8          basic [2] 13/6 122/15       83/18
 40/19 65/12 79/11 80/2 arsenal [4]
                         74/2 84/22                   attended [2] 98/24           basically [1] 102/13        beginning [2] 24/22
 80/10 80/11 81/5 82/9
                        Article   [2]    107/15        116/1                       basis [9] 23/16 40/3        110/1
 82/12 82/23 120/7
                         107/23                       attention   [1]   71/25       41/13 43/17 46/17 49/5 behalf [4] 3/10 42/10
 120/8 126/9
                        Article II [2] 107/15         attorney [1] 27/1             51/6 51/25 80/16           96/12 96/16
appropriately [2] 60/2
                         107/23                       ATTORNEY'S         [2]  1/16 bat [1] 103/13              behave   [1] 21/5
 81/4
                        articulated       [4]  25/19   125/19                      bath [1] 117/14             behavior   [2] 103/9
approval [2] 123/11
                         38/21 59/12 76/6             attorneys    [1]   27/1      Battiste [1] 94/19          105/11
 123/17
                        articulating [1] 39/1         attract [1] 86/12            battle [2] 94/19 120/14 being [19] 9/16 16/3
approved [5] 33/1
                        as [172]                      attributable    [1]   12/23 battlefield [1] 62/15        31/18 31/19 32/11
 69/18 73/15 123/22
                        ascribe     [3]    65/12 71/4 attribute [2] 116/7          bay [1] 68/14               32/15 39/7 42/2 53/16
 126/10
                         116/12                        116/8                       be [149]                    54/21 55/5 68/2 92/14
approving [1] 33/10
                        aside   [3]    28/15 28/18 attributed [2] 11/2             bear [2] 104/5 118/17 95/4 97/13 97/13
apps [1] 123/20
                         59/21                         104/12                      bearing [1] 103/22          104/20 105/5 107/10
April [1] 92/6
                        ask  [17]     12/13   15/3    attributes   [2]   116/6     beats [1] 93/7              belief [1] 18/22
Architect [1] 126/1
                         27/17 34/8 41/2 47/10 116/23                              became [1] 46/13            beliefs [2] 18/21
are [78] 3/16 4/13 5/22
                         53/13 60/10 63/3 89/3 Augustine [1] 48/12                 because [68] 4/9 5/16 114/10
 6/14 6/19 8/5 9/17
                         93/4 94/2 95/14 95/15 Austin [1] 91/13                     7/14 11/8 11/9 11/23       believe [37] 13/25 21/3
 10/13 10/18 11/8 14/15
                         95/25 96/1 106/10            authorities [2] 5/24          15/15 23/22 34/3 34/5 23/19 29/16 38/22
 14/16 15/13 16/13
                        asked [16] 8/10 15/20 6/24                                  36/15 41/10 42/10          39/19 42/10 42/22
 16/14 16/16 18/20 19/3
                         19/12 68/2 71/18 72/1 authority [5] 34/25                  46/18 51/19 54/11          53/20 55/14 55/23 56/3
 19/6 21/8 25/19 29/13
                         72/2 72/10 93/14 118/7 65/1 71/5 87/18 112/15 59/14 60/3 62/6 63/1                    57/13 58/25 59/15 60/3
 29/22 32/24 35/4 38/5
                         118/8 118/9 119/19           authorization      [1]        65/7 65/10 67/17 67/24 60/4 60/14 70/10 70/14
 40/14 48/7 48/8 52/3
                         120/13 120/17 120/23 125/15                                68/4 69/9 70/8 70/17       72/7 77/8 81/12 84/15
 52/5 68/1 77/9 77/19
                                                                                                                                 132


B Case 1:22-cr-00015-APM         Document
                 bottles [1] 99/25         817 18/25
                                      call [33]    Filed
                                                     19/2302/27/24     Page
                                                             cardinal [1] 19/11132 of43/14
                                                                                      151 46/9 52/17 53/10
                         bound [2] 8/15 9/5            19/25 42/16 43/19        care [1] 109/22               53/11 53/19 53/22 54/5
believe... [13] 87/1
                         box [1] 93/21                 44/16 44/19 46/7 47/21 Carolina [2] 33/5               54/13 58/24 61/2 105/3
88/18 89/12 89/15
                         boys [6] 52/19 99/14          47/22 47/24 49/6 49/24 100/19                         Certified [1] 2/15
89/18 89/20 89/21
                          104/19 104/25 105/22 51/6 52/8 52/11 54/3             carried [2] 112/17           certify [1] 128/2
90/23 90/23 95/25
                          105/23                       54/21 55/2 55/3 55/23 114/4                           cetera [4] 10/23 123/25
107/6 114/4 120/9
                         branch    [2]   107/21        55/24 58/10 67/18        carries  [1]   7/24           124/15 125/13
believed [7] 15/15 30/5
                          119/18                       67/24 71/8 72/18 76/21 Carrion [1] 74/20              CH  [1] 2/16
44/5 55/12 107/13
                         Brandenburg        [1] 21/12 78/3 79/19 99/16          carry  [3]  7/12 66/17       chain  [7] 26/9 30/6
112/23 121/12
                         breach    [2]   24/10 43/13 102/10 106/14               98/4                         31/23 31/24 32/4 32/24
benefit [1] 13/8
                         breached [4] 56/1            Callanan [1] 111/15       case [64] 3/3 4/9 4/21 77/3
Bennie [2] 30/16
                          91/17 95/5 95/5             called  [9]   16/20 18/7   4/24 6/22 7/14 8/5 8/18 challenge [3] 20/7
104/17
                         breaching [1] 25/5            18/18 39/16 85/8 91/12 8/19 8/19 9/23 9/24             126/22 126/24
Bennie Parker [1]
                         break  [5]    56/9 56/9       111/15 118/7 118/16       9/24 16/20 23/21 24/2 challenged [1] 29/9
30/16
                          60/17 61/12 108/22          calling [3] 39/14 54/8 25/25 26/6 27/9 27/11 challenging [4] 25/10
bent [1] 97/21
                         breaking     [1]  68/22       87/18                     27/16 27/25 30/4 30/15 35/22 105/2 115/16
Berkeley [1] 98/17
                         breaths    [1]   114/22      calls [4]   14/11 33/8     30/16 31/7 31/12 31/15 chamber [1] 75/3
Berry [2] 18/16 71/2
                         Brian  [1]   13/19            70/21 125/14              34/11 34/20 35/6 35/6 chance [2] 52/16 66/9
Berry's [1] 71/3
                         Brian  Hill   [1] 13/19      calmly   [1]  50/10        35/8 35/11 35/15 35/15 change [8] 87/2 88/14
best [7] 41/18 62/18
                         bricks  [1]    99/25         came   [13]   19/15 44/23 35/22 36/6 40/5 40/6          89/20 89/22 106/19
86/10 93/17 96/11
                         brief [4]   29/16 55/8        53/6 53/8 66/2 68/11      40/6 40/10 48/25 50/7 106/21 126/5 126/6
102/23 107/5
                          58/13 80/3                   74/21 77/12 77/13         52/21 57/15 61/24           changed [3] 107/20
better [5] 21/20 51/20
                         briefly  [1]   41/3           90/14 90/15 101/21        79/23 80/3 80/4 80/10 119/24 119/25
94/2 113/25 115/7
                         BRIGHT [13] 2/3 2/7           118/6                     80/11 84/14 85/15           changes [1] 15/4
between [8] 65/21
                          3/8 9/14 14/5 52/2 52/7 campaign [2] 88/10             85/22 88/4 89/5 89/6        changing [1] 84/15
90/15 101/10 102/18
                          54/20 58/7 60/12 67/13 88/10                           92/13 93/13 106/16          chapter [2] 31/18
104/18 105/11 115/22
                          69/19 89/3                  can  [37]   5/8 5/10 5/12 107/17 111/15 113/6           33/23
125/14
                         bring  [9]   31/9 52/18       8/2 10/17 11/9 11/21     cases   [15]   5/12 8/25     character   [1] 104/15
beyond [4] 20/4 33/2
                          54/10 68/24 77/18            14/5 20/16 27/17 27/19 14/15 26/24 27/2 29/15 characteristic [3]
36/12 68/2
                          89/20 89/22 101/1            30/21 32/16 34/8 37/16 94/15 94/20 94/21               25/12 25/17 82/20
Biden [7] 15/15 15/23
                          118/7                        38/3 40/4 40/20 45/25 110/3 110/5 110/9               characteristics [4]
16/2 18/4 21/19 21/23
                         bringing [4] 32/16            48/20 52/15 55/25 56/7 110/15 110/16 110/18 22/12 23/17 109/17
114/12
                          66/21 76/16 103/2            59/5 60/5 69/16 79/9     categories [1] 15/1           115/13
Biden's [1] 16/1
                         broad [2] 64/19 113/18 87/17 91/25 93/24               category [2] 15/7            characterization [1]
big [3] 48/1 48/3 94/3
                         brothers [1] 104/12           95/23 107/5 113/3         83/14                        99/7
bit [9] 15/6 27/18 28/25
                         brought     [14]  17/17       113/23 113/24 121/17 caught [6] 101/8                 characterizing   [1]
29/14 31/4 39/13 42/24
                          17/21 30/21 31/3 66/16 126/23                          101/13 101/18 102/24 108/12
46/25 54/25
                          66/18 69/13 74/3 78/24 can't [6] 11/11 13/22           103/4 103/5                 charge [6] 30/3 101/24
bizarre [1] 104/10
                          90/20 91/20 91/20            16/5 79/6 90/22 93/18 causal [6] 6/14 6/17             102/1 102/11 112/17
black [4] 97/16 104/21
                          110/2 119/4                 cannot    [5]  6/16 108/7 6/19 6/25 7/4 26/9            119/23
105/1 105/3
                         brush   [1]   113/18          114/1 114/1 121/25       causation    [11]   4/1 4/10 charged [2] 56/3 80/25
black bloc [1] 97/16
                         building [20] 19/7           cap [1] 79/9               4/10 5/9 5/15 5/23 8/2 charismatic [1] 118/3
blackest [2] 115/10
                          19/20 25/5 28/22 39/5 capitalized [1] 86/4             8/4 10/8 10/9 26/2          charitably [1] 81/15
115/11
                          39/22 39/23 42/8 43/21 Capitol [55] 10/22 11/3 cause [26] 4/15 4/22                charitably-minded [1]
bleach [1] 100/1
                          44/13 46/8 47/17 68/22 18/25 19/1 19/6 19/7            5/3 5/4 5/4 5/7 5/8 5/20 81/15
bleed [1]   115/14
                          69/8 69/9 71/20 76/11 19/9 19/10 24/11 24/12 6/2 6/4 6/10 7/16 7/16 chart [2] 92/6 94/7
bloc [1] 97/16
                          76/19 79/1 112/9             24/17 24/18 26/23         7/24 24/20 39/3 39/4        chastise [1] 47/5
block [2] 97/17 100/15
                         buildings     [1]  100/16     28/21 43/13 44/9 45/23 39/8 69/20 74/7 74/9           chat [9] 16/8 18/20
blocks [1] 97/16
                         builds   [1]   4/23           47/17 47/21 52/15         74/14 76/5 90/25 91/21 19/5 20/22 32/5 61/18
blogs [1] 123/24
                         built [2] 4/10 5/2            53/21 53/23 54/10         124/5                        67/3 67/4 125/13
blood [1] 117/14
                         Bundy    [1]   117/6          54/18 54/24 56/2 57/4 caused [9] 10/4 22/18 chats [8] 18/20 72/25
bloody [3] 16/10 36/11
39/10                    Bundy ranch [1] 117/6 62/22 63/1 68/13 68/18 25/9 26/23 90/24 91/1 85/3 85/17 101/14
                         Bureau [1] 122/4              68/22 68/25 69/13         91/2 91/3 104/9              101/15 102/15 123/23
blow [1] 39/23
                         buried   [2]   89/5 89/6      69/18 70/22 71/20        causing    [2]  6/11 83/1 Chi [1] 16/9
blowing [3] 39/5 39/22
94/22                    burner [1] 11/21              73/16 76/4 77/12 77/13 caution [1] 45/19              Chi-Com [1] 16/9
                         Burrage     [2]  4/24 5/11 77/13 77/14 92/24 93/1 celebrated [1] 119/1              Chief [1] 25/25
bodies [1] 115/5
                         business     [1]  22/5        95/3 95/5 100/22         Center   [2]  94/22 99/8 child [4] 9/25 10/3 10/4
body [3] 99/24 100/3
                                                       100/23 101/4 101/9       century [1] 48/10             10/17
104/1                    C                             102/14 105/13 115/2      certain  [3]   6/19 74/13 childhood [1] 115/17
body-slam [1] 104/1
                         cache [1] 20/11               126/2                     79/6                        children [4] 97/9
bombast [1] 18/12
                         calculated [7] 27/19         Capitol building [4]      certainly [25] 5/20 7/20 115/18 117/11 117/23
bones [1] 90/4            36/3 36/15 36/18 36/23 19/7 47/17 68/22 71/20 7/21 16/24 19/3 20/3                 chilling [1] 39/11
book [1] 87/12            37/7 78/13                  captain [2] 28/20 31/4 21/11 29/3 30/2 36/2            choice [1] 102/5
both [18] 5/3 12/20
                         calculation [6] 13/2         Captain Ortega [1]         36/2 38/1 39/24 41/21 choose [7] 48/6 48/13
20/5 22/6 22/16 24/14
                          79/17 79/20 82/6 83/16 28/20                           59/11 59/17 68/9 69/19 48/18 56/18 57/5 57/13
24/16 29/15 40/18
                          109/9                       captured    [2]  47/2      71/9 72/19 76/9 77/18 59/18
47/21 57/7 65/15 76/2
                         calculations [1] 63/25 79/15                            78/16 81/17 110/7           chooses [1] 56/18
78/22 89/17 106/15
                         Caldwell [1] 31/7            car [3]  6/6 6/8 6/10     certification   [13]  40/1 choosing [1] 48/8
110/5 111/19
                                                                                                                                133


C Case 1:22-cr-00015-APM
                 cliff [2] 6/8 6/10Document 817
                                        30/23       Filed 02/27/24
                                              32/11 32/17    concernedPage
                                                                       [4] 8/9133
                                                                               59/8of43/20
                                                                                      151 65/18 72/2 72/3
                         clock [1] 11/24                103/19                    69/23 101/18               72/4 91/18 110/13
chose [2] 46/10 51/12
                         close [7] 39/7 39/10          commanded [2] 22/17 concerning [2] 3/20              connotes [1] 35/1
Christian [1] 48/10
                          78/3 90/10 96/12 99/1 31/20                             12/24                     consciousness [2]
Christopher [1] 74/24
                          117/8                        commanding [1] 91/17 concerns [3] 3/23 4/22 66/24 73/7
Circuit [10] 4/8 4/11
                         closed [1] 50/2               comment [3] 33/18          14/17                     consequences [3]
 8/12 8/14 8/24 9/5
                         closer  [1]   69/15            72/2 100/25              Concerted    [1]   111/19 66/21 73/11 84/13
 27/11 34/20 35/11
 40/11                   closing [7] 48/22 48/22 Comment Note 2 [1]              conclude [6] 8/4 13/4 consider [8] 5/19 9/6
                          57/7 57/15 59/2 95/2          33/18                     18/5 21/25 22/1 69/16 9/16 11/20 20/16
circumstance [2] 7/10
                          108/16                       comments     [2]  37/5    concluded     [7] 15/11     109/10 109/15 109/23
 80/21
                         co [18] 5/19 23/21             80/23                     17/5 18/5 18/13 64/4      consideration [5]
circumstances [14]
                          31/24 34/2 38/11 65/13 commission [3] 7/13              64/5 127/11                59/18 59/22 69/24
 5/9 6/20 6/22 7/1 8/4
                          65/15 66/4 66/11 66/16 37/21 112/3                     conclusion     [2]  64/21   81/22 81/24
 8/5 75/22 80/20 81/21
                          67/2 74/1 74/15 77/11 commit [1] 113/3                  118/12                    considered   [7] 28/2
 81/23 82/1 109/16
                          84/17 85/14 86/8 86/11 committed [3] 62/17             concrete   [1]   34/4       34/21 82/19 107/9
 110/16 111/5
                         co-conspirator [1]             113/10 122/3             concur [1] 49/7             110/12 110/22 116/9
circumvent [1] 124/21
                          5/19                         committing    [1]  122/17 concurrent [1] 122/4 considering [2] 22/25
citation [1] 4/7
                         co-conspirators [13]          common [5] 18/17          concurrently [1] 122/9 110/22
citations [1] 30/8
                          23/21 31/24 34/2 38/11 66/11 82/16 82/17               concurring [2] 8/17        consistent [2] 50/9
cite [4] 6/24 27/9 40/5
                          65/13 65/15 66/4 66/11 112/24                           9/4                        103/9
 44/2
                          66/16 67/2 74/1 77/11 communicate [2]                  condition   [5]   16/23    consistently  [2] 9/5
cited [5] 8/16 8/19
                          85/14                         123/5 123/13              18/8 124/24 124/25         80/24
 29/15 35/6 80/3
                         co-conspirators' [2]          communicated [1]           125/2                     conspiracies [1] 23/22
citing [1] 8/18
                          86/8 86/11                    44/8                     conditional    [1]   18/7  conspiracy [70] 15/9
citizen [2] 86/25 93/9
                         co-defendants        [2]      communicating       [1]   conditions    [7]   37/22   21/13 21/15 22/20
citizens [3] 84/21
                          74/15 84/17                   95/4                      122/12 122/13 122/17 23/12 23/18 23/24 24/6
 86/25 114/2
                         Code [1] 109/12               communication [3]          123/4 124/8 126/25         24/8 24/9 24/22 26/6
city [1] 66/18
                         Code   3553    [1]   109/12 43/1 43/7 65/25             conduct   [54]    5/25 6/1 26/19 26/21 29/24 31/7
civic [4] 81/5 81/14
 113/23 116/15           coerce [3] 36/18 78/11 communications [4]                6/4 6/15 6/16 7/15         31/15 31/19 31/21
                          84/2                          49/22 66/3 68/8 68/12 12/22 21/9 22/6 22/10 32/25 33/12 35/23 36/8
civic-minded [1]
                         coercion [5] 36/4             communicator [1] 73/2 22/15 22/16 23/1 23/2 37/7 42/7 42/13 43/10
 116/15
                          36/24 37/8 78/15 78/22 Communist [1] 16/5               23/10 23/11 23/19          46/21 50/8 56/19 56/21
civic-mindedness [1]
                         coercive [1] 59/15            community [1] 95/10        26/10 26/19 27/21          57/2 57/8 57/10 58/21
 81/5
                         coincidence [5] 19/15 comparative [1] 94/4               27/25 36/3 36/6 36/14 59/4 59/24 64/4 64/23
civil [8] 16/11 18/12
                          48/1 48/3 48/19 52/8         comparators [1] 110/9 36/22 36/24 37/1 38/11 65/1 65/17 66/2 67/16
 20/14 36/11 39/10
                         collection    [1]   122/24 compare [2] 27/8              38/11 65/11 65/13          74/5 74/17 74/18 76/10
 39/15 65/22 112/14
                         collective   [3]   14/15       72/20                     73/18 74/15 74/23 76/7 78/7 82/8 84/1 84/18
Civil War [4] 20/14
                          111/17 114/22                comparisons [1] 65/21 78/7 78/14 78/16 78/17 84/20 84/21 86/13
 36/11 39/10 112/14
                         collectively [1] 117/1 compatriots' [1] 78/20 78/20 79/13 79/15                     86/15 87/21 94/10
Civil War/revolution [1]
                         college   [1]   115/22        compelling    [3]  17/4    81/18 82/3 82/10 84/4 94/16 97/20 97/21
  18/12
                         Colombia [1] 50/21             18/15 118/4               86/8 110/6 114/10          104/18 108/2 110/11
civilian [2] 78/12 86/2
                         COLUMBIA        [2]   1/1     compilation    [1]  110/2 117/23 118/17 122/16 110/11 110/18 110/24
claim [1] 123/9
                          114/15                       completed [2] 61/14        124/10 124/25              111/7 112/5 112/13
clarification [4] 41/2
                         Columbus       [2]  11/4       115/24                   conducted     [3]  87/24    113/1
 51/25 58/24 59/1
                          74/21                        completely [4] 23/6        124/16 125/4              conspirator [1] 5/19
clarifications [1] 58/19
                         Columbus Doors [2]             51/6 57/16 104/21        confined [2] 112/5         conspiratorial [2]
clarified [3] 34/24
                          11/4 74/21                   completion    [1]  126/13 113/7                       66/19 112/1
 43/12 43/14
                         Com   [1]  16/9               complex   [1]   111/25    confirm  [5]    4/9 12/13 conspirators [15]
clarify [5] 15/21 41/17
 42/9 51/17 100/9        combat [1] 110/20             compliance [1] 124/8 14/5 14/6 34/17                  23/21 31/24 34/2 38/11
                         Combination        [1]  112/2 compliant [1] 40/18       conflict [7]   99/15 120/7 65/13 65/15 66/4 66/11
clarity [1] 119/22
                         combine [1] 47/20             complied [1] 121/21        120/21 120/21 121/4        66/16 67/2 74/1 77/11
Clark [2] 8/17 8/18
                         combined      [3]   6/1 6/8 comply [1] 121/12            121/6 121/16               85/14 111/11 114/8
clause [1] 78/16
                          74/8                         component     [1]  8/13   confronted     [1]  10/1   conspirators'  [2] 86/8
cleanup [2] 28/17 76/2
                         come   [27]    17/10 19/5 computer [8] 2/19             confusing    [1]   8/14     86/11
clear [18] 20/3 21/22
                          19/8 19/13 39/7 68/17 123/21 124/10 124/12 Congress [12] 7/3                      conspired [3] 26/7
 28/21 29/7 33/23 43/17
                          68/24 69/22 76/3 77/6 124/14 124/14 124/17 24/18 36/20 61/1 66/14 105/1 118/16
 45/5 53/2 54/17 55/9
                          77/7 77/11 77/14 84/14 125/2                            73/25 75/21 78/21         constitute [5] 23/17
 56/24 68/12 74/23
                          90/10 91/13 94/2 98/2 computer-aided [1]                82/15 106/17 112/22        29/4 29/21 38/12 65/13
 79/13 95/2 103/7
                          101/16 101/16 101/21 2/19                               115/3                     constituted  [1] 27/6
 113/16 117/16
                          102/21 102/21 109/6          computer-monitoring congressional [1] 7/5 constitutes [2] 29/3
cleared [2] 50/4 70/14
                          116/11 118/11 118/12 [1] 124/14                        Congressman [1]             75/19
clearly [12] 25/7 33/9
                         comes [3] 14/16 39/7 computers [4] 124/11 104/17                                   constituting [1] 82/17
 59/23 60/6 64/8 67/8
                          39/10                         124/23 124/23 125/14 Congressmen [1]                Constitution [11] 2/17
 69/12 73/3 76/12 76/24
                         comfort [1] 9/16              concept [6] 5/3 5/4        112/23                     62/7 85/20 86/23
 79/4 80/25
                         coming    [5]   18/11 32/6 34/24 43/9 50/8 59/23 connect [1] 47/25                  107/15 108/3 108/4
Clerk [3] 125/25 126/3
                          64/20 88/9 101/11            concepts   [1]   113/2    connected     [2]  44/21    108/7 112/18 121/18
 126/5
                         comings     [1]  23/8         concern   [4]  94/1 101/6 82/16                       121/21
Clerked [1] 116/2
                         command       [5]   30/6       101/8 102/20             connection     [8]  22/24 constitutional [4]
client [2] 57/14 60/16
                                                                                                                          134


C Case 1:22-cr-00015-APM        Document
                 corroborating [1]       817
                                     28/18       Filed30/2
                                           29/10 29/12 02/27/24
                                                           crowd [3] Page  134 ofDecember
                                                                     50/4 50/10   151     29th [1]
                          55/25                      31/16 33/13 33/15         50/20                  17/6
constitutional... [4]
                         corrupted [1] 48/17         33/18 34/2 34/20 34/24 CRR [2] 128/2 128/8       decide [2] 59/19 69/2
 15/16 46/11 87/16
                         cost [9] 11/11 27/16        35/18 35/21 37/20 38/6 Crystal [2] 2/13 3/10     decided [1] 51/9
 108/9
                          27/19 27/20 27/24 28/1 38/10 40/6 40/7 40/8         Crystal Lustig [1] 3/10 decision [6] 4/19 8/16
constitutionally [1]
                          28/16 126/18 126/20        40/13 40/14 40/17        culpability [1] 80/6    46/1 46/2 59/14 77/17
 121/13
                         costs  [1]  76/1            40/21 42/12 42/19        cum   [1] 115/21        declassification  [1]
construct [1] 6/14
                         coterminous      [1] 23/11 42/21 43/16 45/5 45/14 current [1] 99/4           107/3
contains [2] 124/17
 125/3                   could [40] 11/1 17/5        45/16 45/20 48/2 49/7 currently [1] 121/1        decline [1] 80/15
                          17/21 18/5 20/4 21/7       51/10 52/23 53/14        custody   [1] 122/4     decreases [1] 111/21
contemplate [1] 79/5
                          21/25 23/23 24/15 28/7 56/18 59/12 59/13                                    deep [1] 95/8
contemplated [1] 74/5                                                         D
                          29/3 30/1 30/19 39/8       59/15 59/18 59/18                                deeply [1] 59/6
contemplating [1]
                          50/18 50/19 50/25          59/20 59/22 60/2 60/5 D.C [19] 1/5 1/17 2/17 defamation [1] 104/23
 70/25
                          53/12 53/25 57/9 61/9 60/6 60/10 63/3 63/14 17/7 20/6 25/1 32/7             default [2] 5/7 7/2
contend [1] 47/12
                          62/1 62/10 63/5 67/9       63/17 79/9 81/7 83/24 68/12 70/6 77/6 88/5       defeat [2] 16/11 66/18
contends [1] 70/7                                                              90/14 91/15 97/8 99/21 defendant [20] 1/7 2/2
                          69/20 74/3 80/18 89/20 84/4 84/7 84/11 85/3
contention [4] 18/10
                          89/22 91/20 93/18          85/23 86/24 87/8 87/17 100/5 118/6 118/11        3/12 4/15 9/7 9/8 11/14
 18/24 20/20 21/17
                          101/7 101/19 102/22        87/20 88/15 88/21 89/6 126/4                     19/17 22/17 22/21
contents [2] 67/22
                          102/23 106/7 106/25        90/23 91/1 91/8 92/11 D.C. [4] 19/5 32/5         23/20 33/16 33/19
 73/10
                          111/25 115/9               93/4 93/14 93/24 95/18 34/20 35/11               84/16 86/21 88/4 88/19
context [7] 10/6 50/14
                         couldn't   [8]  6/10 67/24 95/19 104/20 107/17       D.C. Circuit [2] 34/20 109/17 109/21 115/14
 54/4 71/17 87/2 106/5
                          71/23 101/6 101/7          108/25 109/2 111/14       35/11                  Defendant Rhodes [3]
 106/24
                          101/7 102/15 114/16        116/2 122/3 122/23       D.C. Op Jan. 6 [1] 19/5 84/16 88/4 88/19
continue [1]   12/5
                         counsel [4] 12/13           123/2 125/25 125/25      D.C. Op Jan. 6, '21 [1] Defendant Rhodes' [1]
continued [8] 2/1 46/6                                                         32/5
                          14/13 63/11 126/21         126/2 126/3 126/4                                86/21
 46/19 59/1 75/21 88/1
                         counseled     [1]  22/17    126/6 126/18 126/19      daily [1] 27/5          defendant's   [7] 13/14
 88/6 119/9
                         count  [10]   60/25 61/10 126/21 127/2 127/10        Dallas [2] 2/4 2/8      13/15 22/16 23/2 23/3
continues [5] 84/5
 87/22 88/20 108/9
                          62/4 62/5 63/6 67/17      Court's [4] 4/19 32/22 damage [9] 10/4 10/12 28/1 126/13
                          68/7 69/24 82/18           83/16 100/25              10/19 10/22 11/1 11/2 defendants [20] 8/11
 119/10
                          122/10                    court-appointed    [1]     24/20 25/8 83/2        11/1 16/21 19/17 23/12
contradicts [1] 46/5
                         Count 7 [1] 82/18           126/21                   danger [3] 112/1 112/5 23/14 29/20 31/1 31/5
contributed [2] 26/9
                         count,' [1] 71/3           courthouse [1] 25/23 119/10                       33/15 35/13 74/15
 76/5
                         counted [3] 61/11 63/8 courtroom [1] 116/12 dangerous [6] 93/2               80/11 84/8 84/12 84/17
control [21] 8/12 8/22                                                         93/5 93/7 93/10 94/10 93/16 94/15 94/21
                          63/9                      courts [2] 28/7 38/1
 8/24 9/1 9/6 24/8 29/13
                         counting [6] 61/3 61/9 cover [2] 60/22 67/1           118/5                  110/10
 29/14 29/22 33/11 34/4
                          61/12 61/20 62/3 62/12 COVID [1] 107/21             daresay [3] 19/12       defense  [20] 3/9 12/13
 34/21 34/25 51/19
                         country   [23]   26/25     cowering    [1] 75/10      114/21 117/24          12/17 15/2 15/8 20/1
 51/20 77/21 77/23 78/1
                          62/19 81/11 84/19         CR [2] 1/4 30/16          data [2] 107/3 124/17   21/2 29/8 37/24 41/1
 95/20 95/23 119/17
                          84/22 85/20 85/25         crazy  [2]  90/2 90/3     Date [1] 128/7          41/10 42/11 44/23
controlled [4] 33/25
                          87/10 96/20 97/24 98/9 create [4] 20/7 91/7         Dave [1] 15/25          80/14 81/2 81/25 96/12
 95/4 122/19 122/20
                          98/13 99/11 100/8          92/3 93/25               day [47] 4/4 11/10      110/1 116/3 116/5
conveyed [1] 118/20
                          103/10 107/6 113/5        created   [2] 108/8 108/8 23/23 24/17 39/5 42/8 defense's [2] 12/8
convicted [17] 35/23                                                           44/9 44/25 51/21 54/18 14/21
                          113/18 115/11 115/23 creating [1] 76/17
 64/3 64/23 65/2 76/10
                          117/17 118/1 122/1        credit  [2] 20/17 70/13 57/22 60/23 61/8 61/13 defies [2] 68/23 68/23
 76/25 80/25 92/13
                                       82/13 82/14 crime [5] 38/13 96/20 61/13 61/13 62/22            define [1] 112/22
 92/21 94/9 94/11 94/15 counts [6]
                          82/18 114/17 122/5         111/18 112/3 122/18       65/22 67/9 68/10 70/5 defined [2] 37/24
 110/10 111/6 114/14
                          122/8                     crimes [3] 112/3           73/4 75/5 76/17 79/2   112/18
 114/14 114/17
                         Counts    1 [4]  82/14      112/22  113/3             92/14 92/24 92/25 96/4 definitely [1] 99/4
conviction [8] 38/7                                                            97/7 100/6 100/20
                          82/18 122/5 122/8         criminal [36] 3/3 5/2                             definition [4] 22/14
 59/24 78/7 78/17 82/13
                         Counts    3 [1]  82/13      5/12 12/21 21/2 21/15 101/25 103/16 104/5        22/25 36/2 74/5
 126/15 126/23 126/24
                         coupe   [1]  119/13         22/20 22/22 22/24 23/5 104/16 105/7 111/12       degree  [9] 4/2 80/9
convictions [1] 11/5
                         couple   [8]  3/18 3/20     23/15 24/4 33/21 38/18 113/7 113/8 114/25        81/6 81/12 81/17 81/18
convincing [1] 20/4
                          41/12 42/3 58/21 60/18 57/21 57/22 58/3 58/5 115/2 115/10 117/14            81/23 82/1 82/3
cooperate [1] 122/24                                                           117/14 118/23 118/25 delay [2] 43/15 75/17
                          60/22 92/12                63/23 64/22 65/13
cooperating [3] 93/16
                         courage [1] 115/9           65/16 65/19 82/16        days [12] 11/20 11/25 delete [3] 20/22 67/4
 93/18 94/3
                         course   [18]   15/10 16/2 83/13 92/22 93/2 95/9 23/8 24/22 88/3 88/14 73/9
cooperators [2] 30/5                                                           91/12 115/11 119/3
                          24/5 26/15 41/4 68/1       95/17 111/17 111/20                              deletion [1] 21/6
 86/1
                          69/3 73/6 75/6 76/1        111/23 111/25 112/15 122/21 126/5 126/17         demanded [1] 87/4
coordination [1] 32/13
                          76/18 78/25 99/2 100/3 116/3 123/7                  deal [1] 11/22          demanding    [2] 5/23
cops [1] 104/6
                          105/4 105/22 118/13       criminal's [1] 108/14 dealings [1] 111/19         6/19
copy [1] 14/10
                          118/17                    criminality [3] 107/4     death [1] 112/17        demands [1] 7/6
corner [3] 72/13 88/5
                         court [123] 1/1 2/14        108/18 111/22            decade [2] 8/19 87/19 democracy [9] 79/23
 100/21
                          2/16 4/23 5/1 5/6 5/8     criminals [1] 84/10       decades [1] 117/16      86/20 88/20 114/21
correct [8] 53/4 53/4
                          5/11 5/22 6/13 6/21       crisis [1] 108/9          December [9] 15/17      115/4 117/17 118/2
 55/17 58/21 120/16
                          6/23 7/11 8/1 9/2 10/1 critically [2] 65/20          16/7 17/6 18/1 51/2    118/25 121/20
 120/20 121/13 128/3
                          10/6 10/10 22/13 22/14 86/19                         56/24 76/14 77/8 100/5 Democratic [3] 105/6
correctly [1] 93/14
                          24/7 24/13 25/2 25/13 cross [2] 44/11 45/1          December 12th [1]       105/7 117/21
corroborate [1] 18/21                                                          77/8
                          25/19 26/13 27/2 28/2 crossing [1] 49/21                                    demonized    [1] 106/5
corroborates [1] 55/4
                                                                                                                            135


D Case 1:22-cr-00015-APM         Document
                  40/5 40/7 41/7 42/15     817 [1]Filed
                                       discourse   48/1202/27/24
                                                            49/4 57/13Page
                                                                       93/21 135 ofdown
                                                                                    151[9] 14/22 32/24
                        44/15 45/19 47/5 48/16 discretion [3] 9/13             docket [1] 13/20          34/15 84/12 86/9 91/14
demonstrate [1] 81/1
                        49/18 49/23 49/25            31/13 60/10               documented [1]            96/25 98/18 108/13
denied [1] 54/21
                        51/20 52/10 52/10            discretionary [1]         116/14                   download [1] 123/20
deny [1] 19/24
                        54/15 55/1 56/6 62/20 122/13                           does [31] 4/9 4/18 5/1 downward [1] 81/2
depart [3] 33/19 34/5
                        62/21 62/22 62/23 65/6 discussed [8] 24/7              5/1 28/12 29/17 29/18 dozen [2] 47/16 57/4
111/22
                        67/16 68/7 69/13 69/22 33/3 45/17 59/16 69/3 34/3 35/18 37/17 37/19 dozens [2] 89/8 118/6
departed [1] 82/4
                        71/20 72/25 81/16 90/7 69/4 89/4 89/4                  41/11 42/9 46/18 50/3 dramatic [1] 47/16
Department [2] 59/2
                        90/25 91/7 91/9 91/12 discussing [1] 34/21             50/7 51/10 51/10 51/11 draw [1] 67/9
74/25
                        91/15 91/21 93/1 95/12 discussion [2] 62/24            59/16 66/18 73/22        dressed [1] 97/16
departure [9] 37/22
                        96/4 96/5 96/21 97/7         115/14                    79/12 79/16 82/3 93/24 drew [2] 64/9 65/21
78/5 81/3 81/4 81/9
                        98/25 99/1 99/1 99/1         discussions [1] 113/24 93/25 97/17 108/14          drilled [1] 85/16
81/20 82/2 82/4 83/11
                        99/21 100/10 100/11          disenfranchise     [1]    118/10 120/23            driving [1] 72/17
depending [4] 5/9 8/3
                        101/21 102/13 103/3          105/1                     doesn't  [11]  6/11 16/8 drop [1] 108/6
40/16 40/21
                        103/16 103/25 105/14 disenfranchising [1]              21/1 38/7 81/10 93/6     drug [2] 122/21 122/22
depends [2] 57/3 57/5
                        105/16 106/1 107/17          105/3                     93/24 113/20 113/20      due [6] 25/18 26/11
DeploraBall [1] 97/4
                        111/13 114/6                 disguise   [1]   125/7    119/6 121/20              42/11 73/21 75/13
deplorable [1] 90/1
                        Did  anybody     [1]  47/5 dishonorably [1]            doesn't  apply  [1]       115/25
descending [1] 52/14
                        did you  [1]   41/7          115/24                    81/10                    duly  [1] 16/5
described [6] 16/22
                        didn't [45]   19/25 47/25 disjointed [1] 58/14         dog  [2]  117/13 117/13 dump [1] 107/3
31/23 31/24 47/1 81/7
                        47/25 49/5 49/6 50/5         disparities [3] 109/23 doggedly [1] 85/16          during [4] 46/6 85/21
116/23
                        54/1 54/16 55/3 55/3         110/1 110/14              doing  [10]  11/13 36/1 85/22 100/6
description [1] 78/8
                        55/4 55/5 56/5 56/7          display [1] 115/1         40/13 60/1 62/18 79/2 duty [3] 54/9 79/2
designates [1] 77/24
                        56/9 56/9 56/10 56/10 disposal [1] 53/7                98/19 103/19 107/2        101/15
designating [1] 32/10
                        58/1 67/22 68/14 68/14 dispositive [1] 29/17           115/5
designed [1] 125/6                                                                                      E
                        68/19 68/20 69/1 71/22 dispute [6] 43/6 43/17 DOJ [1] 41/11
desires [1] 96/10
                        90/1 90/18 90/20 90/21 46/12 46/21 50/9                Dolan [14] 18/15 30/9 each [10] 6/4 6/11 9/7
desks [1] 124/15
                        91/7 92/3 92/23 92/24 116/18                           43/4 43/24 43/25 44/2 9/8 23/14 23/20 29/21
desperately [1] 88/17                                                                                    50/11 107/23 122/5
                        98/20 101/1 101/13           disputed    [1]  44/17    44/2 44/5 45/3 47/9
despite [3] 80/22 96/10
                        101/17 102/18 112/9          disputes   [6]   12/16    49/19 50/23 54/21        earlier [6] 8/19 21/21
103/7
                        113/9 113/14 113/15          14/17 15/1 41/6 41/12 71/14                         55/12 70/1 76/6 77/3
destroy [1] 56/10
                        114/2 121/12                 52/24                     Dolan's [7] 17/25        early [1] 42/18
destroyed [1] 56/2
                        died [1] 90/3                disrupt [3] 54/5 54/13 44/13 44/24 45/7 45/13 earned [1] 116/1
destroying [1] 96/20
                        difference [4] 27/22         74/4                      46/25 69/22              easier [1] 24/6
destruction [2] 38/7
                        98/21 105/11 105/17          distribute [1] 20/13      dollar [3] 28/16 28/24 east [3] 11/3 19/14
38/13
                        different [12] 10/8          distributed [1] 20/19     29/2                      50/20
detail [3] 61/5 117/4
                        10/15 25/22 26/24 28/2 district [9] 1/1 1/1 1/10 Don [3] 102/7 102/7            echoed [1] 25/21
119/7
                        35/14 53/1 57/16 82/5 40/6 53/20 114/15                102/8                    eclipses [1] 81/18
detailed [3] 52/23
                        90/14 105/17 109/24          125/21 126/4 126/10       don't [57]  5/16 9/21    edge [1] 102/16
72/10 89/11
                        differentiates    [1]  94/18 divided [1] 107/7         11/8 11/19 13/25 14/19 educated [1] 115/20
details [1] 64/17
                        digital [1] 123/24           division [1] 108/10       17/8 19/14 21/19 23/6 education [2] 116/7
detain [1] 112/16
                        diminishes    [1]   112/12 divorced [1] 115/18         28/6 37/12 37/12 38/16 116/24
detention [2] 42/19
                        direct [6]  18/25 19/18 divvy [1] 41/11                40/21 41/24 42/22 48/2 educational [1] 109/22
89/9
                        19/19 44/25 48/1             DNA   [1]  122/24         51/9 52/17 52/21 54/7 Edward [2] 2/10 3/9
deter [3] 99/13 99/16
                        107/24                       do [82]   6/8 7/25 10/10 55/25 56/2 56/3 57/17 Edward Tarpley [1]
107/11
                        directed [8] 24/16 47/8 14/25 15/2 16/14 17/18 60/17 62/1 67/9 68/3              3/9
determinations [1]
                        66/13 69/11 72/2 77/11 17/19 17/19 18/5 18/14 70/7 71/4 71/6 73/4               Edwards [2] 1/15 3/6
22/2
                        110/7 122/25                 20/8 23/17 23/19 31/17 73/7 75/20 77/6 77/7        edwardtarpley [1] 2/12
determine [1] 124/16
                        directing  [2]   39/23       39/14 40/2 40/8 40/14 79/4 89/18 89/19 89/21 effect [5] 36/23 37/7
determined [2] 82/9                                                                                      47/4 99/5 114/20
                        62/16                        42/6 42/10 43/10 43/13 93/12 95/25 95/25
122/23
                        direction  [3]   30/23       43/21 44/18 45/5 47/12 99/15 99/16 99/19           effectively [2] 106/1
deterred [1] 98/25                                                                                       124/19
                        57/5 86/10                   47/18 47/20 48/5 48/13 100/2 102/6 103/24
deterrence [6] 86/17
                        directions   [2]   19/11     49/4 49/18 50/9 51/9      106/1 110/8 113/18       effectuate [1] 10/9
87/5 99/6 109/20
                        30/20                        51/12 51/12 51/19         116/10 116/12 117/3      effing [1] 72/16
115/15 115/15
                        directly [6] 19/4 25/9       52/10 52/10 53/13         done [17] 42/20 43/11 effort [5] 28/8 28/14
development [1]                                                                                          28/17 28/21 112/21
                        39/3 39/23 46/5 47/17 53/13 53/25 54/6 55/2 47/15 62/10 67/20
118/24
                        director  [1]  87/15         56/5 57/13 58/6 60/3      67/21 68/19 71/20        efforts [4] 26/17 81/15
device [3] 123/22                                                                                        85/11 86/7
125/2 125/9             directs [1] 25/3             60/4 62/13 63/21 73/14 95/11 95/12 96/23
                        disagree [6]    37/11        75/12   78/21   79/9 79/9 103/13   103/14  106/15  eight  [6] 24/19 25/11
devices [3] 124/15
                        37/18 41/23 46/2 48/2 80/16 82/23 89/14                106/16 106/17 116/17 75/13 83/1 83/4 84/16
125/5 125/14
                        79/3                         89/24 90/6 93/13 93/15 door [2] 11/10 74/21        eight-level [1] 83/1
devolve [1] 117/17
                        disagreements [1]            93/21 93/24 93/25         doors [11] 11/3 11/4     eight-point [1] 75/13
dicta [1] 9/4
                        113/23                       98/12 102/12 102/23       11/4 19/10 19/13 43/13 either [14] 11/25 12/1
did [82] 4/6 6/21 9/13                                                                                   14/21 22/5 31/6 34/12
                        disaster [1] 95/11           106/6 106/23 106/25       50/1 50/1 50/21 56/9
9/13 9/20 10/10 18/24
                        discharged     [1]  115/25 107/3 107/5 113/9           74/21                     47/17 47/25 63/2 82/1
18/25 19/18 19/22
                        disclosed   [1]   15/17      113/19 118/7 119/18       doubt  [3]  20/4 68/3     86/3 94/15 108/15
19/23 20/5 21/10 29/8
                        Discord   [1]  125/12        119/18 121/17 126/15 69/14                          119/16
29/21 33/16 33/22 37/3
                        discourage     [1]  81/9     do you   [5]  47/12 48/13 dovetails [1] 51/17      elaborate [1] 64/11
38/5 38/11 39/2 39/4
                                                                                                                                 136


E Case 1:22-cr-00015-APM
                  121/25                     Document    817
                                                     76/13         Filed
                                                            80/7 93/1      02/27/24
                                                                       97/20  excusing [1]   Page 95/7136 of73/19
                                                                                                              151 73/24 75/17
                         engaged    [5]   23/4 23/14 99/10 103/25 107/8       execute     [2]  93/6         75/20 75/23 76/5 80/6
elderly [2] 97/9 98/11
                          58/5 60/24 112/9           107/12 119/8              126/11                       80/23 94/6 107/21
elected [1] 16/6
                         engagement [1]             event [11] 6/1 6/2 6/4 execution [1] 65/3              factions [1] 18/4
election [26] 15/10
                          117/10                     20/14 78/23 90/4         executive [3] 87/15          factor [5] 5/13 5/14 9/1
 15/16 24/23 35/25 37/3
                         enhancement [31]            100/18 100/24 101/4       107/21 119/17                9/7 29/18
 40/1 51/1 53/10 54/15
                          3/23 7/18 8/6 8/10 8/21 103/3 117/8                 exercise     [2]  8/21 95/23 factors [8] 5/13 39/20
 57/24 60/25 61/2 64/25
                          9/8 29/11 31/11 32/23 events [8] 10/15 39/4 exercised [6] 9/12 24/8 60/3 60/8 81/9 109/11
 84/3 84/23 85/18 87/2
                          34/11 34/11 35/20          76/13 90/18 90/21         33/12 33/20 33/25 34/6 109/15 111/4
 88/6 88/7 90/12 90/15
                          38/24 38/25 41/15          91/21 91/23 99/12        exercising      [1] 35/5     facts [16] 4/13 10/14
 91/9 107/21 114/3
                          55/13 56/17 57/17         ever [15]   41/20 43/20 exhaustive [1] 16/15            14/16 14/18 26/20 40/2
 114/22 119/12
                          57/18 58/8 75/14 75/15 44/8 44/8 46/21 50/18 Exhibit [5] 16/12 16/13 48/25 56/18 57/23 64/2
elections [2] 105/2
                          75/23 78/3 78/9 79/8       50/19 50/25 51/22         32/3 33/7 87/14              64/6 64/9 64/10 78/18
 114/21
                          79/18 79/19 80/5 80/8 62/11 62/13 63/5 97/19 Exhibit 6701 [1] 32/3                89/12 110/16
electoral [9] 60/25 61/9
                          83/1                       99/9 121/8               Exhibit    6923    [1]  33/7 factual [22] 5/4 12/16
 61/10 61/21 62/4 62/4
 62/12 63/6 63/8         enhancements [2]           every [5] 13/22 92/20 exhibited [1] 76/19               12/23 14/17 14/23 15/1
                          3/20 3/22                  106/5 107/9 114/22       exhibits    [1]   13/23       20/15 22/1 23/16 26/14
electors [4] 43/15 46/9
                         enough    [2]   5/14 70/13 everybody [4] 3/17        existed    [3]   46/22 106/4 28/5 28/16 28/24 32/19
 58/24 107/25
                         enrolled [1] 115/23         67/3 95/8 96/3            112/24                       40/2 41/6 42/5 43/17
electronic [1] 67/21
                         ensure   [3]   80/10 86/19 everyone [11] 3/14        exists   [1]   125/1          46/20 50/9 51/25 80/17
element [3] 8/24 37/9
                          124/8                      11/24 63/12 63/20 67/4 expansion [1] 26/15            factual-based    [1] 42/5
 78/8
                         enter  [6]  19/19 24/17     100/9 108/23 109/5       expect    [1]   125/22       factually   [2] 24/2 58/9
elements [1] 112/20
                          73/16 99/1 120/24          109/7 118/15 118/16      expectations [1]             failure [1] 27/16
elicited [4] 43/18 44/10
                          125/25                    everything   [5]  24/1     122/15                      fair [1] 114/16
 45/16 61/15
                         entered   [7]   12/1 19/16 48/17 64/13 91/9 106/6 expend [2] 27/1 27/3 false [2] 85/18 108/3
Ellipse [1] 101/3
                          63/1 69/8 76/20 123/3 everywhere [1] 37/17 expenditure [3] 27/6 families [1] 97/9
ELMER [3] 1/6 2/2 3/4
                          126/24                    evidence [60] 11/5         27/14 27/18                 far [7] 28/3 37/15 41/23
Elmer Stewart Rhodes
                         entering   [1]   98/1       15/8 15/11 16/15 16/17 expense [1] 28/3                41/24 80/7 92/7 115/9
 III [1] 3/4
                         enterprise    [1]  112/7    17/4 18/12 19/18 20/3 experience [1] 104/14 Fascism [1] 97/11
else [13] 11/24 39/23
 55/3 62/9 65/9 67/2     enters [1] 126/18           21/24 21/25 29/13 30/2 experienced [4] 4/17 fashion [2] 50/5 51/13
                         entire [3] 100/20 106/4 32/2 38/9 44/15 50/6          34/1 48/17 104/5            fatal [1] 87/3
 67/4 72/3 96/7 100/11
                          121/8                      52/20 52/22 52/25 53/6 explain [1] 110/8              Fathers [1] 85/19
 104/1 113/17 127/3
                         entry [3] 69/18 73/16       53/8 54/17 54/25 55/25 explained [3] 18/2 18/3 FBI [1] 26/23
else's [3] 96/4 104/11
                          97/17                      56/23 56/23 61/19         84/7                        fear [7] 17/9 75/10 90/6
 104/11
                         enumerated [1] 78/10 61/21 62/13 64/11               explanation [2] 68/23 90/6 90/7 93/13 96/2
Email [5] 1/18 1/19 2/5
 2/9 2/12                equipment [3] 20/12         64/15 64/16 64/19         68/23                       featured [1] 105/19
                          30/18 36/17                64/20 65/5 65/20 66/8 explicit [1] 45/3               February [2] 42/18
embarked [1] 112/2
                         equivalent    [1]   79/8    66/23 67/19 69/16        explicitly    [3]   24/15     104/17
emblematic [1] 115/7
                         equivocal    [2]   47/1     69/20 69/21 69/25 71/9 25/3 32/3                      federal   [6] 38/13 61/1
emergency [2] 16/20
                          71/16                      72/19 73/7 73/14 73/20 exploit [1] 86/11               62/7 112/15 117/6
 112/21
                         escort [2] 97/5 98/11       87/7 89/13 90/14 90/25 expose [2] 107/4                122/18
emit [1] 21/10
                         escorting    [1]  101/3     91/16 91/19 92/25 95/2 108/18                         feel  [4] 41/24 104/14
emotionally [1] 104/6
                         escorts   [2]   97/7 98/9   101/20 116/11 125/3      expressed       [1]  93/25    104/15 107/12
emphasizes [1] 116/5
                         espousing [1] 15/14        evidentiary [3] 49/5      expressly [1] 15/17          feeling [1] 31/24
employ [1] 5/8
               35/3      essence [1] 73/24           65/8 65/8                extensive [10] 29/6          feels [1] 39/21
employee [1]
                         essential   [2]   14/19    ex [1]  87/14              56/17 56/22 57/3 57/6 fellow [1] 66/4
employer [1] 35/2
                          86/20                     ex-wife [1] 87/14          57/11 76/9 76/12 76/14 felony [1] 38/12
employment [1] 53/17
                         essentially    [7]  5/7    exact  [4]  19/16 71/18    83/7                        few [4] 21/8 92/8 92/10
en [1] 9/2
                          11/23 25/19 26/1 26/3 100/7 105/15                  extensively      [2]   24/7   108/22
en banc [1] 9/2
                          26/7 85/8                 exactly  [7] 6/12 6/21     29/9                        fiction  [1] 6/14
enacted [1] 112/22
                         establish [4] 5/14 76/7 19/14 47/19 71/16            extremely [1] 70/1           field [1] 26/24
encompasses [2]
                          77/20 122/15               71/24 73/10              extremist [4] 113/21         Fifth [1] 44/22
 22/16 23/20
                         established     [2]  20/9  example    [15]  5/11 6/6 123/8 123/14 124/2           fight [6] 16/10 18/2
encourage [1] 86/5
                          74/2                       15/13 15/17 27/25        eyes   [2]   48/13 100/2      36/10 94/23 99/15
encouraged [1] 24/10
                         establishes     [1]  79/9   30/20 33/11 33/24                                      118/13
encrypt [1] 125/6                                                             F
                         estimates    [1]   27/16    40/12 48/11 48/13                                     fighters   [1] 117/13
end [9] 4/4 11/7 38/22
                         et [4]  10/23 123/25        77/21 98/4 106/15        F.3d [2] 27/11 35/10         fighting   [2] 102/17
 40/16 40/20 49/23
                          124/15 125/13              106/22                   fabric [1] 118/2              103/8
 60/14 61/8 112/2
                         et cetera [3] 123/25       examples [2] 21/21        face [5] 88/15 90/7          fightings [1] 18/4
ended [5] 3/19 8/8                                                             90/8 90/9 91/25
                          124/15 125/13              87/23                                                 figure [3] 28/24 28/25
 19/14 47/24 57/15
                         evaluating [1] 9/7         exception [3] 64/11       faced [1] 75/1                118/4
endorsed [1] 5/23
                         eve [3] 72/23 120/21        80/21 102/11             facilitates [1] 24/25        file [3] 32/9 126/17
ends [5] 47/21 71/8
                          121/3                     exceptional [1] 81/3      fact [34] 4/9 6/4 6/5 6/9 126/20
 74/4 111/24 117/19
                         even [25] 5/18 8/16        excited [2] 91/23 93/12 7/23 8/23 9/14 24/13           filed [2] 104/18 104/19
enduring [2] 114/19
                          21/20 26/18 28/15         excuse   [4]  11/3 19/19 46/3 47/20 55/5 61/17 filing [1] 50/22
 114/25
                          28/18 29/3 33/15 34/2 78/8 125/5                     63/1 66/17 66/24 67/10 final [4] 9/10 11/20
enforcement [3] 27/15                                                          67/22 68/8 68/25 69/17 13/5 84/24
                          36/9 42/11 44/22 50/25 excuses [2] 86/8
 28/7 117/9
                          56/25 59/14 69/10          103/24                    69/17 70/5 73/15 73/17 finally [3] 21/17 22/25
engage [3] 18/3 59/18
                                                                                                                              137


F Case 1:22-cr-00015-APM         Document
                  36/9 36/11 36/16          817 [1]
                                   39/6 functioning Filed 02/27/24
                                                       124/19           Page33/2
                                                              goals [6] 23/11 137 ofgovernment's
                                                                                     151         [30] 4/6
                           64/24 65/2 66/12 69/3 further [9] 25/13 32/24 85/4 86/13 87/6 117/19 12/6 13/7 13/13 16/12
finally... [1] 101/21
                           69/9 69/10 74/6 78/22 55/22 61/17 66/8 66/15 goes [9] 6/13 40/17               16/13 17/11 17/13 23/9
financial [6] 4/16 4/16
                           78/25 79/1 84/1 84/18 71/9 122/7 124/4               55/8 55/23 56/17 58/9 23/13 24/1 27/15 32/2
 125/17 125/18 126/2
                           86/25 88/2 99/13 113/4 furtherance [5] 21/13 71/9 92/19 93/7                   34/9 36/21 38/15 43/11
 126/6
                           113/10                        21/15 22/23 65/17      goggles [1] 100/1         43/25 44/10 46/6 54/3
find [25] 20/4 20/5
                          foregoing       [1]   128/3    74/18                  going  [67]   9/6 9/21    54/7 57/7 58/17 59/11
 20/25 21/3 26/8 26/14
                          foreign     [1]   110/20      furthermore  [1] 62/11 11/14 11/15 12/11          61/23 78/4 87/13 87/14
 34/4 35/15 35/22 38/10
                          foreseeability        [1] 5/5 future [2] 86/17 120/25 17/18 17/19 17/20 18/7 92/6
 59/6 63/23 65/4 65/5
 65/12 67/16 70/10        foreseeable [10] 22/24                                29/20 37/10 41/5 42/8 government: [1]
                           23/17 24/3 65/18 68/5 G                              43/3 43/21 43/22 49/15 116/24
 73/14 75/13 75/20
                           69/6 69/7 69/12 73/18 GA [1] 16/8                    51/1 51/3 51/23 53/21 government: his [1]
 87/17 101/12 104/13
                           74/17                        GA OK General [1]       53/22 55/8 58/6 58/7      116/24
 110/8 121/23
                          foreseen       [2]  23/23      16/8                   60/7 60/17 63/22 64/7 Governor [1] 91/12
finding [9] 42/5 46/5
                           68/8                         gain [1] 75/2           64/18 67/8 71/2 72/23 grad [1] 73/12
 60/9 64/10 64/14 65/7
                          forget    [2]   39/11 115/12 game [1] 39/13           73/5 76/11 76/19 80/7 graduate [1] 21/1
 73/19 119/17 120/18
                          form   [1]    23/15           gaming [1] 125/9        88/8 88/11 88/12 88/13 Graduated [1] 115/20
findings [6] 24/13
                          formal     [1]   35/4         garb [2] 100/6 100/7    88/13 97/12 97/21         granted [1] 53/11
 24/14 41/9 42/12 42/22
                          formally      [1]  55/19      gathering [1] 76/15     99/18 100/24 101/2        grasp  [2] 14/23 89/12
 68/2
                          formed      [3]   57/9 57/10 gave [5] 9/15 20/11      101/2 101/11 101/11       grass  [1]  49/21
finds [1] 33/16                                          55/13 67/13 86/9
                           112/4                                                102/6 102/16 102/17       Graydon    [1] 46/14
fine [1] 83/15
                          former     [5]   21/12 61/4 gear [1] 25/6             106/10 106/19 107/11 Graydon Young [1]
firearms [6] 18/20 20/5
                           86/3 102/3 113/19            general [7] 15/7 16/8   107/11 107/12 107/14 46/14
 30/21 33/25 84/22
                          forth   [4]    7/8 109/11      16/18 33/2 62/15 86/17 108/6 108/10 109/24       great [5] 37/13 61/5
 117/5
                           109/14 109/25                 115/15                 117/10 117/12 117/13 84/9 88/17 93/16
firecrackers [1] 99/17
                          fortunately [1] 121/8 generates [1] 112/5             119/16 119/23             greater [3] 9/15 109/13
first [19] 3/23 15/7 16/4
                          forward      [10]    9/6 13/7 George [1] 4/7          gone  [8]  47/3 68/6 68/6 111/18
 19/2 25/3 40/1 44/7
                           29/20 41/9 42/14 54/16 Georgetown [1] 87/16 69/14 72/11 80/22                  green [1] 70/12
 44/8 56/6 63/22 69/25
                           55/9 72/23 76/14 110/2 get [23] 9/20 9/21            91/11 101/23              Greene [23] 32/11
 70/15 78/16 87/8 95/3
                          found     [17]    15/11 21/23 11/14 11/25 12/2 23/6 good [14] 3/2 3/14          32/15 32/17 44/22 45/8
 95/5 96/21 100/12
                           24/15 25/2 26/1 26/3          30/25 38/19 45/25      14/23 43/20 52/3 52/5 45/9 45/11 45/12 45/21
 105/10
                           26/5 42/13 42/24 78/18 46/18 54/9 70/19 70/21 52/6 89/12 102/11                52/10 52/13 53/17
First Amendment [1]
                           79/25 83/24 84/4 85/5 71/22 79/12 79/12              106/15 106/22 118/25 54/12 54/22 77/24
 96/21
                           105/15 114/17 120/20 93/10 94/9 101/8                119/1 127/8               101/7 101/15 101/22
fit [2] 35/13 96/3                                       101/13 101/18 103/4
                          founded [2] 105/6                                     Good morning [1]          101/24 102/2 102/6
fits [2] 36/22 110/24                                    113/15
                           116/3                                                52/3                      102/7 102/21
five [1] 50/3
                          founder      [3]   29/24 77/5 gets [3] 12/1 86/25     Gosh  [1]   48/18         Greene's   [5] 19/18
five-year-old [1] 50/3                                   93/12
                           116/21                                               got [26]  17/15 44/10     19/21 67/23 72/9 72/12
fix [2] 107/6 119/21
                          Founders [1] 120/19 getting [4] 17/7 31/13 44/11 50/23 54/22                    Greg [1] 15/20
fixed [1] 17/22                                          59/7 102/24
                          Founders'        [2]  119/20                          54/23 54/23 54/23         Greg Smith [1] 15/20
flagpole [1] 103/12
                           121/15                       ginned [1] 96/6         55/11 57/12 57/21         grievance [1] 119/14
floor [1] 79/10
                          founding       [3]   85/19    Giuliani [1] 104/19     72/17 91/3 91/4 91/4      grievances [1] 119/10
focal [1] 99/6
                           116/8 116/25                 give [14] 4/4 12/10     91/5 91/23 92/20 95/9 grossly [2] 107/10
focus [4] 59/25 60/1                                     17/8 52/12 55/5 85/24 95/20 95/22 96/6 102/7 119/12
 85/13 107/15             four [12] 8/10 34/12
                           57/18 77/2 77/20 78/3 91/8 93/20 94/1 95/19 103/5 104/6 106/11                 ground [2] 73/17 99/18
focused [2] 105/10                                       95/21 96/15 99/23
                           81/13 83/9 86/1 88/3                                 gotten  [2]  92/9 96/1    group [23] 7/15 25/3
 106/25
                           88/14 94/2                    108/22                 governed    [1]  61/1     25/3 25/4 31/2 31/3
folks [2] 70/11 98/4
                          four-level      [2]  57/18    given [12] 6/22 8/1     governing    [1]  65/3    39/2 49/25 54/9 54/13
follow [7] 7/11 23/8                                     9/16 19/24 46/7 48/8
                           78/3                                                 government      [71] 1/14 76/4 77/13 81/19 82/14
 26/16 28/13 52/7 55/7
                          foursquare [1] 78/8            49/11 54/21 55/6 70/10 3/7 6/24 8/10 8/16        82/20 86/25 97/3
 67/8
                          frankly [5] 4/13 38/4          100/17 117/7           10/21 13/23 14/3 18/3 111/23 112/1 112/4
follow-through [1]
                           104/13 113/7 118/4           gives [1] 40/13         18/3 20/7 22/9 25/14      114/1 123/8 123/14
 55/7
                          fraud    [2]   85/18 108/3 giving [7] 21/6 29/19      26/15 26/25 27/3 27/7 groups [7] 76/17 76/20
followed [4] 26/17 54/8                                  30/20 34/19 70/4 70/13 27/19 27/24 28/7 31/14 82/18 99/8 99/14
 66/22 85/6               free [7] 48/8 48/12
                           48/14 48/17 96/21             93/21                  33/6 36/4 36/9 36/19      105/23 124/3
followers [3] 85/3
                           96/25 100/12                 gmail.com [1] 2/9       36/24 37/1 43/18 45/18 growing [1] 115/17
 85/15 85/17
                          freedom [1] 88/5              go [39] 6/10 12/12      49/1 49/11 49/18 51/11 guard [1] 93/8
following [9] 14/15                                      12/18 14/20 25/4 43/10 53/14 53/15 53/19
                          freelancing       [1]   47/13                                                   guess [1] 67/19
 30/7 64/24 68/4 84/3
                          Freenet      [1]   125/8       46/8 49/15 49/16 49/21 55/24 56/20 57/14 60/6 guided [1] 31/6
 86/12 111/9 122/12
                          friendship [1] 53/16           49/25 50/1 50/5 50/6   62/16 65/2 74/7 78/14 Guideline [9] 7/13
 123/4
                          frozen [1] 99/25               51/9 51/20 52/16 52/17 78/15 78/21 80/3 82/15 34/10 37/25 78/11
follows [1] 82/7
                          fucking [3] 17/22 45/6 53/13 53/21 53/22 54/4 83/18 83/20 84/2 86/16 79/15 79/16 82/12
foment [1] 114/5                                         54/5 54/10 54/15 54/17 87/3 87/19 88/1 88/21 82/13 82/23
                           45/23
fools [2] 108/13 108/14                                  55/3 62/22 69/1 70/25 90/5 93/14 93/15 107/4 Guidelines [27] 7/19
                          fulfill [1] 60/7
foot [1] 31/20                                           72/25 73/1 86/9 90/12 107/12 112/15 113/4
                          fulfilled    [1]  42/7                                                          7/21 7/22 8/24 12/24
force [34] 6/7 16/19                                     92/24 93/1 97/5 100/10 113/11 117/2 117/6
                          full [7]    23/24 38/6                                                          13/2 22/7 22/11 23/2
 16/19 17/1 18/6 18/13
                           47/18 49/17 49/18             112/9                  118/9 120/4 120/8         29/14 34/14 37/20
 18/19 18/22 24/23
                           50/14 126/7                  goal [2] 87/5 108/17    121/11 121/17             40/16 40/17 40/19
 24/25 25/1 33/6 35/25
                                                                                                                                     138


G Case 1:22-cr-00015-APM         Document
                  54/11 63/1 67/25           817
                                   72/24 52/21       Filed 02/27/24
                                               56/23 71/14     19/22 20/6Page   138 of117/8
                                                                          20/6 20/13   151 119/18
                       73/4 89/25 91/9 91/15 71/22 72/3 76/2 86/3                  20/15 20/17 20/21 21/9 Howell [1] 25/25
Guidelines... [12]
                       95/7 118/23                  116/10 120/2                   21/14 30/13 33/5 35/3 however [17] 4/18 5/6
63/25 73/21 79/4 79/7
                       happening [1] 102/14 hearing [10] 3/19                      38/11 39/15 44/3 44/6 5/22 10/10 10/15 64/8
81/22 81/24 82/6 83/14
                       happens [1] 118/13           15/12 42/19 45/2 46/25 44/22 45/3 46/11 47/6 81/4 81/11 82/9 89/6
83/16 83/24 109/8
                       happy [2] 22/5 41/23         58/16 83/17 84/13 90/2 49/11 53/7 56/25 57/5 90/5 90/18 93/20
109/10
                       hard [7] 14/10 21/3          121/22                         58/1 61/7 62/11 62/16 108/16 110/12 116/19
Guidelines Range [1]
                       28/22 36/1 39/11 70/10 hearings [4] 23/7                    63/2 65/11 65/15 66/11 125/21
83/24
                       70/13                        35/17 84/8 84/14               66/15 66/25 67/1 67/1 Hughes [2] 1/15 3/6
guiding [1] 97/3
                       hardship     [1]  4/16       heart   [1]   104/4            68/14 69/13 71/18 72/4 human [1] 89/16
guilt [4] 66/24 73/7
                       hardworking       [1]  84/10 heart-rending [1]              73/5 74/15 76/4 77/11 hundreds [8] 53/25
80/17 104/16
                       harm   [7]   6/11 10/4 23/3 104/4                           77/13 78/19 81/11              57/4 68/21 85/2 85/6
guilty [3] 67/16 85/5
                       24/20 39/24 74/10 75/9 hell [2] 48/19 68/13                 84/16 85/3 85/11 85/12 97/16 99/11 99/11
105/15
                       harmed [2] 25/8              helmets [1] 99/24              85/12 85/14 85/17            hung [1] 119/5
gun [2] 20/1 103/12
                       112/10                       help   [2]   107/11 108/15 85/19 86/8 86/13 86/22 hurricanes [1] 116/16
guns [8] 30/21 31/9
52/18 53/20 53/23      Harrelson [5] 30/11          helped [3] 31/8 116/16 87/14 88/4 88/19 91/22 hurry [1] 50/5
                       43/4 44/7 49/19 75/7         116/17                         91/23 94/5 94/5 94/6         hurt [2] 90/3 99/18
54/10 55/4 98/4
                       has  [66]   7/3 8/1 8/10     her  [5]   75/9 103/17         94/24 95/7 95/10 96/3 hypothetical [2] 52/12
gut [1] 28/5
                       8/25 9/5 9/24 10/3           103/19 103/19 117/23 96/15 98/6 103/21                        91/8
guy [12] 52/13 52/14
                       10/21 12/14 13/23 14/6 here [47] 3/16 5/16                  103/22 110/25 111/11
53/16 53/18 54/11 55/6                                                                                          I
                       15/2 17/14 18/24 19/17 6/13 8/1 23/25 27/22                 112/11 116/6 116/7
73/13 92/18 113/15
                       24/13 25/2 25/19 25/21 29/2 29/13 29/21 29/22 116/7 116/24 116/24                        I also [4] 65/4 65/5
113/15 113/22 114/11
                       28/19 29/8 31/17 34/20 30/22 30/24 35/6 37/12 116/24 116/25                                102/10 103/3
guys [7] 93/21 94/2
                       42/5 42/13 42/16 50/2 38/9 38/23 40/8 40/13 historic [2] 39/25                           I am [5] 8/15 64/10
99/20 99/23 100/19
                       51/6 52/9 60/6 60/16         44/24 44/24 44/25 45/1 88/19                                  64/20 64/21 81/14
102/19 102/23
                       80/14 80/24 81/2 81/7 48/21 54/9 55/1 64/7                  historical [1] 87/11         I apologize [2] 45/10
H                      82/8 83/24 84/4 84/7         67/14 68/2 77/9 77/19 histories [1] 92/22                     58/14
                       84/8   84/11    85/5 86/17   80/20    81/10   81/14   82/3  history   [11]   38/19  40/2 I  assume [1] 11/22
Hackett [2] 30/13
                       87/18    89/6   90/10  91/19 85/13    86/17   87/4   89/2   83/13   84/9   93/2  95/9    I believe [9] 29/16
118/11
                                                                                                                  42/22 55/14 58/25
had [87] 3/19 3/24 4/2 92/23 95/12 101/20           90/1 91/14 93/23 107/3 95/17 109/16 115/11
                       104/14    105/8   105/8      114/10     114/13    120/1     115/13    117/3                60/14 72/7 81/12 89/12
5/11 14/7 14/9 14/10
                       105/9    106/15   106/16     125/23     126/4               hit [2]  98/6   103/12         107/6
17/2 19/8 25/13 26/25
27/3 32/7 34/14 34/14  106/17    110/1   112/2      here's   [2]   69/25   111/14  hitch  [1]  99/23            I  can [3] 20/16 40/20
                       114/20    115/18   117/22    hereby     [1]  122/3          hold  [1]   114/22             69/16
41/6 41/7 41/13 42/18
42/24 42/25 43/1 43/20 119/24 119/24 120/9          heroism [2] 115/1              home [1] 72/17               I cannot [1] 108/7
45/4 45/15 45/17 48/22 121/21                       115/8                          honest    [3]  44/2  49/12   I couldn't [3] 71/23
                       hasn't   [3]   40/10  40/12  Hey   [3]   53/13   53/21      61/25                          101/7 102/15
51/20 52/23 52/24 53/6
53/9 53/24 53/25 55/6  81/25                        54/9                           Honor   [32]    3/2 13/25    I  did [8] 4/6 9/13 9/13
                       hates   [1]  105/24          hierarchical      [10]  29/21  14/2  22/8   33/13   41/3      9/20 42/15 45/19
57/3 60/14 61/4 66/5
66/11 67/17 67/19      have [181]                   35/2 35/3 47/14 51/13 41/18 42/3 42/22 44/5 100/10 102/13
67/20 68/9 68/25 69/2  haven't    [1]  55/19        70/2 70/2 70/17 77/22 51/25 52/3 58/13 60/13 I didn't [3] 71/22 90/1
                       having    [14]   33/5  44/7  78/1                           60/19 60/21 61/14              101/17
69/9 70/18 71/20 72/10
72/11 73/3 73/4 74/1   44/24    44/24   45/6  45/7  hierarchically      [1]        62/14   62/25    63/3  63/10 I  don't [21] 5/16 9/21
                       45/12    45/13   47/3  47/17 34/22                          83/19   85/10    88/16  89/1   11/8 19/14 48/2 55/25
75/18 76/3 85/2 91/8
91/11 91/14 91/19 92/7 48/11 51/2 53/16 80/22 hierarchy [9] 29/16                  95/2 95/24 96/8 96/10 62/1 67/9 70/7 71/4
                       Hawa    [1]   28/19          30/6   30/24    32/4  32/20    106/12 108/8 127/6             71/6 73/4 73/7 89/19
92/13 92/22 93/2 95/6
                       he [198]                     35/12    51/15   51/18         HONORABLE          [3]  1/9    89/21 93/12 95/25
95/16 95/17 96/23
                       he didn't [1]     54/1       65/10                          63/18   109/2                  103/24 116/10 116/12
97/11 99/4 100/14
                       he said    [5]  20/16  47/6  high   [1]   11/7              Honorable      Amit  P.        117/3
100/17 101/23 102/21
103/17 103/23 106/3    68/16    72/21   88/11       higher    [1]   93/11          Mehta    [1]   63/18         I  have [13] 4/5 13/10
                       he'd  [1]   53/18            highest     [1]  80/6          hope   [5]  106/21    121/7    40/15 40/17 49/11
107/20 112/15 114/20
                       he'll [1] 90/6               Hill [3] 13/19 51/16           121/9 121/16 121/16            49/13 51/10 102/5
118/23 119/5 119/13
                       he's  [16]   17/19   17/20   115/2                          hotel  [7]  31/5   31/9        107/9 110/12 110/17
119/20 119/21 121/7
                       37/12    37/12   50/18       him   [37]    14/10  14/12     31/21   33/4   33/5  51/22     117/24 117/25
hadn't [1] 69/10
                       50/19    54/11   73/2  73/13 17/16    18/1   20/18   20/19  76/16                        I  hope [4] 106/21 121/7
half [7] 21/11 38/24
                       74/14    80/25   80/25  95/9 21/7   33/3    44/14  45/15    hours   [2]   28/23  67/3      121/9 121/16
44/25 47/16 89/5 89/7
89/17                  95/11 96/5 115/20            45/16 45/17 49/14              House [5] 16/10 60/23 I just [6] 34/16 51/24
                       head   [5]   31/19  47/21    53/13    54/6   65/4  65/14    61/5 61/16 74/10               56/14 75/6 94/8 103/6
hallmarks [1] 87/5
                       92/16    94/8   98/7         66/1   67/7    69/7  69/7      how [40]     8/1  8/2  10/2  I  know [6] 41/18 45/4
hallway [3] 74/25
                       headed     [1]   102/25      70/8   71/22    91/13   95/19  12/10   14/19    17/8  21/5    52/23 61/23 82/21
103/18 103/18
                       hear [10] 12/19 22/5         95/20 95/21 95/23 96/3 24/7 24/8 28/6 28/22                   90/24
halted [1] 63/5
                       29/10    36/10   40/25       101/6    101/7   101/8         28/23   29/16    30/10  32/4 I  mean [6] 27/23 29/5
hand [2] 17/10 18/11
                       44/25    45/1   58/25        102/22     102/22    103/23    36/10   39/9   40/16   41/18   67/19 72/14 91/16
handful [1] 81/9
hands [2] 50/12 119/18 104/10 107/17                104/1 104/23                   48/13 49/4 49/6 49/23 121/3
hang [1] 17/22         heard   [23]    13/2  22/7   himself     [3]  17/20   32/20 52/3 52/5 56/18 56/18 I presume [1] 3/17
happen [1] 62/20       30/4   43/20    44/21  45/7  73/9                           57/5 60/17 79/11 84/25 I say [3] 68/4 79/15
                       45/7   45/12    45/13  45/22 hired   [1]   104/24           85/4 85/23 86/4 96/3           106/20
happened [15] 20/17
24/1 43/23 48/20 54/7  46/1   47/2   52/20  52/20   his  [87]    9/4 15/18   17/2  102/8   110/24    113/8      I  should [3] 16/16 89/3
                                                                                                                                            139


I   Case 1:22-cr-00015-APM        Document
                    13/22 13/22 14/22      817
                                       124/2 124/14Filed
                                                   126/1002/27/24
                                                            institutionPage  139 ofis151
                                                                       [1] 79/23     [339]
                           20/10 41/22 41/24              including [10] 5/5            institutions [1] 87/25 issue [17] 8/8 9/10
I should... [1] 104/22
                           55/11 82/4 96/1 104/6 18/19 66/5 66/13 73/25 instruct [1] 100/11                             9/20 9/22 23/6 29/10
I think [81] 4/18 6/12
                           110/7 110/22 116/10             97/24 98/20 113/11           instructing [1] 19/5            34/21 35/19 42/15
 7/9 8/13 8/14 9/18
                           116/11 116/23                   125/9 126/25                 instruction [1] 20/13           44/17 46/20 48/4 50/6
 11/15 14/14 17/4 19/2
                          I2P [1] 125/8                   inconsistent [1] 15/10 instructions [1] 30/18 59/9 60/7 71/7 107/16
 20/2 22/9 23/8 25/24
                                      51/10 54/7          incorporated [1] 78/19 Insurrection [10] 15/22 issued [2] 110/3 123/2
 27/8 27/10 28/15 28/18 idea [4]
                           86/22 89/14                    incorporating [1]              16/9 16/21 16/22 17/3 issues [8] 3/20 9/18
 28/25 29/5 29/13 29/14
                          identical    [1]   49/3          64/13                         18/9 53/12 57/25 66/11 12/4 12/20 24/9 33/14
 30/25 31/16 33/22 34/2
                          identify   [2]   8/24 10/18 increase [3] 38/18 40/3 107/1                                     41/12 64/1
 35/5 35/14 35/19 36/6
                          ideological      [1]   124/4     79/6                         Insurrection      Act   [5]    it [266]
 37/2 37/5 37/6 37/8
                                         108/7            increases [1] 111/19           15/22 16/9 16/22 17/3 it would be [5] 7/3
 38/4 39/6 40/12 40/15 ignore [1]
                                  107/15 107/23           incredible [1] 67/20           53/12                          17/2 89/14 89/18
 40/16 41/10 46/3 47/4 II [2]
                          III [3]  1/6 2/2 3/4            incredibly     [4]   31/6     Insurrection      Act's   [1]   118/22
 48/4 51/17 51/21 53/6
                          illegally   [4]   17/21          39/10 104/22 107/6            18/9                          it's [66] 4/8 5/17 9/14
 54/19 55/9 55/11 58/7
                           53/10 53/19 53/22              independent        [1]  46/3 intend [1] 41/7                  9/24 10/6 10/22 11/25
 59/8 59/14 61/14 61/15
 64/19 67/14 69/20        illegitimate [1] 107/13 independently [2]                     intended [4] 36/3               14/25 19/15 21/20 23/8
                          illustrative    [1]   16/14      45/21 49/10                   38/12 42/1 43/12               23/22 23/25 24/5 25/10
 69/22 69/23 71/3 71/22
                          imagery     [1]   65/21         indicate    [1]   59/23       intent  [4]  7/5 15/18          26/7 34/5 35/10 38/15
 72/1 72/4 72/17 78/6
                          immediate       [4]   32/17     indicated     [2]   52/8       18/13 26/5                     39/22 40/6 46/19 47/24
 79/11 79/12 80/4 80/7
                           74/9 75/8 112/6                 62/16                        intention   [2]    21/22        48/8 49/4 50/8 51/3
 80/11 82/2 82/23 89/25
                          immediately        [5]   30/12 indicating [1] 61/20            118/20                         52/19 56/24 58/9 59/18
 93/14 93/16 93/17
                           44/14 123/15 124/6             indicted    [2]   16/4 57/14 intentions [1] 41/17             68/12 69/1 71/9 74/22
 95/10 96/11 96/14
                           126/3                          indictment      [3]   44/23   interact  [2]    123/6          77/4 77/4 79/14 82/8
 111/3 117/14
                          impartial    [1]    114/16       56/20 67/7                    123/14                         82/23 88/9 88/11 88/11
I understand [1] 10/21
                          impeded      [1]   63/5         individual     [7]   6/9 10/2 intercede [1] 37/4              88/13 90/4 90/22 96/11
I want [4] 52/7 55/9
                          implausible       [1]   42/25 35/16 111/19 113/3              intercept   [1]    101/10       99/17 105/4 105/18
 95/8 108/16
                          implicate     [1]    21/7        123/8 123/15                 interesting     [2]   4/8       105/18 106/9 106/17
I wanted [2] 101/12
                          implicit   [2]   34/25 46/16 individually [1] 6/3              48/24                          106/18 106/19 107/10
 102/22
                          implicitly    [2]    24/15      individuals      [6]  26/20 interfere [2] 46/8 65/3 107/11 107/11 108/1
I was [6] 72/17 100/21
                           25/2                            35/22 44/19 74/6             interference [10] 3/24 108/2 108/3 113/6
 100/22 101/9 101/18
                          imploring [1] 53/11              111/21 124/3                  25/18 26/11 29/4 55/16 113/9 116/8 117/16
 117/7
                          important [7] 10/16             induced [1] 22/17              56/11 75/16 75/20 76/8 117/21
I will [12] 8/4 9/6 12/19
                           14/25 64/1 68/3 79/24 infamous [1] 57/1                       83/5                          itinerant [1] 115/17
 13/1 13/1 20/10 46/1
                           87/6 120/5                     inference [1] 67/10           interpret [1] 49/4             its [17] 4/24 5/19 13/24
 64/11 96/18 110/8
                          importantly       [2]   65/18 inferences [2] 64/9             interpretation       [1]  38/3 29/3 37/25 52/23 54/3
 125/20 125/21
                           66/23                           64/15                        interpreted [1] 4/12            56/20 59/21 60/10
I'd [6] 3/21 17/22 42/3
                          impose     [3]   86/25 88/22 influence [3] 36/23              interrupt   [1]    106/7        79/23 80/3 86/24 95/1
 58/21 85/13 92/4
                           109/12                          37/7 78/13                   interview    [1]   119/11       107/22 124/19 124/21
I'll [14] 12/12 12/13
                          imposed      [6]   109/18       influenced      [1]   85/1    interviews     [1]    87/24    itself [9] 7/2 7/15 7/16
 15/5 19/20 19/21 38/21
                           111/1 112/19 122/15            inform   [1]    32/22         intimidate    [3]    36/18      34/10 42/6 66/13 74/18
 40/25 51/9 52/12 55/8
                           126/16 126/25                  information [3] 77/19 78/11 84/1                              79/16 108/4
 63/12 92/10 108/23
                          imposing      [1]    117/20      125/17 125/18                intimidation      [6]   36/4
 110/8
                          impossibility [1] 63/4 informed [1] 45/22                      36/24 37/8 78/14 78/22 J
I'm [43] 4/13 4/17 4/20
                          impossible       [1]   26/3     inherently     [1]   28/13     79/17                         J.D [1] 116/1
 9/4 9/21 11/16 11/17
                          improprieties        [1]  15/16 initial [1] 124/11            introduced      [6]    32/2    J6 [16] 56/24 56/25
 22/5 25/13 34/10 41/23
                          inaccurate      [1]   19/3      initially  [1]   34/14         33/6 61/19 61/22 62/13 90/8 90/8 90/9 90/17
 50/7 55/9 55/11 58/6
                                                          initiative [1] 15/22           72/22                          90/21 91/5 91/12 91/15
 63/22 64/7 64/13 64/18 inadvertently [2]
                           123/13 124/5                   injuries   [3]   74/13 74/19 investigate [1] 27/2             91/21 91/23 91/25
 65/7 65/9 68/1 68/17
                          inaugurated        [1]   97/13 74/19                          Investigation      [6]   12/14 100/9 102/13 103/10
 70/13 72/8 73/19 74/23
                          inauguration [3] 97/2 injury [6] 10/19 74/7                    12/18 13/11 14/8 15/5 J6er [1] 107/9
 78/12 82/21 93/22
                           97/5 97/18                      74/14 83/2 104/1              126/9                         J6ers [1] 107/8
 96/19 101/25 104/3
                          incarcerated        [1]  119/8 115/25                         investigative      [2]   26/16 Jackson [2] 75/3 87/12
 104/15 104/21 106/9
                          incarceration [3] 83/21 inside [6] 50/21 71/19 28/14                                         jail [2] 87/24 88/5
 107/14 107/15 108/6
                           83/22 86/16                     72/5 75/10 100/11            investigatory       [1]  28/8 James [9] 2/7 3/8
 109/24 119/23 120/11
                          incidentally [1] 25/22 101/23                                 invocation [4] 16/21            20/12 20/12 20/15
 121/22
                          incidents     [1]    99/22      inspire   [1]   65/22          16/22 18/8 18/9                32/13 77/13 77/25
I'm going [2] 63/22
                          incite   [1]  21/10             inspiring    [1]   84/20      invoke   [3]   53/12 57/25 103/21
 119/23
                          inclination [1] 48/16           install [1] 124/13             107/1                         James Lee Bright [1]
I'm just [2] 11/17 64/18
                          inclinations [2] 86/5           installation [3] 124/18 invoked [2] 17/3 66/10 3/8
I'm not [6] 50/7 68/1
                           86/12                           124/20 124/21                involved [7] 38/12 80/9 James' [1] 103/1
 70/13 72/8 107/15
                          inclined [1] 86/9               instance [1] 27/12             110/5 110/19 111/22           James's [1] 75/4
 108/6
                          include [4] 15/22 17/1 instances [1] 116/16                    117/5 123/9                   Jan. [3] 19/5 32/5 51/4
I'm not sure [3] 4/13
                           67/23 122/17                   instant [1] 123/24            involvement [1] 27/13 Jan. 6th [1] 51/4
 4/17 25/13
                          included [2] 94/6               instead [1] 59/25             involves [3] 9/25 82/14 January [48] 10/14
I'm sorry [2] 4/20                                                                                                      10/15 17/12 18/19
                           100/10                         instigated     [1]   24/9      113/7
 78/12
                          includes     [8]   5/3 8/17 instigators [1] 86/18 involving [1] 10/17                         20/19 21/5 24/12 26/22
I've [20] 12/12 13/2                                                                                                    28/9 28/22 36/12 36/19
                           23/2 123/8 123/23              Institute   [1]   87/16       irony  [1]  118/15
 13/17 13/19 13/21
                                                                                                                                140


J Case 1:22-cr-00015-APM        Document
                  63/23 64/21 65/16  K 817                           Filed 02/27/24
                                                                                27/23 28/6Page    140 oflead
                                                                                            30/25 31/8    151 pipe [1] 98/7
                         Joseph     [2]  30/13                                  31/12 37/2 37/12 41/18 leader [14] 24/6 29/25
January... [36] 39/12                                  Kafka's [1] 104/15
                          118/11                                                45/4 45/25 47/21 48/24 31/18 31/23 31/25
 39/12 42/17 42/18 49/7                                Kamala [2] 15/23 16/3
                         Joseph Hackett [2]                                     49/19 51/9 51/10 51/12 33/23 57/19 58/4 77/2
 60/23 62/5 66/9 66/13                                 Kathryn [2] 1/14 3/5
                          30/13 118/11                                          52/23 56/3 60/17 61/23 77/5 85/1 101/25 102/1
 68/9 70/6 71/13 72/23                                 Kathryn Rakoczy [1]
                         Josh [4] 20/12 32/13                                   62/24 64/4 68/15 68/19 113/25
 76/13 77/9 77/25 80/24                                 3/5
                          103/1 103/21                                          70/24 70/25 82/21 85/2 leaders [6] 32/8 32/18
 81/19 84/8 84/10 84/25                                kathryn.rakoczy [1]
                         Josh   James     [3]   20/12                           90/24 90/25 92/12        32/21 32/22 33/24
 87/8 88/18 89/25 90/15                                 1/19
                          32/13 103/21                                          92/12 96/1 115/4         77/25
 91/13 99/22 100/14                                    keep [9] 15/14 16/9
                         Josh   James'     [1]  103/1                           118/24                  leadership     [18] 20/22
 110/3 114/20 114/23                                    32/16 40/11 55/8 66/6
                         Jr [2]  2/10 3/9                                      knowing    [1] 88/14      29/11 31/10 31/17
 118/23 119/3 119/14                                    68/15 88/8 102/23
 120/14 120/18           judge [8] 1/10 8/18 9/3                               knowingly [1] 26/4        31/18 32/5 32/7 32/13
                                                       Keeper [8] 32/15 99/9
                          25/25 27/11 29/1 58/9                                known    [6] 46/13 68/9 32/23 34/3 67/3 78/2
January 10th [2] 17/12                                  103/7 103/8 103/9
                          80/5                                                  100/17 123/6 123/7       84/17 85/13 86/14
 39/12                                                  103/10 103/13 103/16
                         Judge Posner [2]                                       123/14                   102/4 102/5 102/10
January 2021 [1]                                       Keepers [56] 5/18
                          27/11 29/1                                           knows    [4] 84/25 95/18 leadership/coordinatio
 120/18                                                 10/25 21/7 29/25 39/15
                         Judge Randolph [1]                                     95/19 97/25             n [1] 32/13
January 6 [2] 77/25                                     49/22 51/24 53/7 53/8
                          8/18                                                 Koon   [1]  81/8         leading [5] 57/21 64/23
 84/25                                                  54/1 54/18 56/1 56/6
                         Judge    Randolph's      [1]                          Koon   versus   United    87/21 88/19 91/16
January 6th [38] 10/14                                  56/8 56/12 56/14 57/20
                          9/3                                                   States  [1] 81/8        leads   [2] 24/21 32/15
 10/15 18/19 20/19 21/5                                 58/5 62/22 65/11 70/6
                         judges   [2]   25/23                                                           least  [18]   8/25 10/20
 24/12 26/22 28/9 28/22                                 70/9 72/11 74/21 75/11 L
                          107/22                                                                         10/21 15/1 15/2 16/25
 36/12 36/19 39/12                                      77/5 77/6 81/15 85/2
                                            12/1                               LA [1] 2/11               19/2 25/7 26/22 34/10
 60/23 66/9 66/13 68/9 judgment [6]                     85/7 85/13 85/17 90/20
                          116/19 116/21 122/2                                  lack [2] 34/4 51/20       36/2 36/18 37/8 77/16
 70/6 71/13 72/23 76/13                                 91/22 95/12 99/4
                          123/2 126/18                                         ladies [1] 97/3           85/2 103/11 115/17
 77/9 80/24 81/19 84/8                                  100/18 103/15 104/9
                         judicial  [1]  112/19                                 laid [1] 115/5            122/22
 84/10 87/8 88/18 89/25                                 104/19 104/25 105/10
                         jurisdiction    [2]   107/18                          lamppost [2] 17/23       leave   [1] 119/23
 90/15 91/13 99/22                                      105/12 105/17 105/18
                          125/22                                                119/6                   leaves   [2] 106/20
 110/3 114/20 114/23                                    105/19 105/20 105/20
                         juror  [1]  69/21                                     lands [1] 110/20          107/23
 118/23 119/3 119/14                                    105/23 116/4 116/8
 120/14                  jurors [2] 48/16 114/15 116/15 116/20 116/25 landscape [1] 14/23               leaving [1] 44/9
                         jury [22] 15/11 17/4                                  language [6] 4/11 9/4 led [11] 26/19 29/24
jarring [1] 36/9                                        117/4 121/10
                                                                                37/19 38/1 45/4 65/21 31/2 31/4 36/8 43/1
                          18/5 18/13 20/4 21/23
Jason [4] 43/24 50/23                                  Keepers' [1] 24/11
                          21/25 24/15 26/5 42/12                               laptops [1] 124/15        70/11 84/1 84/11
 119/2 119/3                                           keeping [2] 115/6
                          46/1 46/1 46/2 49/14                                 large [4] 10/20 86/12     105/20 108/13
Jason Alpers [1] 119/3                                  115/7
                                                                                97/15 105/24
                          51/11 64/4 65/6 67/15                                                         Lee [2] 2/7 3/8
Jason Dolan [2] 43/24                                  Kelly [9] 30/14 32/13
                          67/16 79/25 89/8                                     LASSITER [1] 2/3         left [11] 3/19 4/3 8/8
 50/23                                                  70/11 70/13 71/5 71/9
                          114/18                                               last [4] 49/6 66/9 87/9 9/10 50/11 51/15 51/22
Jeffrey [2] 1/14 3/5                                    72/7 101/2 105/11
                                                                                107/14
                         jury's [1] 69/24                                                                53/23 96/25 98/16
Jeffrey Nestler [1] 3/5                                Kelly Meggs [7] 30/14
                         just [86]   3/18 11/12                                late [2] 18/1 42/18       105/24
jeffrey.nestler [1] 1/20                                32/13 70/11 70/13 71/5
                          11/17 11/17 12/10 13/9                               later [7] 6/23 11/23     legacies    [1] 114/19
Jericho [4] 77/8 90/16                                  71/9 105/11
                                                                                23/25 43/14 46/13
                          15/2 15/5 15/13 15/21                                                         legacy    [1] 114/25
 91/4 91/11                                            Kelly Meggs' [1] 101/2 58/25 72/1
                          16/13 17/20 19/21                                                             legal  [10]   3/20 3/22 5/5
Jericho March [3] 77/8                                 Kellye [4] 15/21 17/7
                          20/25 21/8 22/25 23/7                                Latino's [1] 100/15       6/14 7/2 7/6 20/2 21/4
 90/16 91/4                                             20/24 72/18
                          25/24 28/5 28/21 29/19                               latter [1] 21/11          53/5 73/11
Jericho Rally [1] 91/11                                Kellye SoRelle [2] 17/7
                          33/2 33/13 34/16 34/19                               laude [1] 115/21         legally [2] 53/12 57/24
Jessica [3]  30/17                                      20/24
                          36/14 37/19 40/4 41/17                               laugh [1] 21/1           legislated [1] 7/3
 30/19 103/17                                          key [1] 67/22
                          49/21 50/6 51/8 51/24                                launched [1] 28/8        legislature [3] 107/20
Jessica Watkins [2]                                    keynote [1] 103/3
                          55/22 56/14 58/1 58/9                                law [30] 5/12 5/24 6/18 107/24 108/1
 30/17 103/17                                          Khan [1] 94/20
                          59/5 60/18 60/22 61/17                                10/9 23/9 27/14 28/6    legitimate [3] 51/14
Jessica Watkins' [1]                                   kicked [1] 103/10        28/7 34/20 35/6 61/1
                          62/14 63/3 63/21 64/18                                                         52/22 119/14
 30/19                                                 kicking [1] 50/1
                          68/15 69/1 74/22 75/6                                 62/7 73/12 73/23 78/6 lend [1] 42/6
jlbrightlaw [1] 2/9                                    kill [2] 94/21 94/23     84/5 86/19 86/23 87/1 length [1] 5/20
                          76/4 77/4 77/4 83/24
job [3] 67/14 116/19                                   killing [1] 110/19       99/8 109/19 111/3
                          84/4 88/3 90/22 91/9                                                          less [10] 5/9 5/23 6/19
 116/20                                                kind [20] 6/14 7/10
                          91/11 91/15 92/2 92/10                                112/16 112/24 112/24 7/1 34/1 35/4 38/3
Joe [1] 114/12                                          17/8 30/10 35/13 54/14
                                                                                114/3 115/22 116/1
                          94/8 95/25 96/7 96/18                                                          72/10 95/15 112/22
Joe Biden [1] 114/12                                    54/19 55/21 55/22 58/1
                                                                                117/9 120/9
                          98/17 98/23 99/18                                                             less-demanding       [1]
John [1] 17/1                                           81/21 82/1 82/2 89/13
                          100/4 100/9 100/14                                   lawful [6] 24/23 26/21 5/23
John Zimmerman [1]                                      89/19 89/22 93/4 93/22
                          100/25 103/6 105/12                                   35/24 64/24 84/2 84/18 less-experienced [1]
 17/1                                                   97/7 106/17
                          107/7 109/8 109/19                                   lawn [3] 2/3 2/7 100/23 34/1
Johnson [1] 8/25                                       kindergarten [1] 50/4
                          110/1 111/3 113/19                                   laws [2] 5/3 65/3        lesser [2] 10/8 28/3
Johnston [1] 2/11                                      KKK [2] 105/4 105/6
                          116/23 117/8 119/6                                   laws' [1] 6/20           let [20] 3/18 12/10 13/9
join [1] 68/20                                         knew [10] 24/10 66/8
                          119/12 120/14 121/25                                 lawsuit [1] 104/18        15/2 16/5 17/20 20/25
joined [4] 23/23 26/4                                   69/17 71/10 73/10
                         justice [10] 25/18                                    lawyer [2] 111/7 116/3 22/4 47/10 63/21 64/1
 68/21 107/19                                           73/15 73/19 86/10
                          26/12 55/16 56/12 59/3                               lawyers [1] 100/10        67/13 79/13 83/16 91/8
joiners [1] 23/25                                       102/17 102/25
                          73/22 75/16 76/8 83/3                                Lazo [1] 75/4             109/8 110/11 111/8
joining [2] 43/3 94/22                                 knocked [1] 98/7
                          83/6                                                 lead [6] 33/23 47/16      113/16 115/13
joint [1] 12/20                                        know [45] 4/8 10/7       48/21 86/15 98/7
                         justifications     [1]  40/20                                                  let's [2] 41/19 63/12
jointly [9] 12/21 22/20                                 11/9 11/12 13/14 14/16
                                                                                104/15
 22/22 23/4 23/14 24/4                                  14/19 17/16 21/2 21/19                          letter [4] 9/11 13/17
                                                                                                                                 141


L Case 1:22-cr-00015-APM          Document
                 little [10] 15/5 27/18 34/1817      Filed
                                             34/6 34/25 35/502/27/24    Page
                                                               meaning [2] 7/24141
                                                                               85/24ofmete
                                                                                       151[1] 60/2
                           28/25 29/14 31/3 39/13 mandatory [2] 122/12 means [13] 3/25 4/1                Metropolitan [1] 74/24
letter... [2] 13/18 87/15
                           46/25 71/16 72/9          122/17                    29/15 65/23 65/25 66/3 Mexican [1] 104/22
letters [1] 85/7
                           103/19                    manipulate [1] 106/23 78/22 80/12 108/4              Michael [6] 44/22
letting [1] 17/16
                          live [1] 90/1              manipulating [1] 85/12 110/25 111/8 117/19           52/10 52/13 53/17
level [32] 3/23 7/18 8/6
                          local [1] 122/18           manipulation [1] 86/7 119/9                          54/12 54/22
 25/6 29/22 31/11 37/22
                          located    [1]  123/10     manner   [4]  58/14       meant  [3]    16/25 18/6 Michael Greene [5]
 38/17 38/24 39/3 39/20
                                           19/12     59/16 107/24 125/4        105/4                      52/10 52/13 53/17
 39/21 57/17 57/18 71/4 location [1]
                          lone  [2]   97/9 98/11     many  [9]   11/10 17/8    measures     [1]   112/23  54/12 54/22
 75/15 78/1 78/3 78/4
                          long  [8]   5/13 39/13     28/23 44/4 84/25 86/2 mechanical [1] 2/19            middle   [1] 83/23
 79/17 79/20 79/21
                           60/17 75/24 95/12         86/8 96/14 116/22         media  [11]    92/1 105/9 might [14] 12/24 29/21
 79/21 79/22 80/6 80/8
                           95/13 108/16 121/4        Manzo [2] 1/16 3/6        105/10 106/16 123/19 31/16 34/2 35/3 37/21
 80/14 80/21 82/25 83/1
                          long  time    [1] 95/13    March  [4]   77/8 90/16   123/20 123/21 123/23 38/6 38/10 38/24 41/14
 83/13 110/6
                          longer   [1]   59/4        91/4 91/10                123/23 124/2 124/3         66/6 66/12 113/9
levels [20] 38/4 39/2
                          look  [11]   14/14 26/18 married [1] 115/18          medical    [1]  109/22     118/12
 40/3 40/4 76/23 76/24
                           48/9 48/18 57/6 68/15 Martha [1] 75/4               meet [1]    112/21         military  [16] 52/13
 77/1 77/2 77/20 79/3
                           91/1 91/2 91/2 92/4       Martha  Lazo    [1] 75/4 meeting [2] 46/15 59/4 52/14 53/16 53/18
 79/5 79/11 80/2 80/5
                           105/19                    mask [1] 125/7            meets [1] 78/7             54/11 55/5 81/3 81/5
 83/4 83/6 83/8 83/9
                          looked    [6]  44/14 46/24 mass [1] 107/3            Meggs    [42]   18/25 19/4 86/3 95/10 98/10 102/2
 83/10 83/12
                           48/23 90/1 90/2 118/23 material [2] 124/2           19/19 19/23 30/11          103/22 115/23 116/6
liability [1] 5/19
                          looking    [7]  29/12      124/6                     30/14 32/13 33/3 33/7 116/24
liberty [1] 62/18
                           29/22 30/23 49/2 55/9 math [1] 11/13                33/9 42/7 43/2 43/8        militia [1] 103/19
lie [2] 85/18 88/6
                           55/12 85/24               matter [10]   23/9 64/2   43/21 44/12 45/23 46/5 millennia [1] 48/5
lies [1] 118/19
                          looks [1] 14/24            73/23 73/23 75/22         46/8 46/10 47/12 47/13 million [4] 10/22 90/16
life [9] 29/25 39/3 39/4
                          loss  [3]   39/3 39/4 39/9 75/23 78/6 125/20         47/15 49/14 49/24          91/3 91/10
 39/9 85/12 85/24
                          lost [3]   85/23 103/21    125/22 128/4              49/25 51/8 52/9 52/16 Million MAGA March
 117/22 121/8 121/8
                           103/22                    matters [2] 3/19 8/7      54/4 54/12 54/23 70/11 [1] 91/10
light [5] 7/8 28/9 39/24
                          lot [7]  14/17 43/25 56/5 Matthew [2] 48/22          70/13 70/21 70/25 71/2 Million MAGA Rally [2]
 70/12 111/4
                           85/10 93/11 104/6         48/23                     71/5 71/9 75/7 77/12        90/16 91/3
like [42] 14/24 22/7
                           104/7                     Matthew   Peed    [1]     77/25 105/11               millions   [2] 90/13
 22/9 24/9 27/8 29/7
                          lots [1] 89/4              48/23                     Meggs' [2] 101/2           90/13
 30/19 31/21 39/8 41/24
                          Louis [2] 1/16 3/6         maxing [1] 38/18          101/18                     mind [7] 30/13 62/11
 42/3 49/6 51/1 53/19
                          Louis Manzo [1] 3/6        may [36] 1/5 9/1 9/2      MEHTA [2] 1/9 63/18        69/14 89/21 89/22
 55/21 58/2 73/1 85/13
                          lower [3] 31/23 95/14 9/25 19/11 23/21 26/2 melee [1] 68/20                     97/19 114/19
 85/18 89/24 89/24 91/6
                           100/17                    27/22 29/1 29/10 33/19 member [1] 123/6              minded [2] 81/15
 91/9 91/11 92/4 93/3
 93/4 96/4 96/19 98/3     luck [1] 127/8             34/4 41/2 52/24 57/2      members [14] 19/5          116/15
                          ludicrous     [1] 26/8     58/13 59/16 59/18         36/19 36/19 53/9 66/1 mindedness [1] 81/5
 98/5 99/14 99/17
 104/14 104/16 106/1      Lustig [2] 2/13 3/10       59/22 59/24 60/13         73/25 74/8 74/10 75/9 minds [3] 46/15 59/5
                                                     64/16 69/23 91/6 92/25 84/2 86/3 91/20 110/23 85/16
 113/14 113/15 114/2      M                          95/18 96/4 107/24         115/3                      Minuta [2] 31/2 77/21
 119/6 121/16 127/4
                          made [16] 16/16 18/24 120/3 124/23 124/24            memo   [9]    21/17 27/10 minutes [7] 19/16 56/8
likelihood [1] 111/20      21/17 24/13 38/5 42/16 125/19 126/8 126/19          30/9 40/5 40/7 40/20       58/20 60/18 63/12
likely [4] 49/15 49/16     43/7 46/1 56/25 58/19 126/20 128/7                  44/1 49/12 87/13           106/9 108/22
 66/9 112/3
                           59/10 77/17 80/24         maybe   [8]  11/16 17/14 memorandum [9]              misconstrued      [1] 51/6
limit [2] 57/2 93/24       113/8 125/24 126/1        27/17 42/18 55/24         13/13 13/15 13/24          misdemeanor [1]
limitation [1]  5/5
                          MAGA [4] 90/16 91/3        70/12 70/12 91/19         23/13 28/16 29/16 94/6 105/16
limitations [1] 127/1      91/10 105/5               McCaughey      [2]  92/17 94/14 95/1                 misled [1] 51/7
limited [3] 11/1 112/1
                          magic [2] 89/20 89/21 94/8                           memos     [3]   85/11 89/9 misses [1] 20/2
 112/15
                          maimed [1] 111/12          McCord [2] 9/12 13/17 89/17                          missing [3] 9/19 12/4
Linder [13] 2/2 2/3 3/8
                          main [2] 35/19 107/2       me [46]   3/18 9/15 11/3 men [3] 77/22 99/8          13/24
 14/6 46/18 51/18 52/5
                          major [2] 15/1 86/21       11/20 12/10 12/13 13/9 102/11                        mission    [2] 25/2 100/7
 58/12 58/21 88/25 96/9
                          make [25] 12/25 15/4       14/6 14/6 14/20 15/2      mentioned      [5]  4/24   mistake    [2]  64/16
 96/12 110/15
                           21/22 27/22 38/5 38/6 19/19 20/25 22/4 27/23 55/1 72/14 72/14 95/1 114/18
line [11] 19/15 19/15      42/1 44/4 45/5 55/22      47/10 48/24 55/11         mentions [2] 94/7          MMS [1] 123/24
 24/16 24/16 47/23
                           63/7 68/2 86/17 90/4      63/21 64/1 67/13 68/17 107/2                         mob [6] 56/5 56/6
 49/18 50/3 57/20 75/2
                           90/7 90/8 90/9 98/20      69/15 70/14 78/8 79/13 merely [2] 58/17 76/11 56/13 74/8 74/22 74/23
 76/20 115/5
                           101/1 101/12 103/6        80/2 89/15 89/18 91/8 Merit [1] 2/15                 mobile [3] 124/15
Line 1 [3] 19/15 24/16 103/24 107/12 114/18
                                                     101/1 101/21 101/21       merits  [1]   113/24       125/9 125/14
 49/18
                           122/25                    101/22 102/21 102/21 message [7] 15/20               moment      [6] 48/18
Line 2 [3] 19/15 24/16
                          makes [6] 21/19 22/10 102/22 104/12 106/18 20/21 32/14 33/6 67/11 79/24 110/9 118/10
 57/20
                           108/1 111/24 112/3        107/7 108/22 109/8        72/21 73/10                119/22 120/2
lingered [1] 121/3         118/4                     111/8 113/16 115/13       messages [19] 15/14 momentarily [1] 64/12
list [1] 92/19
                          making [8] 22/1 41/25 125/5                          18/20 18/21 19/3 20/21 moniker [1] 60/5
listen [1] 49/13           65/7 70/21 73/19 76/15 mean [15] 16/14 27/23 20/23 21/7 30/2 30/19 monitor [1] 124/9
listening [2] 30/23        107/8 120/11              29/5 37/12 40/16 55/19 32/19 61/18 61/18             monitoring [5] 124/12
 113/17
                          man [5] 44/3 48/1          67/19 72/14 91/16 93/9 65/25 66/3 67/4 72/22 124/14 124/18 124/19
literally [1] 39/15        62/17 104/6 115/20        94/3 113/20 113/21        73/9 86/22 123/24          124/21
literature [1] 124/2
                          management [5] 33/20 120/23 121/3                    met [2]   8/5 44/7         monstrous      [1] 28/21
litters [1] 49/12
                                                                                                                            142


M Case 1:22-cr-00015-APM
                 Mr. Linder [10] Document
                                 14/6     817
                                      125/16                      Filed 02/27/24
                                                                            121/7 121/9  Page 142 of55/2 15155/4 59/17 61/19
                       46/18 51/18 52/5 58/12 mutual [1] 66/5               nevertheless     [3]  8/15 62/9 73/1 79/4 90/10
month [1] 95/16
                       58/21 88/25 96/9 96/12 my [42] 9/13 10/24            47/1 76/21                  94/4 105/16 119/24
months [16] 27/4 36/7
                       110/15                       11/17 11/17 13/5 15/23 new [4] 65/24 105/19         119/24
37/2 56/22 83/14 92/2
                       Mr. Meggs [29] 18/25 17/16 28/4 34/16 42/23 113/14 113/15                        notice [2] 74/3 126/17
92/9 92/15 92/16 92/17
                       19/4 19/19 19/23 30/11 45/15 45/15 47/9 48/22 New York [1] 105/19 notify [1] 126/5
92/18 92/20 95/15
                       33/3 33/7 33/9 42/7          50/3 65/8 67/14 67/18 next [15] 22/4 29/10          notion [3] 34/25 35/12
109/9 122/5 122/7
                       43/2 43/8 43/21 44/12 69/14 77/22 93/9 96/10 30/25 43/2 45/21 61/13 112/8
more [28] 4/4 5/25 8/3
                       45/23 46/5 46/8 46/10 96/19 96/21 96/21              61/13 61/13 97/7 98/24 notwithstanding [3]
11/15 14/17 26/20
                       47/12 47/13 47/15            97/19 100/10 100/12     100/16 100/24 101/4         7/23 8/23 27/15
35/16 38/22 45/3 46/25
                       49/14 51/8 52/9 70/21 101/6 102/20 104/7             106/20 110/4                November    [5] 36/12
47/16 49/15 60/2 60/8
                       70/25 71/2 75/7 77/12 104/12 104/21 107/14 night [3] 27/13 97/4                  56/22 77/7 90/12
79/6 79/14 82/16 92/8
                       77/25                        108/6 108/17 109/9      106/14                      120/17
92/9 92/21 93/5 93/7
                       Mr. Meggs'   [1]   101/18 114/6 114/19 116/19        nine  [5]  23/12 29/20      November    14th [1]
94/10 95/16 107/12
                       Mr. Michael   Greene     [1] 116/20 121/8            31/14 35/13 99/21           77/7
111/24 112/3 117/4
                        44/22                       myself [1] 101/15       Ninth [3] 4/8 4/11          now [23] 11/22 13/19
more-nuanced [1]
                       Mr. Minuta  [1]   31/2                               40/11                       15/18 22/4 25/20 27/22
11/15
                       Mr. Nestler  [3]   44/11 N                           Ninth  Circuit   [1]  40/11 40/22 51/8 53/10 54/15
morning [4] 3/2 3/14
                       93/17 94/5                   NAACP [1] 104/24        no [60] 1/4 6/7 7/1 14/2 56/13 56/16 64/18 69/2
3/16 52/3
                       Mr. Nestler's   [1]  94/14 naive [1] 70/12           15/9 17/7 17/24 25/15 70/24 83/17 87/20 90/9
most [16] 13/22 23/16
                       Mr. Parker  [1]   30/20      name [4] 13/18 72/14    28/24 30/16 38/1 42/13 91/22 114/12 114/22
54/3 59/8 65/19 77/22
                       Mr. Rhodes    [140]          72/15 92/10             46/14 46/15 46/15           115/16 115/18
79/23 86/12 87/6 88/16
                       Mr. Rhodes'    [30]   11/23 named [1] 15/25          49/10 49/10 49/22           nuanced   [1] 11/15
92/21 105/24 110/4
                       18/22 19/11 19/22 20/9 names [1] 99/16               50/16 51/10 54/16           number   [4] 3/3 13/14
110/4 113/2 117/6
                       20/20 21/9 21/12 21/22 Nancy [1] 119/5               54/17 54/25 56/11           79/6 107/24
mostly [1] 8/25
                       25/7 26/18 32/1 32/3         Nancy Pelosi [1] 119/5 56/24 58/2 59/4 61/8         numerous [1] 87/23
motion [1] 64/7
                       32/20 36/6 37/5 38/10 narrative [5] 91/24            61/18 61/18 62/12           NW [2] 1/17 2/17
motions [1] 89/9
                       42/14 42/19 44/25 45/5 92/2 105/8 106/17             62/21 64/16 68/25
motive [3] 78/11 78/13
                       45/13 46/4 65/10 66/20 108/3                         69/14 72/6 73/3 75/21 O
113/14
                       71/12 80/23 85/11            nation [1] 88/17        80/4 80/16 80/19 81/1 Oak [2] 2/3 2/7
mouth [1] 93/12
                       85/14 88/14                  national [2] 50/15      86/7 86/24 86/24 90/4 oath [71] 5/18 10/25
move [4] 13/3 13/7                                  112/14
                       Mr. Siekerman [4]                                    94/24 95/9 102/5 103/7 15/23 20/17 21/7 24/11
35/18 83/17
                       32/10 32/14 32/18            nationalist [2] 113/20 103/8 103/8 103/10           29/25 32/15 39/15 44/3
movement [1] 105/5                                  116/10                                              46/4 49/22 51/24 53/7
                       77/24                                                104/1 107/2 112/24
moving [6] 19/6 29/5
                       Mr. Tarpley [1] 60/14 natural [1] 48/16              114/18 119/20 127/5         53/8 54/1 54/18 56/1
29/9 41/9 42/14 47/24
                       Mr. Vallejo [1]   31/3       nature [4] 58/20 79/13 127/6                        56/6 56/8 56/12 56/14
Mr [1] 20/5                                         109/15 111/5
                       Mr. Woodward [2]                                     nobody [4] 50/19 52/9 57/20 58/5 62/22 65/11
Mr. [295]
                       37/15 38/2                   Nazis [2] 98/22 98/22   115/6 118/18                70/6 70/9 72/11 74/21
Mr. Alpers [2] 17/13
                       Mr. Woodward's       [2]     near [1] 19/13          nod  [3]  57/9 57/10 59/6 75/11 77/5 77/6 81/15
17/24
                       37/11 38/2                   necessarily [6] 23/10 none [12] 45/25 54/11 85/2 85/7 85/13 85/17
Mr. Berry [2] 18/16                                 23/11 28/6 29/17 38/17 56/2 92/23 94/9 97/15 90/20 91/22 95/12 99/4
                       Mr. Young   [2]   18/16
71/2
                       30/12                        79/16                   97/18 103/13 104/8          99/9 100/18 103/7
Mr. Berry's [1] 71/3
                       Mr. Zaremba     [1]  27/5 necessary [11] 6/15        110/10 116/17 116/18 103/8 103/9 103/10
Mr. Bright [10] 9/14                                6/19 8/13 9/1 9/6 18/23 Nonetheless [1] 6/18        103/13 103/14 103/16
14/5 52/2 52/7 54/20   Ms. [8] 21/4 40/23
                       51/23 55/14 75/1 83/18 26/16 40/22 86/23             Nordean    [1]   59/3       104/9 104/19 104/25
58/7 60/12 67/13 69/19
                       88/24 106/13                 109/13 112/23           normally    [1]  111/24     105/10 105/12 105/17
89/3
                       Ms. Rakoczy     [5]  40/23 necessity [1] 96/24       north  [4]   11/12 11/14    105/18 105/19 105/20
Mr. Caldwell [1] 31/7
                       55/14 83/18 88/24            need [25] 11/19 11/22 33/5 100/16                   105/20 105/23 108/7
Mr. Dolan [10] 18/15                                15/14 21/4 23/6 38/16 North Carolina [1]            116/4 116/8 116/15
                       106/13
30/9 43/4 43/25 44/2
                       Ms. SoRelle    [2]  21/4     39/9 47/18 54/10 69/2 33/5                          116/20 116/25 117/4
44/2 44/5 45/3 47/9
                       51/23                        69/3 69/4 85/18 91/1    northeast    [2]  100/21    120/12 121/10
71/14
                       Ms. Watkins    [1]  75/1     91/13 91/14 98/16       100/22                      Oath Keeper [1] 99/9
Mr. Dolan's [7] 17/25
                                   10/2 10/11 109/17 109/21 110/23 not [220]                            Oath Keepers [52]
44/13 44/24 45/7 45/13 much [13]
                       20/9 21/18 24/5 27/18 111/1 117/3 117/8              notable   [1]  95/10        5/18 10/25 29/25 39/15
46/25 69/22
                       30/22 31/13 39/8 63/13 118/12 122/1                  notably   [2]  19/8 117/6 49/22 51/24 53/7 53/8
Mr. Greene [17] 32/11
                       71/25 95/14 127/7            needed [4] 66/17 66/20 note [15] 19/21 20/10 54/1 54/18 56/1 56/6
32/15 32/17 45/8 45/9
                       multiple [11]    5/13 8/25 74/3 78/23                33/13 33/17 33/18           56/12 56/14 57/20 58/5
45/11 45/12 45/21
                       14/10 15/13 16/24 19/3 needs [4] 7/25 28/13          34/19 36/2 36/21 37/19 62/22 65/11 70/6 72/11
77/24 101/7 101/15
                       32/6 44/1 94/15 102/25 91/2 91/2                     40/4 41/15 59/15 78/5 74/21 75/11 77/5 77/6
101/22 101/24 102/2
                       114/17                       nefarious [1] 54/4      79/19 83/22                 81/15 85/2 85/7 85/13
102/6 102/7 102/21
                       must [24] 8/21 34/11 neither [4] 6/15 7/5            Note 4 [5] 36/2 36/21       85/17 90/20 91/22
Mr. Greene's [5] 19/18                              87/8 111/10                                         95/12 99/4 100/18
                       48/19 88/22 109/10                                   41/15 59/15 78/5
19/21 67/23 72/9 72/12
                       109/15 122/18 122/19 Nestler [5] 1/14 3/5            Note A [1] 37/19            104/9 104/19 104/25
Mr. Harrelson [4]
                       122/20 122/24 122/25 44/11 93/17 94/5                noted [3] 4/2 5/11          105/10 105/12 105/17
30/11 43/4 44/7 75/7
                       123/5 123/15 123/17          Nestler's [1] 94/14     27/12                       105/18 105/19 105/20
Mr. Head [1] 92/16
                       123/20 123/21 124/1          never [11] 16/5 43/12 notes [2] 21/8 45/15          105/20 105/23 116/4
Mr. James [4] 20/12                                 51/10 61/21 62/11 63/2 nothing [18] 7/20 7/21 116/8 116/15 116/20
                       124/6 124/10 124/13
20/15 77/13 77/25
                       124/22 125/5 125/6           66/18 102/5 117/24      14/2 37/18 41/19 44/10 116/25 117/4 121/10
Mr. James's [1] 75/4
                                                                                                                         143


O Case 1:22-cr-00015-APM        Document
                  123/12 123/16 123/18     817[1] 33/23
                                       op lead     Filed 02/27/24
                                                             112/4                    Page 143 of99/8 151105/13 106/5
                        124/13 124/24 125/16 op leaders [1] 32/21          originally [1] 41/5      106/20 106/23 110/15
Oath Keepers' [1]
                        Officer Carrion [1]        open [9] 3/19 3/20 4/3 Ortega [1] 28/20          110/17 114/4
24/11
                        74/20                      8/8 9/10 9/18 26/24     other [68] 8/7 8/8 9/20 outcome [3] 6/16 6/17
oaths [2] 115/6 115/7
                        Officer Christopher        50/21 85/7              11/4 21/7 21/8 27/1      114/2
object [3] 60/25 75/4
                        Owens [1] 74/24            open-ended [2] 3/19     31/5 33/15 35/15 35/19 outlier [1] 88/18
111/20
                        officers [19] 74/13        8/8                     36/17 44/16 44/18        outset [2] 64/1 67/14
objection [3] 15/7
                        74/14 74/20 74/25 75/3 opened [1] 44/17            49/22 50/11 54/8 54/25 outside [15] 51/14
16/18 42/4
                        79/2 92/14 92/21 98/10 opening [6] 27/10           56/4 56/13 65/13 65/25 53/20 53/23 60/11 75/8
objections [10] 13/16
                        99/3 102/1 102/2 102/4 28/16 29/15 30/9 40/5 66/1 66/3 67/10 67/19 75/11 88/5 97/24 98/2
14/21 16/16 41/7 58/18
                        104/4 104/8 110/7          62/17                   68/21 69/25 74/1 74/2 98/9 100/12 101/9
59/10 59/21 60/4 89/10
                        112/10 115/1 115/8         openly  [2]  85/8 97/21 74/8 74/24 77/19 78/10 102/14 121/18 123/10
127/3
                        Officers Salke [1]         operate [3] 76/17       80/11 80/12 80/13        outskirts [1] 25/1
objective [4] 65/6
                        74/20                      102/9 102/10            81/18 82/20 84/7 84/23 outstanding [1] 12/4
68/10 78/20 82/16
                        offices [1] 26/25          operation [2] 32/11     84/25 85/15 86/2 99/14 over [21] 6/7 6/8 6/10
objectives [2] 66/17
                        Official  [1]  2/16        33/2                    100/1 103/14 103/21      6/10 8/22 12/12 24/8
109/13
                        officials  [1]  107/22     operational    [1] 33/9 105/12 105/14 106/14 27/4 33/12 33/20 34/1
objects [2] 64/25
121/24                  often [3] 28/3 36/10       operations [2] 99/21    107/19 110/2 110/15      34/6 45/14 45/18 52/17
                        111/23                     102/1                   110/18 110/23 113/6      84/21 87/19 95/23
obligation [1] 126/7
                        oh  [3]  9/20 80/12        opinion  [3]   8/17 9/4 113/13 113/22 114/11 102/7 102/16 125/22
obligations [1] 126/2
                        105/19                     93/9                    114/25 117/9 117/12      overall [4] 32/6 32/11
observed [1] 84/11
                        OK   [1]  16/8             opinions   [1]  112/19  120/23 122/18 123/7      32/15 32/18
observes [1] 33/18
                        okay   [15]  3/18 13/9     opportunities    [1]    123/22 124/22            overcharged   [1]
obstruct [4] 26/5 26/7
                        14/4 14/13 22/3 37/13 14/11                        others [36]   8/22 15/21 107/10
67/16 83/3
                        40/23 55/20 58/12          opportunity [4] 14/7    18/18 18/25 20/21        overcome [1] 117/21
obstructed [2] 75/24
                        60/12 60/20 64/4 109/7 14/9 95/24 96/15            20/22 21/6 22/21 23/4 overheard [2] 44/9
75/24
                        119/15 121/2               oppose [6] 15/9 26/21 24/20 25/8 31/1 31/7       44/12
obstruction [6] 24/18
                        old  [5]  17/8 20/22 50/3 64/24 66/12 84/18        31/15 32/24 35/17 37/3 overreach [1] 27/23
28/2 76/24 76/25 82/19
                        67/3 115/16                84/23                   46/12 66/1 67/7 73/8     overrule [1] 14/22
83/10
                        Old   Leadership    [2]    opposed    [4]  27/20   73/16 73/25 74/22 75/1 Owens [1] 74/24
obstructive [2] 27/21
                        20/22 67/3                 27/25 31/15 35/15       75/1 75/7 79/1 86/15     own [19] 5/19 20/9
27/24
                        once [4] 69/9 73/2 73/2 opposing [1] 96/20         92/5 96/23 110/25        29/3 32/1 32/20 66/25
obvious [1] 10/14
                        117/4                      opposition [3] 87/18    112/10 113/10 117/20 67/1 73/5 86/4 86/6
obviously [7] 9/14
                        one [64] 5/24 6/7 7/25 88/1 88/10                  125/8                    93/8 95/6 96/15 103/17
14/22 29/23 42/13
                        8/24 9/20 10/15 16/13 option [1] 99/24             others' [1] 18/10        103/19 103/19 107/18
46/10 97/20 116/6
                        18/6 26/13 28/5 42/3       options  [1]   122/14   otherwise   [10] 7/22    116/24 118/17
Occam's [1] 49/15
                        44/20 44/21 52/7 52/9 orchestrated [3] 29/23 9/2 17/5 18/13 18/21
Occam's razor [1]                                                                                   P
                        53/9 60/4 60/14 61/7       36/7 84/20              70/8 89/15 118/18
49/15
                        64/3 64/11 67/6 67/6       orchestrates [1] 24/21 123/5 123/14              P. [1] 63/18
occasions [1] 90/15
                        67/22 68/11 70/3 70/4 order [27] 7/12 19/20 ought [3] 12/22 57/17 p.m [5] 19/4 19/4 109/1
occurred [1] 43/1                                                                                   109/1 127/11
                        70/17 70/19 71/23          19/24 20/8 22/4 36/4    121/23
odd [1] 92/8
                        72/22 76/4 77/17 77/22 43/7 46/7 49/10 54/21 our [62] 3/19 23/13            page [7] 26/1 30/9 40/7
off [4] 6/8 19/12 54/9
                        78/10 79/12 81/8 84/9 55/4 55/5 55/6 58/1          27/9 27/10 28/15 29/15 44/1 71/21 80/3 80/4
54/23
                        87/5 91/24 92/2 92/20 67/13 68/24 80/8 83/3 29/15 29/16 29/19 30/9 pages [1] 94/13
offense [28] 8/9 12/22
                        96/5 98/5 103/21           84/23 85/19 86/5 86/12 31/10 34/13 38/21 40/5 pages 79 [1] 94/13
22/12 23/17 25/11
                        104/16 105/7 107/2         109/6 109/25 114/5      40/7 40/20 41/7 42/9     paid [1] 126/7
25/16 25/17 29/8 36/23
                        107/14 107/16 110/14 125/25 126/11                 42/10 42/11 42/18 43/9 paint [1] 113/18
37/6 57/19 78/10 82/19
                        111/10 111/25 112/11 ordered [5] 50/18 54/6 43/17 46/19 52/16 57/7 paper [1] 67/20
82/25 83/7 83/9 83/13
                        113/7 113/8 113/8          56/7 92/25 122/9        57/14 57/23 58/19        parading [1] 105/16
109/16 109/18 109/20
                        113/12 113/16 115/10 ordering [1] 54/4             59/21 60/4 84/2 85/10 paragraph [5] 14/20
111/2 111/5 112/6
                        115/10 118/10 118/22 orders [4] 49/24 54/17 85/19 85/20 86/20 87/3 14/20 55/14 56/16
112/12 112/19 113/3
                        122/21                     70/4 123/2              88/21 96/20 98/16 99/6 57/20
113/4 113/6
                        one's   [1]  54/25         ordinarily  [1]  7/24   99/8 99/18 99/20 99/23 paragraphs [1] 55/12
offensive [3] 16/19
                        ones   [1]  56/1           ordinary  [1]   84/9    101/8 101/14 101/14      parallels [3] 9/24 10/13
104/13 104/22
                        ongoing     [3] 28/10      Oregon   [2]  40/6 80/4 102/15 102/19 102/23 10/14
office [20] 1/16 3/11
                        118/1 120/14               organization [16]       103/9 104/8 106/3        paramilitary [2] 25/5
15/15 15/19 21/19
                        online   [3]  123/18 125/7 36/16 36/17 47/15       107/4 114/20 114/21      36/17
21/24 66/7 75/12 75/12
                        125/9                      54/14 70/2 70/3 76/22 114/21 114/22 115/23 park [2] 99/1 100/17
120/6 122/13 123/22
                        only [22] 5/8 17/16        78/2 104/7 104/8 105/7 118/2 118/25              Parker [2] 30/16 30/20
124/7 124/9 124/10
                        23/23 33/14 53/3 66/25 106/4 116/9 116/20          ourselves [1] 120/19 Parker's [1] 47/23
125/15 125/18 125/19
                        67/6 71/10 74/16 77/6 116/22 123/7                 out [38] 5/22 7/12       Parliamentarian [2]
126/8 126/10
                        79/5 79/9 81/5 81/19       organize [1] 87/9       15/15 16/9 20/1 20/6     61/5 61/16
Office's [1] 13/12
                        92/9 96/19 102/2           organized [1] 36/15     22/3 38/18 40/6 45/19 Paroline [6] 4/19 5/6
officer [23] 2/13 56/21                                                                             5/23 6/21 7/9 9/23
                        107/16 115/3 118/13        organizer [3] 57/19     46/5 48/23 49/9 51/3
69/11 74/20 74/24
                        119/4 124/25               58/4 77/2               53/6 53/8 54/23 58/16 parse [1] 57/12
92/24 102/3 102/6
                        op [7] 19/5 32/5 32/7 organizing [4] 31/8          60/2 61/1 61/15 66/17 part [24] 7/2 19/2 21/22
102/8 103/11 103/23
                        32/15 32/21 33/23          39/6 70/4 77/20         82/22 90/6 90/6 90/6     23/18 24/3 27/6 30/10
103/24 103/25 104/2
                        77/25                      original [2]   107/18   93/13 96/2 96/13 96/24 30/15 31/16 35/14
111/11 111/12 122/25
                                                                                                                                      144


P Case 1:22-cr-00015-APM
                  90/3 90/3 91/18Document
                                 91/20 63/7817     Filed 02/27/24
                                            121/19 121/22             Page
                                                             116/7 116/8      144 of15/18
                                                                         116/23      151 15/18 17/18
                         91/23 92/1 92/7 92/8          121/23                     118/24                        21/19 21/23 29/25 37/3
part... [14] 44/19 46/13
                         92/9 92/20 93/2 93/12 placement [1] 122/21 Posner [2] 27/11 29/1 39/14 62/5 66/6 66/10
46/21 59/25 63/2 82/17
                         94/7 95/3 95/5 95/16          plain [3] 7/5 37/19        possess [3] 122/19            96/19 97/12 104/21
102/19 103/8 104/22
                         96/2 96/6 97/9 97/16          37/25                      124/1 124/5                   104/25 106/25 107/1
105/24 112/21 121/5
                         97/23 98/3 98/11 98/19 Plaintiff [1] 1/4                 possible [2] 47/25            113/12 113/20 114/12
121/6 122/14
                         100/4 100/4 101/3             plan  [10]   43/12 43/13   111/24                        120/6
participant [4] 33/16
                         103/14 105/14 107/11 46/14 62/20 63/2 69/12 possibly [1] 27/10                        President    Biden [3]
90/19 91/6 96/7
                         107/12 112/11 113/5           82/17 90/18 90/20          posted   [2]    13/19         15/15 21/19 21/23
participants [5] 31/6
                         115/2 115/11 116/11           90/21                      101/14                       President Trump [7]
44/20 49/9 85/3 92/3
                         116/13 116/14 116/17 planning [13] 29/6                  potential   [3]   5/8 73/11 17/18 37/3 66/10 96/19
participate [3] 24/17
                         118/6 122/1 124/22            33/4 36/16 56/23 59/4 111/18                             97/12 104/25 106/25
25/5 84/21
                         pepper    [2]   99/10         71/4 76/9 76/12 76/15 potentially [4] 11/1              Presidential     [8] 24/24
participated [2] 26/22
                         103/12                        76/18 76/21 79/21 83/7 18/18 113/11 117/5                35/25 61/25 62/2 63/5
91/22
                         pepper-sprayed [1]            plans [4] 54/17 93/5       Potomac [1] 74/3              64/25 84/3 87/22
participating [1] 35/23
                         103/12                        93/15 121/24               Potomac     River    [1]     presiding    [1] 63/18
participation [3] 8/9
                         per [4]   11/14 46/13         plausible    [1] 69/1      74/3                         presume     [1]   3/17
24/11 39/4
                         58/22 122/10                  play  [4]   29/17 29/18    pounding      [2]  19/10     pretrial [1]   15/4
particular [14] 5/13
                                             28/9 30/3 29/21 33/23                19/13                        pretty [14] 14/1 14/23
6/21 7/13 7/15 9/7 9/8 perceived [2]
                         percent    [3]   48/25 72/8 played [5] 29/7 31/8         Poverty   [1]    99/7         29/6 39/7 39/8 39/10
10/11 22/7 23/21 24/9
                         104/8                         31/17 69/23 84/17          power   [21]    15/9 24/24 44/14 45/6 45/23 71/7
27/12 110/17 112/2
113/25                   perception [1] 77/16 playing [2] 39/13 89/23 26/21 35/24 36/20                         71/15 71/23 73/13
                         perhaps     [5]   11/5 26/6 plead [1] 20/16              61/25 62/2 63/5 64/24 79/24
particularly [7] 18/22
                         59/24 75/21 119/22            please [4] 47/11 63/19 65/4 65/24 66/13 68/11 Prettyman [1] 2/16
24/24 30/5 31/19 46/25
                         peril [1]   118/1             101/16 109/5               69/5 74/4 79/24 84/3         prevent [6] 15/18
47/8 110/6
                         period  [5]    36/11 75/11 pled [1] 94/16                84/18 87/22 97/14             15/23 21/23 69/4 97/12
parties [2] 12/13 12/19
                         75/19 75/24 76/13             plenty  [1]   18/20        97/22                         97/14
parties' [1] 83/17
                         periodic    [2]   122/22      plotted   [3]  35/25 86/10 practiced [1] 21/2           prevented     [1] 16/3
partnership [1] 111/17
                         124/11                        94/24                      pray [1]   17/9              preview   [3]   12/10 23/7
parts [1] 50/10
                         permission      [1]   126/19 plotting [2] 33/3 94/21 precedent [4] 8/12                29/20
party [1] 105/7
                         permit [1] 124/9              plus [6] 5/4 10/22         8/14 16/23 18/8              previous [2] 58/18
pass [3] 21/1 116/19
                         permits [1] 11/20             25/11 29/6 38/18 110/4 precise [1] 69/11                 94/14
116/20
                         person [16] 3/12 6/9          point [19] 4/14 12/2       precisely [1] 47/24          previously [1] 84/7
passed [1] 37/2
                         6/11 7/15 7/17 10/2           12/25 20/2 25/14 37/11 preclude [1] 41/25               primarily [1] 42/3
passing [1] 20/23
                         10/11 26/8 44/19 47/8 37/14 43/24 51/24 53/9 predict [2] 51/2 88/7                    primary [1] 112/18
past [1] 58/20
                         74/7 83/2 93/7 93/10          55/13 56/16 71/23          predicted    [2]   50/20     principles [1] 7/8
path [4] 84/12 108/14
                         93/10 120/5                   75/13 80/19 96/11          51/1                         prior [6] 16/12 68/9
111/22 121/15
                         person's     [1]  6/7         96/14 99/6 113/25          prefer [1]    98/3            81/19 92/13 99/21
Patrick [1] 40/6
                         personal     [2]   102/5      pointed    [4]  19/17      preordained       [1]  104/16 124/18
Patriots [1] 19/10
                         117/22                        61/14 110/15 110/17        prep [1] 45/15               prison [1] 108/17
pattern [2] 98/14
                         persons     [3]   8/20 123/8 points [8] 5/22 8/11        preparation      [3]  76/18 prisoner [3] 96/19
117/23
                         123/10                        20/1 24/19 34/12 34/12 76/22 83/8                        107/9 114/9
patting [1] 50/12
                         persons'     [1]  7/15        44/4 60/22                 prepare   [1]    118/8       Prisons   [1] 122/4
pay [1] 122/9
                         perspective      [11]   12/7 police [25] 28/21 56/10 prepared [9] 3/17 9/17 pro [2] 18/4 18/4
payable [1] 126/3
                         12/8 31/10 36/21 38/15 69/11 74/25 75/2 79/2 20/13 39/7 114/5 120/3 pro-Biden [1] 18/4
paying [1] 71/25
                         48/5 48/9 48/15 48/18 98/10 98/18 99/3 102/2 121/11 121/14 121/15 pro-Trump [1] 18/4
payments [1] 125/24
                         87/11 95/8                    102/3 102/4 102/8          preponderance [11]           probability [1] 111/21
peacefully [3] 98/25
                         persuading       [1]  66/1    102/18 103/11 103/23 11/5 20/3 38/10 64/10 probably [8] 4/21
106/1 107/5
                         persuasive [1] 75/20          103/24 104/7 104/8         64/14 64/15 64/20 65/5 14/25 26/24 27/5 71/24
Peed [2] 48/22 48/23
                         Peter  [1]   92/11            110/7 111/11 111/12        69/16 73/14 73/19             89/9 96/11 104/7
peers [1] 114/18
                         phillip [3]    2/2 2/6 3/8    112/9 115/1 115/7          prescient    [1]   50/19     probation    [22] 2/13
pejorative [1] 116/12
                         Phillip Linder      [1]  3/8 policies [1] 113/24         presence     [3]   74/8 75/7 3/11 3/21 13/12 56/20
Pelagius [1] 48/11
                         phone [24] 14/11 19/25 policy [1] 87/25                  99/3                          122/13 122/25 123/11
Pelosi [2] 17/22 119/5
                         42/16 43/19 46/6 47/22 political [10] 86/18              present   [5]    65/21 81/6 123/16 123/17 123/22
penalty [1] 112/17
                         47/23 47/24 49/6 49/24 87/9 87/23 88/9 88/16 81/23 117/25 119/11                       124/6 124/9 124/10
Pennsylvania [1]
                         51/6 52/8 52/11 54/2          96/19 96/22 105/24         presented      [2]  13/23     124/13 124/24 125/15
107/16
                         54/21 55/2 55/23 55/24 107/9 114/9                       49/18                         125/16 125/18 126/8
people [87] 6/6 10/18
                         58/10 67/18 67/24 88/5 politicians [1] 92/1              presentence       [10]        126/10 126/13
11/10 17/15 17/15 19/6
                         106/14 123/21                 politics   [1] 114/21      12/14 12/17 13/11            problem    [2] 102/12
19/12 19/14 25/3 30/22
                         photos [3] 102/15             pornography [5] 9/25 13/16 14/8 15/4 55/10 102/13
31/8 31/14 32/12 33/22
                         123/24 124/3                  10/3 10/5 10/17 10/17 122/14 126/8 126/12               problems [1] 35/9
33/23 33/25 34/2 47/16
                         physical [7] 74/7 74/9 portion [2] 10/20 11/8 presenting [2] 49/1                     procedure [4] 60/24
50/12 50/12 51/21
                         74/13 75/9 83/2 104/6 pose [1] 88/21                     49/1                          61/2 61/11 63/7
52/14 53/7 53/24 54/9
                         111/13                        posed [1] 112/22           presents [1] 111/18          proceed [3] 3/17 12/11
54/13 54/20 56/4 56/13
57/4 57/4 58/1 68/6      pieces [1] 77/19              position [7] 23/9 23/13 preserve [2] 59/14               13/5
                         pipe  [1]   98/7              24/1 29/19 34/9 42/9       62/18                        proceeded      [2] 62/25
68/14 68/21 68/24 69/7
                         place  [10]    19/16 44/21 65/10                         preside   [1]   27/3          80/16
69/13 73/5 76/15 76/20
                         61/11 62/3 62/6 62/8          positive [5] 116/6         president [22] 15/15         proceeding [3] 26/6
85/6 85/12 88/12 90/3
                                                                                                                                 145


P Case 1:22-cr-00015-APM
                  125/16                    Document  69/21817      Filed 02/27/24
                                                             93/16 121/5      realized [3]Page      145 ofreferred
                                                                                              89/4 89/6     151 [1] 77/21
                        provided    [6]   10/6        121/10                   89/7                       referring   [1] 117/9
proceeding... [2] 26/7
                        21/22 30/18 40/19            questioned [1] 116/18 really [18] 4/14 20/25 Reffitt [1] 92/18
41/18
                        87/11 100/18                 questioning [1] 47/4      23/23 29/8 34/15 36/13 reflect [6] 15/5 63/4
proceedings [8] 1/9
                        provides [3] 6/5 40/12 questions [4] 3/22              37/25 53/18 53/25           64/8 109/18 110/13
2/19 3/13 5/21 75/17
                        127/1                         3/25 25/14 41/6          57/12 58/10 81/25 93/6 111/1
75/18 127/11 128/4
                        providing [2] 20/24          quick [3] 24/25 33/6      102/16 105/18 106/14 reflected [1] 117/21
process [2] 43/3
                        125/13                        60/22                    116/19 121/17              reflection [1] 119/22
117/21
                        proximate     [3]  4/10      Quick   Reaction   Force Realtime   [1]   2/15       refrain [1] 122/19
proclaimed [1] 97/12
                        4/22 5/3                      [2]  24/25 33/6         reason   [10]   8/1 31/12 Refuse [1] 97/11
procured [1] 22/18
                        proximate-cause [1]          quiet [2] 99/19 99/20     35/14 53/3 67/6 70/5       Refuse Fascism [1]
produce [1] 6/16
                        4/22                         Quigley   [1]  35/7       77/6 80/18 80/20 82/5 97/11
produced [1]   2/19
                        PSD [1] 103/1                quite [5] 36/13 61/25 reasonable [7] 20/4            refute [1] 16/15
products [1] 125/12
                        PSR [4] 14/12 14/16           110/6 112/10 121/4       67/10 68/2 69/20 125/1 regarding [13] 41/6
professionals [2]
                        42/5 56/21                   quote [2] 42/23 44/2      125/4 125/4                 41/12 41/15 41/16 42/4
99/20 117/11
                        PSRs   [1]   89/10           quotes   [2]  36/13      reasonably     [9]  22/23    42/15 42/23 44/15
Professor [2] 9/12
                        public  [7]   90/23 91/2      106/18                   23/17 24/3 65/18 68/5 46/19 46/20 58/20 59/9
87/12
                        95/18 100/9 103/7                                      69/6 69/7 73/18 74/17 59/11
Professor McCord [1]                                 R
                        109/21 111/18                                         reasons   [10] 38/21        regards [2] 56/16 58/3
9/12
                        pulled [2] 50/24 103/22 racist [2] 105/5 116/10 52/22 53/5 60/11 68/6 regime [4] 88/13
Professor Sam
                        Punch [1] 98/22              racists [1] 108/13        68/11 70/16 75/12           106/19 106/21 108/18
Jackson [1] 87/12
                        punched     [1]  103/10      radicalize [2] 85/14      80/17 122/2                regional   [2] 32/8 32/21
proffer [1] 20/15                                     86/14
                        punching     [1]   99/10                              reassigning     [1]  27/1   Registered     [1] 2/15
prohibited [1] 124/17
                        punish   [1]   112/16        ragtag [1] 54/13         rebellion  [1]   112/16     regret  [5]  17/16 72/24
prolific [1] 73/2
                        punishment [5] 60/2 Rahman [1] 94/19                  recall [5] 9/25 19/22        73/3 73/4 119/4
prominent [1] 5/24
                        60/7 60/11 109/19            raise [2] 3/21 127/4      19/25 45/14 67/24          regrettably    [1] 116/22
promote [4] 38/12
                        111/3                        raised [6] 3/24 8/12     receive  [2]  4/6 80/18     rehabilitation    [1] 87/6
109/19 111/2 124/3
                        puppet   [1]   16/9           12/17 14/17 15/2 21/8 received [3] 9/12 12/12 reinforcements [1]
proof [2] 66/15 112/20
                        puppets [1] 16/5             Rakoczy [7] 1/14 3/5      14/7                        54/14
propaganda [1] 118/19                                 40/23 55/14 83/18
                        purchases      [2]  20/1                              receiving   [1]  8/21       reiterate  [1] 55/21
proper [1] 60/3                                       88/24 106/13
                        20/5                                                  recently [3] 8/25 87/15 related [4] 5/25 22/6
property [11] 10/19
                        purely [1] 23/22             rallies [3] 97/25 98/10 119/11                        22/10 85/22
11/2 24/21 25/8 33/20
                        purpose [7] 6/20 7/21 98/17                           recess [5] 63/15 63/16 relates [1] 11/6
34/6 38/8 38/14 56/2
                        36/5 71/4 79/22 112/4 rally [12] 17/7 88/5             108/25 109/1 127/10        relationship [4] 34/22
56/10 83/2
                        126/1                         90/16 90/17 91/3 91/5 recessed [1] 5/21              35/2 70/17 77/23
proportionality [3]
                        purposes     [9]   4/23 7/12 91/10 91/11 98/1 98/17 recitation [2] 52/23          relative  [1] 113/23
80/9 80/10 110/23
                        10/9 15/3 22/1 55/10          98/24 100/15             89/11                      relax  [1]  10/11
proposed [1] 41/7
                        63/24 82/24 111/23           ranch [1] 117/6          recitations   [1]  16/15    relaxed   [1]  8/3
proposition [3] 5/2
                        pursuant    [6]   62/4 62/7 Randolph [1] 8/18         recite [2]  13/9 64/7       release   [4]  95/20 122/8
8/20 79/4
                        63/6 124/24 124/25           Randolph's [1] 9/3       recited [2] 20/10 64/6 125/18 126/8
prosecute [3] 27/2
                        126/23                       range [5] 83/14 83/15 reciting [1] 20/23             released [1] 120/3
27/4 27/24
                        push  [1]   88/6              83/24 89/19 94/3        recognizes     [1]  5/12    relevant [7] 22/15
prosecuted [1] 97/19
                        pushed    [2]   103/18       rank [1] 32/8            recollection    [2]  42/23 22/15 23/1 23/2 23/10
prosecution [4] 27/20
                        103/22                       rare [2] 80/20 80/20      47/9                        23/19 38/11
67/7 106/15 107/7
                        pushing    [2]   6/6 75/2    rather [2] 16/19 78/12 recommendation [1]            relied [1] 49/13
prosecutorial [2]  28/8
                        put [14] 11/21 28/15         razor [1] 49/15           13/12                      relief [1] 95/11
31/13
                        31/14 41/19 56/15 85/7 re [5] 6/5 42/19 50/7          recommended        [2] 3/21 religious [1] 124/4
prosecutors [1] 94/25                                 51/5 52/21
                        91/25 91/25 101/25                                     122/13                     remains [1] 114/24
protect [10] 67/7 73/8
                        102/1 102/4 102/11           re-hearing [1] 42/19     reconcile   [1]  67/15      remarkable [1] 71/8
73/9 97/8 100/6 109/20
                        107/4 113/2                  re-statement [1] 6/5     reconciled    [1]  108/10 remedy [1] 107/5
115/3 115/3 115/4
116/17                  puts [3] 55/24 121/18 re-try [2] 50/7 52/21           record [15] 13/9 15/3 remember [6] 4/21
                        121/22                       re-urge [1] 51/5          25/24 28/19 43/7 55/10 11/11 42/21 45/20
protected [8] 21/9
                        putting  [3]    28/15 28/18 reach [5] 65/6 101/6       55/22 56/15 63/22 64/8 46/23 76/10
21/14 21/15 96/21 97/6
                        117/20                        101/7 101/8 101/19       64/14 95/9 99/9 99/12 remind [1] 26/13
97/23 98/25 100/12
                                                     reacted [1] 113/9         128/3                      removed [1] 17/20
protected them [1]      Q                            reaction [3] 24/25 33/6 recorded [1] 2/19            rending [1] 104/4
97/6
                        QAnon [1] 90/8                46/4                    recording    [2]  17/13     repairs  [1] 10/23
protectees [1] 68/15
                        QAnon Shaman [1]             reactive [2] 17/1 18/6 119/3                         repeated    [2] 39/9
protecting [3] 96/22    90/8                         read [12] 9/13 9/16      recourse   [1]   16/1        98/15
97/3 99/2
                        QRF [9] 16/18 16/25           9/23 13/10 13/17 13/19 recruited [1] 30/17          repeatedly [3] 36/8
Protection [1] 87/17    18/6 31/4 31/21 33/4          13/22 14/7 36/12 89/8 rectified [1] 28/14            85/4 120/18
Proud [5] 99/14 104/19 33/8 33/24 39/16               89/9 89/17              rectify [2] 27/20 28/1 reply [3] 27/10 29/16
104/25 105/22 105/23
                        quality [2] 4/3 47/14        reading [2] 34/13        redirect [2] 44/11 45/1 100/25
Proud Boys [3] 99/14
                        question [21] 4/14            34/16                   redress [1] 120/8           report [12] 12/15 12/18
104/25 105/22
                        4/17 4/18 8/11 10/2          ready [1] 9/15           reduction    [3]  80/14      13/11 13/16 14/8 15/5
provide [12] 13/1       10/24 11/7 12/20 22/10 real [1] 58/2                   80/19 80/22                 55/10 122/15 123/15
14/10 27/16 32/19 40/2
                        24/6 25/10 34/8 41/2         reality [3] 48/20 48/21 refer [1] 32/14               124/6 126/9 126/13
52/25 64/18 109/19
                        49/4 51/8 67/12 69/15 120/1                           reference   [1]   4/6       reported    [4] 30/10
109/21 111/3 111/8
                                                                                                                                   146


R Case 1:22-cr-00015-APM
                  87/2                       Document        817[1] 15/25
                                                       Roberts          Filed 02/27/24
                                                                                   sat [3] 14/22Page89/7146 of76/10
                                                                                                               151 78/7 82/8 84/17
                        retain  [1]    125/22          Roger    [2]   103/1 103/2 89/16                       85/4 86/15 87/21 94/16
reported... [3] 30/13
                        retaliate [2] 36/25            Roger Stone [2] 103/1 save [1] 85/19                   97/19 97/20 110/11
 30/14 51/13
                         78/15                          103/2                      saw [8] 23/13 71/19        110/18 111/6 112/13
Reporter [4] 2/14 2/15
                        retaliation [1] 37/9           rogue [2] 51/21 51/23 85/4 90/1 98/23 102/13 113/1
 2/15 2/16
                        retaliatory [1] 37/4           role [22] 8/9 25/7 29/7 102/15 114/25                 see [16] 13/2 30/19
represented [1] 73/24
                        retired   [3]   98/10 99/3      29/17 29/18 29/21 31/4 say [35] 5/17 6/13 6/23 31/1 36/1 40/11 48/6
Republic [1] 118/2
                         102/8                          31/8 31/17 31/18 33/23 9/2 13/22 16/16 20/25 48/8 48/14 49/21 52/15
request [3] 58/17
                        return   [1]    126/12          33/23 34/11 41/13           27/18 27/23 35/6 37/19 84/9 89/13 102/12
 81/20 126/19
                        review    [3]   9/13 14/7       46/19 50/8 57/18 69/23 38/7 40/15 42/17 44/16 102/13 102/16 102/16
requested [7] 11/13
                         14/12                          83/9 84/17 86/14 88/19 47/2 48/18 57/13 59/16 seek [4] 87/9 99/14
 60/16 78/4 80/14 81/2
                        reviewed      [5]   12/12      roll [1] 6/8                 59/20 64/1 65/9 67/14 99/15 123/17
 86/17 125/17
                         12/14 13/10 13/21             room    [1]   48/23          68/4 71/22 79/15 81/14 seeking [2] 66/25
requesting [1] 10/1
                         13/22                         Rotunda      [1]  72/11      86/24 106/13 106/20       86/14
require [4] 9/2 38/7
                        revolution      [5]  16/11     roughly     [3]  26/21 40/3 106/23 107/14 108/16 seem [1] 37/17
 79/7 79/17
                         18/12 65/22 85/8 114/6 49/20                               110/8 115/17             seemed [2] 47/14
required [5] 7/11 7/11
                        revolution/Civil      War  [1] row   [1]  105/20           saying  [5]   59/3 90/22   59/22
 59/17 65/7 66/6
                          16/11                        Rubenacker       [1] 25/25 96/18 97/21 106/18         seems    [6] 27/17 27/23
requires [4] 4/2 59/4
                        rhetoric    [4]   91/23 96/5 rule [7] 6/3 13/1 15/12 says [11] 5/6 8/18               37/20 58/14 69/15 80/2
 78/9 79/19
                         96/6 118/19                    24/14 64/7 84/5 86/19 15/24 16/7 17/6 17/14 seen [2] 114/24 116/11
resembling [1] 120/19
                        RHODES        [191]            Rule   29 [3] 15/12 24/14 17/24 33/7 108/4 108/4 self [1] 119/22
reserve [2] 60/1 60/11
                        Rhodes      3  [1]  87/14       64/7                        108/5                    self-reflection [1]
reserved [1] 95/16
                        Rhodes      6  [1]  87/13      ruled   [1]   73/22         scared   [1] 90/3          119/22
residence [2]   125/21
                        Rhodes'      [33]   11/23      rules   [1]  107/20         scars  [1]  104/5         selfies  [1] 105/13
 126/11
                         18/22 19/11 19/22 20/5 rulings [1] 65/8                   scenario   [1]   16/1     Senate    [6] 60/24 74/25
resist [2] 65/1 68/10
                         20/9 20/20 21/9 21/12 run [1] 122/9                       scheme    [1]   82/17      75/3 100/16 100/17
resistance [2] 17/16
                         21/22 25/7 26/18 32/1 running [2] 33/9 86/21 school [3] 115/23                       103/18
 21/18
                         32/3 32/20 36/6 37/5          runs   [1]   93/11           115/24 116/1             send  [1] 54/12
resisting [1] 65/23
                         38/10 42/14 42/19                                         Schwartz     [1]  92/11   sense  [11] 4/14 6/16
resolve [2] 11/19 120/7
                         44/25 45/5 45/13 46/4 S                                   scold  [1]  71/20          14/15 22/10 30/22 35/2
resolved [1] 11/25
                         65/10 66/20 71/12             safe [1] 68/16              scolded [1] 71/22          68/3 71/10 101/1 111/3
resolves [2] 9/9 12/3
                         80/23 85/11 85/14 86/7 saga [1] 47/14                     scope [20] 12/21 22/6 118/15
resources [4] 26/15
                         86/21 88/14                   said [76] 4/4 6/17 9/1       22/10 22/22 23/10        sentence [32] 13/5
 27/1 27/3 27/19
                        ridiculous [1] 104/21           9/5 9/14 10/10 19/8         23/12 23/24 29/6 56/17 38/19 38/22 40/18
respect [19] 9/11 10/16                                 19/24 20/16 20/18
                        rifles [4] 17/10 17/17                                      56/22 57/3 57/6 57/11 83/21 83/22 83/25
 10/25 12/17 13/10
                         17/21 18/11                    21/18 21/21 29/1 41/23 64/21 65/16 74/16 76/9 86/16 86/24 87/4 88/22
 24/19 25/16 33/14
                                       3/14 7/9 12/3 41/24 42/2 44/14 45/1 76/12 76/14 83/7                   89/3 90/5 90/10 90/11
 34/10 42/12 46/2 46/11 right [41]
                         12/9 14/5 14/14 15/23 45/2 45/4 45/11 46/4                score  [1]   38/19         90/11 93/11 93/21
 47/3 67/12 73/21 86/19
                         17/18 17/20 17/22 22/4 47/6 47/9 48/11 48/12 scream [1] 99/16                        95/14 95/15 95/19 96/2
 109/19 110/23 111/2
                         28/11 36/14 37/13              48/24 50/23 53/2 54/20 screamed [1] 98/22             96/3 109/12 109/17
respectfully [5] 43/16
                         39/21 40/25 46/11 52/1 55/15 55/19 55/21 57/8 script [1] 105/8                       110/13 110/25 111/1
 46/17 51/5 59/13 59/20
                         60/16 63/12 69/2 69/19 64/13 64/18 67/18                  search   [2]  124/25       126/11 126/16 126/24
respond [4] 9/15 9/17                                   67/20 67/21 67/23
                         75/7 88/9 92/1 93/13                                       125/3                     127/2
 14/20 99/19
                         96/22 100/12 102/12            68/16 69/6 70/1 70/19 searches [3] 124/11            sentence-wise     [1]
responded [1] 52/18
                         105/24 106/20 108/20 70/25 71/1 71/2 71/17 124/16 124/23                             90/11
responds [1]   16/2
                         108/23 113/21 114/12 71/24 72/15 72/15                    searching [1] 85/23       sentenced [7] 87/20
response [7] 28/4 28/5                                  72/21 73/7 74/16 75/6 seated [2] 63/19 109/5 92/7 92/9 92/11 94/16
                         120/15 120/25 121/6
 41/8 41/14 47/6 94/5
                         121/13 126/15 126/22 75/17 77/3 78/6 81/16 second [5] 18/16 25/4 117/25 122/7
 94/6
                        right-wing [2] 92/1             88/11 91/13 100/10          31/2 65/6 70/24          sentences [3] 92/4
responsibility [7]                                      101/14 101/22 101/23 Secret [3] 28/20 76/3
                         113/21                                                                               110/3 110/14
 33/20 34/1 34/6 66/20
                        rightfully    [1]   28/9        102/21 111/14 114/15 98/1                            sentencing     [28] 1/9
 80/15 81/1 118/17
                        rightly   [2]   110/2 116/5 117/15 117/22 117/24 section [10] 8/21 14/20 3/16 7/13 11/24 12/1
responsible [9] 10/3                                    118/24 119/11 119/23 22/15 22/19 23/1 33/17 13/13 13/15 26/1 35/17
                                           112/20
 10/12 10/19 11/8 11/9 rigorous [1]
                        rings  [1]    77/18             120/12 121/16               33/18 38/20 41/15         37/21 40/5 44/1 49/12
 22/21 63/24 74/12
                        riot [2]   26/4 102/14         Saint [1] 48/12              100/23                    82/24 84/8 84/13 84/14
 74/15
                        rioters   [3]   84/25 91/17 Saint Augustine [1]            Section   1B1.3    [3]     85/10 87/6 87/13 88/4
rest [1] 121/23                                         48/12
                         91/17                                                      22/15 22/19 23/1          88/15 93/12 94/5 94/7
restate [1] 109/8
                        rise [4]   63/14 108/24        Salke [1] 74/20             Section   3B1.1    [1]     104/11 109/14 122/14
restitution [9] 4/23
                         109/2 127/9                   salty [1] 45/4               33/18                    Sentencing
 9/22 10/1 10/20 10/25
                        risk [1] 119/23                Sam [1] 87/12               secured [1] 99/12          Commission [2] 7/13
 11/18 11/21 123/1
                        river [3] 39/6 74/3            same [10] 19/16 41/11 security [7] 52/25 93/8 37/21
 125/24
                         78/24                          82/14 82/22 97/7 100/7 99/21 100/7 100/18            sentencings [1] 13/7
restriction [1] 79/5                                    105/14 105/15 106/17 100/19 119/7
                        RMR [2] 128/2 128/8                                                                  separate [5] 50/11
result [2] 36/3 67/8                                    112/10
                        road [1] 86/9                                              sedition [4] 94/14         79/14 79/14 82/22
resulted [5] 3/25 4/11
                        robbery     [1]   93/6         Sandra [1] 47/23             110/14 113/7 114/17       119/21
 23/3 26/10 76/7
                        Roberto     [1]   77/21        Sandra Parker's [1]         seditious   [23]   21/13  series  [1] 113/9
resulted-in [1] 4/11                                    47/23
                        Roberto     Minuta     [1]                                  24/22 26/20 31/14        serious    [6] 79/14 90/4
resulting [1] 25/17
                         77/21                         sane [1] 119/18              35/23 59/24 64/3 73/24 110/4 110/5 110/6
results [3] 7/24 84/24
                                                                                                                                         147


S Case 1:22-cr-00015-APM         Document
                  19/14 22/6 68/17         817
                                   74/2 108/17                           Filed 02/27/24
                                                                                    specializePage          147 of113/8
                                                                                                    [1] 125/13      151
                         102/14 117/9                  some    [65]   3/21 3/25     specific    [10]    9/11      statements      [3] 18/11
serious... [1] 113/2
                        sides [1] 89/18                 4/2 4/4 5/4 5/12 8/22        22/11 23/16 25/11             32/2 87/13
seriousness [3]
                        Siekerman [4] 32/10             9/15 9/24 10/13 12/18 25/16 30/8 58/10 82/19 states [27] 1/1 1/3 1/10
 109/18 111/2 112/12
                         32/14 32/18 77/24              15/4 20/10 21/21 23/7 87/5 115/15                          3/3 4/7 4/20 20/7 27/9
serve [2] 115/23 122/7
                        sign [1] 17/9                   25/6 25/6 25/22 29/13 specifically [5] 10/18               28/20 32/6 35/7 35/24
served [1] 81/11
                        Signal     [4]   20/21 65/25 29/13 29/15 30/25 31/5 46/20 65/19 69/11                      65/1 74/6 81/8 82/11
service [7] 28/20 76/3
                         66/3 72/25                     31/11 32/23 33/22            78/21                         84/6 85/9 87/19 94/17
 81/4 81/5 95/10 98/1
                        significance        [1]  39/25 33/25 34/20 35/1 35/14 specified [1] 81/25                  107/19 109/11 111/15
 116/6
                        significant       [4]  79/25    36/5 37/22 40/13 40/17 spectrum [1] 88/17                  113/12 117/1 123/11
services [3] 123/23
                         83/20 86/16 87/4               40/19 41/11 52/24           speculate      [1]   45/25     125/19
 125/6 125/9
                        similar     [5]   29/1 31/1     52/24 53/5 54/14 55/6 speech [13] 21/9 21/10 statute [6] 7/6 11/19
serving [1] 99/4
                         40/8 49/2 94/25                56/4 56/6 64/18 67/17 21/13 21/14 21/14                    109/14 109/25 112/24
session [2] 63/17
                        simple     [2]    11/13 90/22 71/10 72/19 77/16 80/8 21/16 96/21 96/22                     127/1
 109/3
                        simply     [10]    17/24 18/6 89/19 90/19 90/20              96/22 97/1 100/13            statutes    [1] 112/22
set [9] 7/8 41/20 61/1
                         19/24 20/23 62/14 63/3 91/22 92/4 92/8 92/25 100/17 117/7                                statutorily    [1] 37/24
 61/11 75/12 105/9
                         73/8 76/14 99/15 108/2 99/4 102/15 110/19                  spend    [1]    108/16        stay   [4]  31/9 68/14
 109/11 109/14 109/25
                        since [5] 9/5 80/24             111/3 115/19 115/19         spirit [1] 17/15               68/15 99/18
settled [2] 21/14 21/16
                         80/24 80/25 112/24             116/5 116/16 119/17         spoken     [1]    100/14      stayed    [1] 100/19
Seventh [1] 27/11
                        singing      [1]   50/15       somebody       [19]    13/18 sponte [1] 51/9               Steal   [3]  90/17 91/5
several [2] 32/1 56/22
                        single    [1]    72/21          15/25 23/22 24/21 26/4 spray [1] 99/11                     91/10
shaking [1] 50/12
                        sir [5] 14/12 106/8             29/7 30/19 31/20 35/4 sprayed [1] 103/12                  stenography [1] 2/19
shall [10] 107/23
                         108/19 117/25 127/5            51/2 51/20 70/20 70/21 spraying [1] 99/10                 step [5] 43/2 49/20
 122/11 124/16 125/8
                        sis  [1]   15/23                72/13 72/14 72/14           spun   [1]   92/2              89/25 98/16 102/12
 125/11 125/24 126/1
                        sisters     [1]   104/13        80/18 80/22 113/19          squarely     [3]   36/22      stepped     [3] 98/8 98/23
 126/5 126/12 126/17
                        sit [2]   49/13 120/1          somehow       [4]   7/17      78/16 83/23                   102/20
Shaman [1] 90/8
                        sites [1] 123/23                75/22 105/5 108/14          stabbed [1] 100/4             steps [14] 15/22 19/9
shame [1] 113/18
                        sitting    [2]   34/15 114/13 someone [9] 24/24             stabs   [1]   100/4            19/13 19/13 25/4 43/3
share [2] 66/2 125/19
                        situation      [3]  10/16       36/7 39/23 72/3 93/5        stack  [4]    24/16 24/16      43/22 50/20 51/23
shared [2] 18/17
                         33/8 120/19                    93/11 103/23 104/11          50/3 76/21                    63/21 72/13 121/11
 118/21
                        situations [1] 35/4             104/11                      Stack 1 [1] 24/16              121/14 121/18
sharing [1] 11/17
                        six [12] 27/4 38/24            something [15] 20/16 Stack 2 [1] 24/16                     STEWART [12] 1/6 2/2
she [5] 103/17 103/18
                         39/2 39/21 40/3 54/13 24/3 26/24 27/8 39/14 staff [2] 74/10 75/10                         3/4 15/21 30/14 56/7
 106/18 106/19 106/20
                         78/4 79/11 80/2 80/8           39/20 40/7 42/16 45/16 stage [1] 100/15                    70/7 70/15 70/20 72/15
she's [1] 30/20
                         83/11 115/18                   45/17 45/18 47/15           stamina [1] 115/8              73/12 116/21
sheep [2] 117/13
                        six-level     [4]   38/24       50/25 51/14 81/16           stance    [1]    42/14        Stewart     Rhodes [6]
 117/13
                         39/21 78/4 80/8               somewhat       [2]  36/9     stand   [11]     58/18 59/10 30/14 70/7 70/15 70/20
shit [1] 17/8
                        Skype [1] 125/12                44/17                        60/4 63/14 66/10 85/21 73/12 116/21
shooting [1] 99/10
                        slam    [1]   104/1            somewhere        [1]  96/7    89/2 99/18 101/10            still [18] 33/19 34/4
short [1] 19/20
                        slight   [1]    49/3           soon   [3]   47/20 71/8       114/14 114/14                 40/10 40/18 42/4 42/11
shortly [1] 106/10
                        slightly     [3]   8/3 25/22    80/23                       standard      [11]   7/4 8/2   43/6 44/16 44/17 46/2
should [28] 7/14 7/17
                         109/24                        sooner    [1]   11/23         8/4 10/8 10/11 11/6           46/12 60/6 91/15 93/18
 9/23 12/21 13/21 16/4
                        small    [1]    49/17          sophomoric        [1]  89/14 21/12 25/20 25/21 26/3 101/17 104/5 121/16
 16/16 17/17 17/21
                                        50/19 73/13 SoRelle [5] 15/21 17/7 76/6                                    125/22
 39/16 41/24 59/8 59/12 smart [4]
                         118/3 124/15                   20/24 21/4 51/23            standards [2] 6/19            stockpiling [1] 78/23
 59/25 59/25 64/8 88/21
                                           90/24       sorry [4] 4/20 74/11          6/25                         stolen [2] 88/7 119/12
 89/3 93/10 94/9 104/22 smarter [1]
                        smear     [1]    105/5          78/12 78/12                 standing     [7]    43/4      stone [3] 41/20 103/1
 107/18 109/23 114/4
                        smeared        [1]  106/6      sort [17]    4/2 4/3 4/23     45/21 49/20 52/16             103/2
 115/12 116/14 119/4
                        Smith     [2]   8/20 15/20      5/1 5/19 15/7 29/19          72/13 98/18 100/21           stood    [1] 100/11
 120/10
                        SMS    [1]    123/24            30/6 31/6 33/2 34/1         standoffs      [1]   117/5    stop   [28]   24/23 35/23
shouldn't [2] 98/12
                        snippets       [1]  49/17       35/1 37/4 38/18 39/3        stands    [4]    64/3 87/20 39/25 46/8 52/17 53/10
 116/9
                        so [143]                        47/6 80/8                    108/25 127/10                 53/11 53/18 53/22 54/4
shoved [1] 103/23
                        so  I think     [8]  7/8 7/23 sound [1] 119/6               start [7]    5/1 50/1 50/15 57/24 58/23 61/20
show [2] 6/24 17/8
                         12/3 28/12 29/9 35/21 south [5] 19/6 19/8                   50/22 61/12 96/18             62/12 68/7 71/2 71/3
showed [14] 15/8
                         37/25 78/2                     19/9 68/17 100/19            112/14                        87/21 88/11 88/12
 15/12 16/17 17/14
                        So  this    is  [1]   40/9     South    Carolina     [1]    started   [10]     35/8 56/21 88/13 90/17 91/5 91/10
 17/15 47/23 65/20 66/1
                                         123/19         100/19                       91/4 91/4 91/5 91/5           97/21 106/18 108/11
 66/4 66/8 69/25 72/24 social [6]
                         123/20 123/21 123/23 Southern [1] 99/7                      91/24 96/5 96/7 97/2          119/16
 90/14 91/16
                         123/23 124/3                  speak    [8]  38/22 42/11 starting [2] 39/15               stopped     [6] 61/9 62/2
showing [2] 17/25 78/9
                        SOCs [1] 24/2                   50/7 52/25 96/15 101/4 98/16                               62/10 88/11 105/25
shown [2] 91/14 91/19
                        software [5] 124/14             111/4 120/2                 starts [1] 11/24               106/19
shows [3] 43/19 64/19
                         124/18 124/19 124/21 speaker [3] 74/10                     state [7] 31/18 32/8          stopping [3] 36/20
 76/22
                         125/12                         90/19 103/3                  63/22 107/22 107/23           61/24 84/2
shut [3] 67/5 96/25
                        soldier [1] 31/20              Speaker's [1] 75/8            108/1 122/18                 stops [1] 106/19
 98/18
                        soldiers [2] 94/23             speakers [1] 53/1            stated [3] 32/3 101/20 storm [1] 43/13
sic [4] 37/19 54/15
                         110/21                        speaks    [2]   51/19 59/9 120/18                          street [3] 1/17 2/11
 81/21 115/24
                        sole   [1]    80/18            special   [4]   28/19 80/19 statement [5] 6/5               99/15
sick [1] 102/7
                        Solzhenitsyn         [1]        122/10 123/4                 20/18 89/21 108/21           street-fight    [1] 99/15
side [9] 19/6 19/9 19/9
                                                                                                                                     148


S Case 1:22-cr-00015-APM
                 suites [1] 75/12Document 817
                                      89/25       Filed 02/27/24
                                            102/5 106/19    58/18 59/9Page   148 of79/24
                                                                       60/5 79/8    151 79/25 83/16
                         sum [1] 112/5                 106/23 108/22 109/24 79/18 79/19 83/11 84/4 93/16 94/18 98/8 99/6
streets [3] 97/8 105/25
                         summa [1] 115/21              113/1 114/5 118/9            terrorist [2] 123/6          100/23 101/9 101/14
 118/13
                         summa cum laude [1] 120/4 121/8 121/11                      123/14                      103/6 106/22 107/5
strict [4] 6/16 7/4 7/10
                          115/21                       121/14                       terrorists [1] 108/13        108/1 113/7 113/17
 30/6
                         summary [2] 65/9             taken [11] 43/2 43/2          test [4] 7/1 7/10 21/1       114/6 115/4 116/10
strictly [2] 7/25 112/19
                          110/2                        53/15 54/3 62/3 62/6          122/21                      116/18 118/4 120/16
strike [1] 103/25
                         Sunday    [1]    88/3         74/16 81/21 81/24            testified   [9]  16/25 17/2 126/16 126/24
stringent [1] 5/9
                         sunlight [1] 107/4            106/5 110/7                   18/17 30/12 30/17 44/3 theft [1] 88/7
strokes [1] 64/19
                         superior    [2]   34/22 35/3 taking [5] 15/19 15/23 44/23 45/21 86/1                   their [39] 6/1 16/25
strong [1] 24/13
                         supervise     [1]  33/16      21/23 66/6 103/19            testify  [2]   45/3 46/10    20/22 31/9 32/16 32/17
stronger [1] 37/6
                         supervised      [2]  95/20 Taliban [1] 94/23               testifying    [1]  49/10     46/1 49/12 57/15 62/16
structure [3] 13/6
                          122/8                       talk  [6]   35/16 46/18       testimony      [35] 17/25    66/9 66/17 67/4 69/18
 31/11 70/2
                         supervision      [7]  35/1    51/18 80/23 90/2 115/6 18/15 19/18 19/21                  74/4 74/8 74/22 76/7
struggling [1] 48/5
                          35/5 122/11 122/16          talked    [20]  30/1 30/9      19/22 28/19 43/18           79/2 85/24 86/4 86/6
stuff [1] 56/5
                          122/22 125/2 125/20          32/4 32/10 32/12 42/17 43/24 44/3 44/6 44/10 86/9 93/8 93/11 95/6
stun [1] 103/12
                         support [10] 13/23            43/25 48/7 50/2 52/9          44/13 44/15 44/24 45/3 98/12 105/25 107/18
stupid [7] 44/14 45/6
                          16/15 25/1 26/20 32/19 54/16 54/22 54/25                   45/6 45/7 45/13 45/14 111/22 115/5 115/7
 45/24 47/7 71/15 73/1
                          34/20 40/13 64/6 66/24 67/13 69/10 85/10 94/8 46/23 49/12 52/20 61/4 115/8 115/8 115/8
 101/23
                          82/3                         94/12 106/13 107/2            61/8 61/15 67/24 69/22 115/9 118/9 118/17
stupid,' [1] 71/23
                         supported      [6]  28/6     talked    about    [1]  94/12 70/18 71/13 71/18 72/9 124/23
stupid.' [1] 72/16
                          38/1 38/2 112/16            talking [9] 6/12 8/5           77/15 103/17 104/3         thelinderfirm.com [1]
sua [1] 51/9
                          113/19 114/11                33/4 37/23 50/15 72/6 104/4                               2/6
sua sponte [1]   51/9
                         supporter     [2]   98/20     72/7 74/23 106/22            tests  [3]   5/23 6/14      them   [65] 6/3 6/3 11/2
subject [5] 47/3 112/24
                          98/21                       talks   [2]  93/11 94/14       122/22                      14/21 14/22 20/10 25/6
 124/12 124/23 126/25
                         supporters [7] 97/1          tantamount [1] 82/10 Texas [4] 91/12 98/4                  30/18 49/21 50/4 50/10
submit [2] 62/14
                          97/8 97/18 97/25 98/11 target [1] 106/3                    98/6 107/16                 50/17 56/2 56/3 60/24
 122/21
                          102/18 108/12               targeting     [3]  79/18      text [7]   7/6 7/20 15/20 68/14 68/15 69/1 73/9
submitted [4] 13/18
 87/12 87/15 87/23       supports [3] 24/2 40/3 79/22 110/19                         16/12 20/20 61/18           75/9 77/14 78/18 78/19
                          71/10                       Tarpley     [3] 2/10 3/9       108/7                       80/1 86/6 86/8 90/19
subordinate [1] 30/13
                         suppose [2] 28/4 81/16 60/14                               than [25] 7/1 11/23          90/20 92/21 94/9 94/23
subordinates [1] 34/23
                         supposed [2] 82/21           task [1] 101/17                26/20 38/3 44/16 47/1 97/6 97/15 97/19 98/23
substance [2] 122/19
                          103/2                       tasks [1] 41/11                60/8 78/10 78/12 79/6 99/5 99/16 99/22 99/22
 122/20
                         suppression [1] 88/10 teach [1] 99/20                       79/15 90/24 93/11           99/23 99/25 100/6
substances [1] 100/2
                         supremacists [1]             teaches [1] 6/18               95/15 105/17 107/13         101/1 101/3 101/10
substantial [16] 3/24
                          104/20                      team    [14]   30/10 31/4      109/13 109/25 111/18 101/12 101/19 102/11
 25/17 26/10 26/11 27/6
                                           4/19 4/23 32/16 32/16 32/21 33/5 111/25 112/22 115/7                  102/23 103/4 103/11
 27/14 29/4 41/13 42/4 supreme [7]
                          81/7 86/23 107/17            33/24 41/10 42/11             115/10 117/4 120/24         103/12 103/12 105/6
 55/15 56/11 75/16
                          111/14 116/2                 96/12 100/19 101/2           thank   [27]    14/13 22/8 105/19 107/10 110/19
 75/19 75/25 76/7 83/5
                         Supreme Court [5]             101/18 103/1                  40/23 40/24 58/11           113/2 116/23 117/1
substantive [1] 112/6
                          4/23 81/7 107/17            teams     [3]  70/4 101/25 58/12 58/15 60/12               117/20 118/7 118/7
success [1] 85/11
                          111/14 116/2                 102/25                        60/21 63/10 63/11           118/8 118/9
successfully [1]
                         Supreme      Court's   [1]   TeamSpeak         [1]  125/13 63/13 63/20 83/19           them   to [1] 73/9
 111/20
                          4/19                        telecommunications             88/23 88/24 89/1 95/24 theme [1] 86/21
such [17] 7/6 19/25
 22/20 32/13 33/16       sure [7] 4/13 4/17            [1] 125/11                    96/8 96/9 106/11           themselves [7] 6/9
                          25/13 48/19 63/7 72/8 tell [12] 17/17 20/22                108/19 108/20 108/23 35/15 111/4 115/3
 38/13 74/5 94/24
                          101/13                       30/1 37/16 44/12 49/14 109/4 127/6 127/7                  118/8 119/21 120/20
 107/24 118/24 122/8
                         surmise    [1]   31/16        68/14 68/14 71/24            thank   you    [18]  22/8   then  [62] 7/17 11/7
 124/2 124/5 125/7
                         surmising     [1]   53/15     85/22 93/18 99/25             40/23 40/24 58/11           12/16 12/19 13/1 13/3
 125/12 126/6 126/6
                         surprise [1] 69/22           telling [1] 73/8               58/12 58/15 60/12           13/5 15/3 16/10 17/18
sudden [2] 50/1 51/4
                         surreal [1]     104/14       temper     [1]  103/22         63/13 83/19 88/23           17/21 17/22 25/2 25/25
sue [1] 104/22
                         survival  [1]    86/20       ten  [2]   58/20 110/5         88/24 89/1 95/24 96/8 27/24 29/5 30/17 32/8
sued [1] 107/16
                         suspect [1] 67/15            tendencies [1] 93/2            96/9 108/19 108/20          32/12 32/21 32/21 36/7
suffer [1] 84/12
                         suspicion     [1]   125/1    tens   [1]   91/18             109/4                       41/7 41/9 41/14 41/23
suffices [1] 76/6
                         sworn  [6]    16/3 16/6      term   [3]   3/25 7/23        that [868]                   42/2 43/1 43/22 44/6
sufficient [7] 5/14 5/20
                          44/13 49/11 62/6 97/13 51/21                              that they    [1]  94/9       44/16 45/20 49/11
 6/7 6/15 7/16 60/8
                         sympathetic       [1] 104/3 termination [1] 126/14 that'll [1] 13/6                     49/13 49/25 50/14
 109/12
                         system   [3]    87/3 88/21 terms [19] 4/1 11/2             that's  [63]    5/16 6/12    50/17 50/22 51/15 54/8
suggest [11] 5/18 7/22
                          119/21                       21/5 29/1 34/19 40/4          6/21 11/7 13/19 14/1        57/2 57/10 58/2 63/25
 16/14 39/20 43/16
                         systemic [2] 96/24            41/14 51/18 60/1 71/16 17/11 22/3 28/25 33/11 71/1 71/12 71/24 72/17
 46/12 46/17 51/5 56/11
                          98/15                        76/2 76/2 76/15 76/19 35/8 35/14 40/15 40/22 73/6 75/6 75/18 76/18
 59/13 72/19
                         systems [1] 125/9             79/3 111/13 116/12            42/13 42/16 44/14           78/25 93/6 102/7
suggesting [4] 72/23
                                                       122/4 122/8                   44/17 45/17 45/18           103/24 105/22 114/5
 77/22 78/1 118/18       T                            terribly [1] 4/13              45/19 45/23 47/18           116/3 119/21 120/23
suggestion [3] 46/7
                         tablets [1] 125/14           terror   [1]  88/10            47/19 48/1 50/25 51/1 121/24
 49/10 57/23
                         take [23] 18/1 37/5          terrorism [17] 35/20           54/7 57/10 58/6 59/7       then-Chief Judge
suggests [3] 5/24         43/8 50/11 52/17 54/6 36/1 37/24 38/13 38/25 62/19 62/24 67/18 68/1 Howell [1] 25/25
 39/12 87/8
                          63/12 66/9 76/13 88/13 39/19 39/22 41/16 58/7 68/16 69/2 70/12 77/5 then-Guidelines [1]
suite [3] 2/4 2/8 75/8
                                                                                                                              149


T Case 1:22-cr-00015-APM
                 Thompson [1] Document  817
                              104/17 100/1                            Filed 02/27/24
                                                                                97/22      Page 149 of64/1 15164/6 68/13 70/16
                        thorough [2] 14/1 44/1 thus [2] 41/23 41/24            transferred [1] 125/21 70/18 70/18 70/24
then-Guidelines... [1]
                        those [68] 3/22 4/16       tie [1] 105/6               transgender [1] 98/20 76/22 76/24 77/1 80/12
 63/25
                         7/8 10/25 11/4 11/6       tier [1] 102/17             transitioned [1] 113/12 80/14 80/19 80/21
theologian [1] 48/10
                         16/23 18/21 22/16 25/4 time [32] 5/20 40/1            transportation [1]         82/16 83/8 83/10 89/7
theologians [1] 48/7
                         34/2 36/12 39/19 40/2 42/21 42/22 42/24 43/8 76/16                               89/17 91/12 92/2 98/17
theory [8] 10/18 26/6
                         41/8 49/23 64/7 64/9       44/7 44/8 58/15 71/23 transporting [1] 101/3 105/23 110/12 113/1
 54/3 57/13 57/14 57/15
                         64/10 64/14 65/15          72/7 72/10 75/10 75/11 travel [1] 84/22               114/19 122/22
 61/23 108/2
                         66/17 66/19 66/21 67/1 75/19 75/24 76/13 87/8 traveling [1] 110/20              two-level [3] 57/17
there [141]
                         70/11 72/20 72/25          87/9 95/12 95/13 96/16 treason [4] 82/8 94/16 80/14 80/21
there's [36] 7/20 7/21
                         73/10 74/14 75/9 75/12 98/4 98/24 101/22               112/17 112/23            two-point [1] 80/19
 17/12 17/25 18/10
                         76/22 77/1 80/9 84/11 106/4 113/25 114/22             treatise  [1]  5/24       two-thirds [1] 44/20
 20/20 28/24 31/12
                         85/17 85/17 87/25 88/8 121/4 125/4 126/6              treatment    [2] 126/12   TX [2] 2/4 2/8
 36/25 39/3 47/13 48/20
                         88/9 90/18 90/20 91/11 126/25                          126/14                   type [1] 48/4
 49/3 50/15 52/14 55/25
                         91/17 91/17 91/18         times   [2]    44/2 105/19 trespass [2] 105/15        types [1] 10/8
 58/2 58/24 61/10 61/12
                         92/20 93/21 96/20         Timimi     [1]   94/20       105/16                   typically [1] 5/2
 62/9 69/14 71/12 72/19
                         104/9 110/5 110/9         timing    [2]   47/22 71/7 trial [19] 16/17 19/22
 76/14 80/16 81/20                                                                                       U
                         110/10 110/16 111/4       tip [2] 6/7 6/10             30/16 57/8 57/8 59/3
 89/20 89/21 92/7 92/25
                         111/8 111/12 111/25       tips  [1]   6/6              61/4 61/15 61/19 62/13 U.S [5] 1/16 40/1 94/19
 94/3 94/3 99/9 115/6
                         112/16 113/1 114/6        titled [1] 128/4             69/20 70/18 72/22         94/19 126/4
 117/3
                         114/7 114/7 114/7         today   [12]     9/15 9/21   80/17 80/22 85/22        U.S. [8] 4/20 8/20
thereafter [1] 122/22                                                                                     19/10 81/8 94/19 94/20
                         115/7 116/12 122/2         11/19 12/11 23/7 37/12 85/22 104/11 104/15
therefore [4] 8/6 20/17                                                                                   94/20 111/16
                        though   [8]  27/17 35/16 38/16 55/1 58/25 64/8 trials [6] 14/22 18/16
 73/16 98/1
                         37/20 44/22 93/1 97/20 78/19 120/1                     27/4 86/2 86/22 89/8     U.S. Capitol [1] 19/10
thereof [1] 107/24
                         104/10 106/13             together [6] 32/6 32/16 troops [1] 62/16              U.S. v [1] 94/20
these [38] 3/12 6/13
                        thought   [9]  4/4 21/3     40/2 102/22 105/1          troubling   [4]  42/25    U.S. v. Al-Timimi [1]
 13/7 14/15 16/13 16/14
                         39/1 62/18 70/20 70/22 113/2                           49/8 59/2 59/7            94/20
 23/12 23/14 23/16 27/2
                         110/18 117/18 119/1       told  [9]    14/19 20/12    Troy  [2]  1/15 3/6       U.S. v. Rahman [1]
 29/20 31/14 32/19
                        thoughts [2] 11/17          47/17 52/16 67/3 67/4 Troy Edwards [1] 3/6 94/19
 33/14 35/13 57/12
                         40/17                      77/14 119/2 119/2          truck [1] 98/6            U.S. versus Smith [1]
 74/15 82/22 84/11 86/2
                        thousands [3] 68/21        tone [1] 37/4               true [12] 16/24 20/2       8/20
 86/4 86/5 86/11 86/22
                         91/18 105/14              too [5] 27/18 31/13          21/11 21/20 43/9 71/13 U.S.C [1] 123/1
 88/14 93/2 94/2 94/7
                        thread [1] 32/5             34/16 71/25 118/18          77/18 81/11 111/10       U.S.C. [1] 126/23
 94/11 94/20 94/25 99/8
                        threat [6] 28/10 39/24 took [9] 21/19 28/23             112/11 112/11 116/14 ubiquitous [1] 37/15
 110/18 112/23 116/5
                         73/25 88/20 111/18         31/3 44/21 85/21 102/7 truly [1] 95/17               uglier [1] 115/9
 124/8 124/16 124/22
                         118/1                      103/8 105/13 116/22        Trump [32] 17/3 17/18 ultimate [1] 24/10
they [138]
                        threaten [1] 84/5          tool [1] 112/18              18/4 37/3 51/2 53/12     ultimately [14] 9/12
they'd [2] 16/3 101/21
                        threatened    [6]  25/8    top  [8]   29/23 32/8        56/25 57/25 66/10 92/1 15/3 26/10 42/6 43/11
They'll [1] 99/17
                         74/7 74/9 74/19 75/9       32/21 43/3 70/3 77/3        96/19 96/23 97/1 97/8 43/21 43/22 71/1 77/15
they're [13] 36/14 49/2                                                                                   80/10 82/6 101/25
                         84/5                       77/4 102/17                 97/12 97/18 97/23
 49/3 50/11 50/12 51/4
                        threatening    [3]  24/20 Tor [1] 125/8                 97/25 97/25 98/9 98/11 118/20 118/21
 52/15 57/16 88/8 93/18
                         74/13 83/2                tort [2] 5/24 6/18           98/15 98/20 98/21        unable [1] 126/18
 97/21 108/14 113/20
                        three [24]   3/23 6/6 6/8 total [4] 10/3 11/11          100/15 102/18 104/18 unacceptable [1] 7/4
They've [1] 116/17
                         7/18 8/6 8/10 14/22        83/13 122/10                104/25 106/21 106/25 unannounced [1]
thing [24] 17/18 17/19                                                                                    124/11
                         19/23 27/4 29/6 34/12 touch [1] 99/2                   108/12 108/14
 17/20 48/24 51/4 52/7
                         44/19 49/9 54/20 55/13 tougher [1] 5/17               Trump's    [1]  97/2      unarmed [4] 98/2 98/5
 52/9 56/25 58/10 60/15
                         71/8 75/15 80/13 83/6 toward [2] 112/2                trust [1] 102/11           98/6 98/11
 62/18 93/13 94/24
                         89/8 90/14 94/7 95/20 117/23                          trusted [1]    77/22      unbeknownst     [2]
 102/12 103/16 103/20
                         95/22                     tracks   [1]    67/1        truth [3]  14/19 53/15     50/17 50/17
 105/15 106/20 107/2
                        three-level [4] 3/23       Trade [1] 94/22              54/6                     uncertainty [1] 67/18
 107/5 107/14 113/16
                         7/18 8/6 75/15            tradition     [2]  7/2 7/6  truthful  [1]  49/12      unconscious [1] 98/7
 118/22 119/2
                        three-person     [1] 44/19 tragedies [1] 84/9          try [5]  42/23 50/7 52/21 unconstitutional [2]
things [18] 31/1 43/10                                                                                    108/2 119/13
                                           55/13 trail [2] 67/20 67/21          67/15 84/23
 45/5 48/14 57/13 58/22 three-point [1]
                        three-way    [2]  19/23    trained    [2]   117/10     trying  [11]  50/7 70/19 under [38] 3/24 4/22
 61/7 68/13 80/12 80/13
                         71/8                       117/12                      70/21 73/8 73/9 75/2      5/2 7/18 8/12 8/21 16/1
 89/4 91/11 93/3 94/25
                        threw  [1]  103/11         training     [1]  109/22     87/2 101/9 101/10         20/17 21/11 22/15
 95/11 99/17 107/6
                        through   [23]   11/10     traitors    [3]  16/5 16/11 101/12 105/5               22/19 23/1 23/2 25/12
 110/12
                         12/18 14/22 19/16          86/6                       turmoil [1] 101/9          26/6 32/9 32/17 34/20
think [138]                                                                                               38/9 38/17 38/20 38/23
                         21/24 27/13 30/10 37/7 transcript [5] 1/9 2/19 turn [5] 12/16 22/4
think he [1] 73/8                                                                                         44/3 44/22 46/4 60/25
                         39/1 50/24 55/7 57/12 26/1 30/8 128/3                  84/10 106/5 115/13
thinking [6] 33/14
                         74/21 78/21 78/22         transcription [1] 2/19 turned [4] 45/14 45/18 62/4 76/25 78/5 80/15
 38/17 39/18 89/2 89/19
                         86/21 86/24 89/8 89/16 transcripts [1] 27/5            116/23 117/1              81/3 81/20 82/4 82/21
 110/24
                         94/13 98/1 119/16         transfer [21] 15/9          TV [2] 90/1 98/17          93/22 108/6 112/15
third [4] 18/16 30/15                                                                                     120/12
                         120/17                     24/23 26/21 35/24          tweet [2] 51/3 57/1
 48/10 71/1
                        throughout     [6] 26/25    36/20 61/24 62/2 63/4 twice [1] 86/18                undercut [1] 43/9
thirds [1] 44/20
                         88/17 96/23 97/23          64/24 65/4 65/23 66/13 two [37] 5/25 12/20           undergraduate [1]
this [206]
                         98/15 106/16               68/10 69/4 74/4 79/24 44/18 44/20 49/9 49/23 115/22
This is [1] 3/3
                        throw [3] 99/17 99/25 84/3 84/18 87/21 97/14 54/20 57/17 60/4 63/21 undermine [1] 7/5
Thomas [1] 92/15
                                                                                                                               150


U Case 1:22-cr-00015-APM        Document
                  103/5 106/10 108/1      817
                                     via [3] 14/11 Filed
                                                   42/7 02/27/24
                                                            96/2 100/2Page
                                                                       101/17150 of88/12
                                                                                    151 120/24
                         114/5 115/17 120/4       42/20                      102/18 103/4 103/6          we've [6] 43/25 45/4
underscore [1] 119/10
                         120/11                  vice [1] 104/21             106/13 108/16 121/5         54/16 58/19 59/10
understand [9] 9/3
                        up in [1] 102/24         vicinity [2] 74/9 75/8      wanted [23] 34/17 42/9 67/13
10/21 43/11 59/11
                        upon [16] 5/9 8/3 11/4 victim [5] 6/24 9/25          47/19 51/25 53/9 53/11 weaknesses [1] 86/11
68/20 111/7 116/15
                         16/20 18/7 18/18 20/13 10/4 10/17 82/15             53/18 53/25 56/14           weapon [2] 111/11
117/8 122/1
                         49/13 65/8 76/6 78/18 victims [4] 4/16 98/5         57/24 57/25 58/23           118/12
understanding [8]
                         109/9 117/20 117/22      118/18 118/19              60/15 60/22 61/17           weapons     [15] 16/23
17/2 18/17 29/12 34/14
                         118/7 126/13            video  [3]   47/22 47/23    61/20 70/8 90/8 97/4        20/11 20/19 25/6 66/16
47/19 59/6 66/5 66/12
                        upset [1] 90/13           49/17                      101/12 102/22 117/17 66/18 66/19 66/21 74/2
understood [1] 67/8
                        upward    [2] 37/22 82/3 videos [1] 102/15           121/6                       76/16 78/23 84/23
undertaken [8] 22/20
                        upwardly    [2] 33/19    view  [16]   9/3 16/25      wants    [4]  53/19 60/6    113/11 118/8 119/4
22/22 23/5 23/15 24/4
                         34/5                     32/3 32/7 32/20 32/23 90/5 93/25                       wear  [2] 99/25 100/3
63/23 64/21 65/16
                        urge  [1]  51/5           34/9 39/16 49/6 56/18 war [14] 16/11 18/12             wearing    [3] 25/5 99/24
undertaking [1] 12/21
                        urine  [1]  100/1         66/2 68/25 85/19           20/14 36/11 39/10           100/6
undertook [1] 81/15
                        us [20] 11/14 17/9 29/5 123/18 124/1 124/5           39/15 65/22 82/10           website [1] 85/7
undisputed [1] 56/25
                         29/10 45/25 48/21       viewed    [3]  6/1 8/2 10/3 94/17 112/14 112/21         Webster    [2] 92/15 94/8
unfair [1] 23/22
                         53/19 58/16 83/17       views   [1]  117/20         118/8 120/14 120/24         wedge    [1]  50/23
unfortunately [4] 87/7
                         88/16 99/1 99/17 99/18 vigilantism [1] 87/1         warn   [1]   124/22         week   [3]  23/8 30/25
98/14 103/4 107/17
                         99/19 101/16 102/22     vindicate [1] 6/20          warned [1] 88/8             88/3
UNITED [25] 1/1 1/3
                         104/20 106/5 106/6      violated   [2]  105/4       warrant    [2]   7/1 82/2   weeks   [5] 24/22 24/22
1/10 3/3 4/7 4/20 20/7
                         121/23                   107/22                     warranted      [2]  9/9     36/7 37/2 92/12
27/9 28/20 35/6 35/24
65/1 74/6 81/8 82/11    usdoj.gov [2] 1/19       violation [3] 87/25         59/17                       welcome [1] 3/15
                         1/20                     125/1 125/3                warrants     [1]   86/15    well [36] 5/17 10/2
84/6 85/9 87/19 94/17
                        use  [28]  11/15 16/8    violence    [24]  18/22     was  [295]                  11/14 13/19 21/14
109/11 111/15 113/12
                         16/23 18/13 18/19        20/14 21/10 21/10          Washington        [11]  1/5 21/16 22/1 22/14 23/22
117/1 123/11 125/19
                         18/19 24/23 35/25 36/8 21/24 65/23 66/5 66/19 1/17 2/17 20/6 68/11              27/23 31/5 36/25 37/10
United States [17] 4/7
                         65/23 66/19 69/3 69/10 84/1 86/18 87/10 87/23 70/5 100/5 118/6                  41/19 42/14 44/5 44/6
4/20 20/7 27/9 28/20
                         71/14 74/5 78/25 84/1 96/25 97/17 98/16             118/11 118/16 126/4         46/23 49/19 50/3 53/2
35/24 65/1 74/6 82/11
                         99/12 113/4 113/10       98/18 104/5 105/25         wasn't    [8]  4/14 45/1    57/9 59/8 65/11 65/14
84/6 87/19 94/17
                         122/20 123/18 124/4      117/18 117/18 119/9        47/8 53/3 56/25 71/24 67/2 72/12 76/23 78/4
111/15 113/12 117/1
                         124/22 125/5 125/6       121/25 123/10 124/4        91/6 118/24                 82/15 87/19 97/11
123/11 125/19
                         125/8 125/11            violent [8] 65/20 87/18 watch [2] 49/16 50/14 101/1 117/12 122/12
United States of [1]
                        used [13] 17/3 36/10      92/14 94/11 95/17 99/9 watched [1] 98/17               126/16
3/3
                         42/24 44/3 48/11 48/13 117/5 123/9                  watches [1] 124/15          well-aware [1] 22/14
University [1] 87/16
                         65/20 66/12 66/16 69/8 Virginia [1] 51/16           watching [3] 40/11          well-trained [1] 117/12
unknown [2] 123/6
                         72/20 100/12 111/11     vocational    [1]  109/22 58/2 58/2                     went [20] 6/23 11/10
123/7
                        useful  [1]  110/9       voice  [1]   125/14         water   [1]   99/25         44/12 45/23 46/5 46/24
unlawful [1] 122/20
                        uses  [1]  39/9          vote  [3]  68/7 71/3        Watkins     [3]  30/17 75/1 50/4 51/16 55/13 56/6
unlawfully [1] 122/19
                        using [3] 82/22 96/21 75/21                          103/17                      57/4 61/5 68/13 69/17
unless [2] 102/5 108/9
                         117/5                   voted   [1]  113/21         Watkins'     [1]  30/19     70/9 72/5 72/15 79/1
unlike [3] 10/16 99/7
                                                 voters   [2]  105/1 105/3 wave [1] 17/9                 95/3 103/5
99/14                   V                        votes  [7]   61/3 61/10     way  [35]    8/3 12/1       were  [120] 5/18 5/19
UNLV [1] 115/21
                        v. [2] 94/19 94/20        61/11 61/21 62/3 62/12 15/13 19/23 20/6 20/6 5/21 11/6 11/10 15/16
unprecedented [1]
                        vacuum [1] 26/19          63/8                       20/11 22/3 26/9 30/1        16/5 19/12 20/2 21/20
40/9
                        Vallejo [3] 31/3 52/18 vs [1] 1/5                    31/2 31/5 35/14 41/19 22/21 23/4 30/6 31/5
unprompted [1] 47/6      54/10                   vulnerabilities [1] 86/5 42/17 55/24 61/8 62/1 31/23 32/8 33/24 35/22
unrelated [2] 80/17
                        variation [1] 49/3       vulnerable [2] 97/9         63/6 71/8 76/19 79/12 39/13 41/5 41/8 41/17
112/3
                        various [6] 8/11 10/7     97/10                      85/24 86/7 87/24 93/17 43/4 43/9 43/11 44/19
until [8] 17/9 55/1      10/7 22/11 27/13 27/14                              103/1 104/16 112/10         46/14 46/15 49/19
56/24 56/25 61/13                                W
                        vast [1] 26/15                                       114/4 119/17 119/20         49/22 50/1 51/23 54/17
88/11 106/18 126/6
                        vaunted [1] 50/3         Waco [1] 117/10             120/7 120/8 120/9           56/3 56/8 56/8 58/1
untrained [1] 117/11
                        vehicles [1] 98/12       waging [2] 82/10 94/17 ways [3] 25/22 31/2              59/3 59/15 60/24 61/18
unusual [4] 14/15 81/6
                        verdicts [1] 67/15       waiting [1] 98/9            86/11                       63/8 65/1 65/15 65/17
81/12 81/17
                        version [1] 86/22        waived [1] 44/22            we [188]                    65/18 66/18 66/20
unwarranted [2]
                        versus [10] 3/4 4/7      walk [3] 50/2 50/10         we believe      [3] 38/22   68/22 69/9 70/5 70/8
109/23 110/14
                         4/19 8/20 18/4 27/9      121/15                     39/19 84/15                 70/22 71/19 72/12
unwise [1] 89/18         35/7 81/8 111/15        walking [2] 70/22 98/6 we will [7] 11/22 13/3 72/22 73/11 73/12
up [48] 17/8 18/1 18/19 117/13
                                                 walkways [1] 101/12         13/4 16/10 33/7 80/23 74/16 74/17 74/20
19/14 25/4 30/10 30/23
                        very [22] 24/7 30/22     wandered [3] 105/12         108/22                      74/25 75/1 75/4 75/10
39/5 39/14 39/22 39/23
                         36/1 36/18 36/22 44/1 105/13 105/13                 we'd [2] 60/4 89/5          75/11 75/18 76/4 78/15
40/21 41/11 42/8 43/3
                         56/24 58/13 63/13       wandering [1] 49/21         we'll [3] 11/24 13/5        79/2 85/1 85/6 85/23
43/4 43/21 49/20 49/21
                         70/10 83/20 89/11       want [30] 29/10 33/19 35/16                             86/2 86/8 90/3 90/3
49/23 49/25 50/2 50/4
                         89/12 92/14 97/7 97/21 35/18 41/22 42/15            we're [18] 6/12 11/15       92/7 92/21 94/9 94/11
50/5 50/10 52/7 54/8
                         98/24 103/6 104/3        42/23 45/5 52/7 52/21 12/10 22/12 37/23                94/15 94/21 94/21 95/3
55/9 66/6 67/5 91/14
                         106/1 118/2 127/7        54/15 55/9 69/1 76/20 38/16 40/8 49/1 49/2             95/4 95/16 97/2 97/5
93/7 94/22 96/6 98/8
                        veteran [2] 98/5 102/3 88/17 89/14 90/7 90/9 52/19 53/21 53/21                   97/10 97/12 97/15
98/16 101/8 101/13
                        veterans [1] 98/10        90/10 90/23 91/25 95/8 58/15 59/7 80/7 82/22 98/21 98/22 99/2 100/5
101/18 102/24 103/4
                                                                                                                          151


W Case 1:22-cr-00015-APM        Document
                  105/6 107/2 107/23      817 [2]
                                     willingness Filed
                                                    18/102/27/24      Page
                                                            59/13 59/20 60/10151
                                                                              62/3 ofyou're
                                                                                      151 [14] 39/18 54/9
                        110/4 110/5 111/25        121/25                     62/5 62/6 62/14 63/3     60/17 69/19 89/16
were... [24] 100/6
                        112/2 112/4 112/5         windows [1] 56/9           63/8 67/2 67/23 68/6     89/19 89/22 90/24
101/2 101/10 101/11
                        112/6 112/17 113/10       winds [1] 40/21            68/7 68/9 68/19 68/20 114/13 118/3 118/3
102/25 103/2 103/14
                        119/10 122/15 126/9       wing [2] 92/1 113/21       68/21 68/23 69/8 69/8 119/16 120/5 126/18
104/9 104/11 105/3
                        while [7] 19/6 23/9       wink [3] 57/9 57/10        69/14 70/11 70/14       you've [12] 9/16 47/1
105/15 110/10 111/6
                        90/9 96/22 104/3          59/6                       73/10 73/16 74/19        52/8 52/20 57/12 57/20
111/12 112/23 115/2
                        122/11 122/16             wins  [1]  106/21          75/21 75/22 77/17 79/6 89/9 89/16 89/17 95/20
115/5 119/6 120/13
                                    16/10 104/20 winter [1] 30/16            79/7 79/8 80/21 82/1     95/22 120/11
120/17 120/23 121/10 white [4]
                        113/20 116/10             wise  [1]  90/11           82/3 83/22 89/14 89/18 young [4] 18/16 30/12
121/14 121/14
                        White House [1] 16/10 wish [2] 12/25 123/18 89/24 89/24 91/15 93/4 46/14 115/19
were all [1] 94/11
                        who [84] 10/2 10/18       wit [1] 112/11             95/6 95/14 95/14 95/25 your [72] 3/2 13/2
weren't [7] 51/24 56/1
                        11/6 16/5 17/2 21/2       within  [13]  11/25 22/22 96/1 96/15 98/2 98/3      13/25 14/2 22/8 33/13
65/7 81/14 91/18
                        23/4 24/21 24/24 26/4 36/1 43/25 60/3 65/16 98/5 101/8 106/21                 37/14 41/3 41/8 41/17
105/18 112/10
                        27/13 29/7 30/13 30/14 67/2 74/6 74/16 83/23 118/11 118/22 119/5              41/18 42/3 42/21 42/22
west [2] 51/23 102/14
                        30/17 31/20 31/23         122/21 126/4 126/17        127/4                    44/5 48/14 48/14 51/8
what [151]
                        32/12 32/24 33/19         without   [14]  31/12     wouldn't    [2]  53/23    51/25 52/3 58/13 58/15
what's [3] 48/24 79/15
                        33/22 33/24 33/25 36/7 47/17 54/14 54/14 57/5 70/6                            60/13 60/16 60/19
100/16
                        36/8 47/13 49/11 56/1 60/5 60/8 70/11 71/5          wrap   [1]  106/10        60/21 61/14 62/14
whatever [3] 51/12
                        56/8 61/5 68/22 70/19 97/5 99/22 99/23              wrestling    [1]  119/17  62/25 63/3 63/10 68/15
54/5 95/19
                        72/6 74/20 74/25 75/1 123/11 126/20                 written   [1]  48/23      83/19 85/10 88/16 89/1
whatsoever [1] 104/2
                        75/1 75/4 77/17 79/1      witness   [8]  45/15      wrong    [4]  9/1 11/16   89/11 89/21 89/22 95/2
when [38] 5/25 12/1
                        79/2 80/9 84/11 84/25 46/14 49/11 70/24 71/1 17/19 120/6                      95/24 96/8 96/10 100/2
14/16 20/16 20/18 33/3
                        85/6 86/1 91/3 91/4       85/21 85/21 89/20         wrongdoer      [1] 6/15   106/11 108/8 108/21
36/12 39/18 41/5 42/18
                        91/4 91/5 91/17 91/24 witnesses [8] 16/24           wrote   [1]  112/13       114/7 114/8 114/10
44/11 45/22 47/24
                        92/7 92/11 92/20 93/5 30/4 31/23 46/3 70/18                                   114/18 116/13 117/7
48/11 49/9 50/14 51/12                                                      Y
                        93/11 95/3 95/16 96/5 77/16 86/2 90/2                                         117/19 117/19 117/20
54/23 68/13 71/18 72/5
                        96/20 97/3 97/10 99/14 women [2] 97/10              Yale [3] 21/1 73/12       117/21 117/22 117/22
72/12 74/21 98/2 99/19
                        102/1 103/2 103/14        117/11                     116/1                    117/23 119/4 120/4
100/5 100/21 101/20
                        103/21 104/4 105/12       won't  [2]  17/9 106/18 Yale Law School [1]         120/25 121/24 121/24
102/16 103/18 104/17
                        111/8 111/12 112/16       Woodward [2] 37/15         116/1                    122/16 123/21 124/9
107/17 113/1 120/8
                        113/24 114/2 114/4        38/2                      Yeah [3] 34/18 55/18      125/7 126/15 126/22
121/17 121/21 121/23
                        114/15 114/16 115/2       Woodward's [2] 37/11 57/24                          127/6
124/25
                        117/25 123/8 123/10       38/2                      year [6] 50/3 89/5       Your Honor [30] 3/2
whenever [1] 120/3                                                           90/10 90/11 93/20 95/9 13/25 14/2 22/8 33/13
                        124/3 124/22              word [2] 13/22 36/10
where [30] 6/25 7/5
                        who's   [2]  53/17 101/17 wording [1] 42/24         years [20] 21/2 38/23     41/3 41/18 42/3 42/22
7/10 19/14 23/22 25/19
                        whole   [2]  6/1 10/12    words   [17]  20/9 32/1    40/18 81/13 81/19        44/5 51/25 52/3 60/13
31/9 31/11 33/7 35/4
                        whom    [2]  18/17 26/22 36/14 39/11 46/12           83/21 88/22 89/7 89/17 60/19 60/21 61/14
35/22 37/22 40/7 40/21
                                    31/13 38/21   46/15 57/21 65/12 71/4 92/12 95/20 95/21            62/14 62/25 63/3 63/10
50/9 51/22 51/23 52/15 why [22]
                        38/22 40/18 45/19         71/12 71/14 72/20 86/4 95/21 95/22 95/22            83/19 85/10 88/16 89/1
59/7 68/1 81/5 85/7
                        53/20 59/12 64/20 67/2 86/6 88/14 114/6 120/2 110/4 110/5 115/16              95/2 95/24 96/8 96/10
97/25 98/4 100/23
                        68/4 68/19 70/16 72/25 wore [1] 100/7                115/18 122/5             108/8 127/6
101/10 101/11 101/16
                        73/12 98/8 101/9          work  [3]   21/3 48/23    yell [3] 17/9 99/16      yours  [1] 114/7
102/11 126/23
                        101/14 102/20 105/15 121/20                          99/19                   yourself  [2] 93/21
whereby [1] 59/3
              8/12 9/7
                        110/9 114/13 114/14       worked [2] 27/13 116/2 yelled [2] 98/21 103/24 121/23
whether [29]
                        wife [2] 87/14 117/22 working [1] 115/2             yes [14] 16/2 22/8
9/8 10/24 14/11 15/3
                        wild  [1]  51/3           World   [1]  94/22         35/10 43/11 56/6 56/13 Z
24/10 30/21 31/9 31/17
32/23 34/21 39/18 40/4 wilfully [1]
                                      22/18       World Trade Center [1] 56/13 57/19 58/4 62/23 Zaremba [4] 2/14 27/5
                        will [62]  4/21 8/4 8/6    94/22                     101/25 106/8 106/11      128/2 128/8
42/6 43/19 51/8 58/20
                        9/6 11/22 12/16 12/19 worse [2] 107/8 111/13 121/15                          zero [3] 34/12 99/9
66/10 67/12 67/24
                        13/1 13/1 13/3 13/4       worst [1] 103/16          yesterday [31] 3/19       99/12
69/15 70/25 76/20
                        15/22 16/10 17/7 20/10 would [121] 4/4 5/14          4/25 8/8 8/17 9/19 9/21 Zimmerman [1] 17/1
77/17 95/21 124/17
                        23/7 28/3 28/13 31/1      5/16 5/17 6/3 6/7 7/3      12/4 15/12 15/12 24/7 Zoom [2] 14/11 42/20
124/18 124/20
                        32/22 33/7 41/11 42/14 7/5 7/22 9/15 10/12           24/14 35/21 36/10
which [72] 4/24 5/3 7/3
                        45/14 45/20 46/1 46/18 11/3 13/14 16/3 16/20 37/11 52/23 55/22
8/17 10/16 10/19 11/20
                        48/8 48/13 48/14 48/17 17/1 17/2 18/18 18/23 59/23 64/6 64/9 64/13
13/13 13/19 15/25 17/4
                        58/25 60/2 60/14 64/11 21/4 22/9 26/8 26/13          65/8 65/9 73/22 75/17
17/13 18/4 20/12 21/25
                        79/18 80/23 83/18 87/9 28/4 32/12 32/14 32/18 78/6 78/18 89/12 93/15
22/1 22/5 27/9 27/10
                        96/1 96/18 97/25 99/24 33/13 34/19 35/5 38/20 94/1 104/4 115/1
28/1 28/2 31/8 35/5
                        100/1 108/17 108/22       40/4 41/18 42/4 42/6      yet [5] 33/11 40/12
39/19 43/18 44/1 47/23
                        110/8 110/13 110/22       42/11 42/17 43/1 43/6 84/12 97/15 97/18
53/12 57/13 58/15
                        111/20 111/22 114/23 43/9 43/16 43/19 43/24 York [1] 105/19
60/24 61/1 63/24 64/11
                        115/14 120/3 123/2        44/16 45/16 45/18         you [280]
65/2 65/4 65/5 67/8
                        123/4 124/8 125/3         46/12 46/17 46/21         you know [2] 10/7
67/13 69/13 71/7 74/5
                        125/20 125/21 125/25 47/15 49/7 50/20 51/2 68/15
76/20 78/9 78/15 79/7
                        127/2                     51/5 51/18 52/18 53/20 You wanted [1] 121/6
80/4 80/20 80/23 85/3
                        William   [3] 2/14 128/2 54/8 54/12 55/6 55/21 you'd [3] 22/7 55/15
85/7 87/25 88/6 93/22
                        128/8                     56/11 58/18 59/10          55/15
94/15 94/21 104/20
